Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 1 of 131 Page ID
                                 #:5180



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      Monitor
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  6
                        UNITED STATES DISTRICT COURT
  7
                      CENTRAL DISTRICT OF CALIFORNIA
  8
                                    WESTERN DIVISION
  9
 10                                            CV No. 15-05903 DDP (JEMX)
 11   UNITED STATES OF AMERICA,
                       Plaintiff,              MONITOR’S FOURTEENTH
 12
                                               REPORT
 13                    v.
 14   COUNTY OF LOS ANGELES AND
      LOS ANGELES COUNTY SHERIFF
 15   ALEX VILLANUEVA, in his Official
      Capacity,
 16
                       Defendants.
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                                                        Case No. CV No. 15-05903 DDP (JEMX)
                               MONITOR'S FOURTEENTH REPORT
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 2 of 131 Page ID
                                 #:5181



  1        Pursuant to Paragraph 109 of the Joint Settlement Agreement Regarding Los
  2 Angeles County Jails, the Monitor appointed by this Court hereby submits the
  3 attached Report “describing the steps taken” by the County of Los Angeles and the
  4 Los Angeles County Sheriff Department (“Department”) during the six-month
  5 period from January 1, 2022, through June 30, 2022, “to implement the Agreement
  6 and evaluating the extent to which they have complied with this Agreement.” This
  7 Report takes into consideration the advice and assistance I have received from the
  8 Subject Matter Experts appointed by this Court and the comments from the Parties
  9 in accordance with Paragraph 110 of the Agreement. I am available to answer any
 10 questions the Court may have regarding my Report at such times as are convenient
 11 for the Court and the parties.
 12
 13 DATED: September 30, 2022            Respectfully submitted,
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                                         By: /s/ Nicholas E. Mitchell
 17                                          Nicholas E. Mitchell
                                             Monitor
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                                                          Case No. CV No. 15-05903 DDP (JEMX)
                                 MONITOR'S FOURTEENTH REPORT
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 3 of 131 Page ID
                                 #:5182



                             MONITOR’S FOURTEENTH REPORT
            This Fourteenth Report sets forth the Monitor’s assessments of the
   implementation of the Settlement Agreement (the “Agreement” or “DOJ Agreement”)
   between the County of Los Angeles (the “County”) and the United States Department of
   Justice (“DOJ”) for the treatment of inmates with mental illness in the County’s jail
   facilities by the Los Angeles Sheriff’s Department (the “Department” or “LASD”) and
   the County’s Correctional Health Services (“CHS”). It also reports on the Department’s
   compliance with the provisions of the Implementation Plan in the settlement of Alex
   Rosas, et al., v. Leroy Baca, No. CV 12-00428 DDP, that were extended under the terms
   of the DOJ Agreement to the facilities not covered by the Rosas case. 1 This Report
   covers the County’s reported results for the period from January 1, 2022, through June
   30, 2022 (the “Fourteenth Reporting Period”).
           This Fourteenth Report is based upon the Monitor’s review of the policies,
   procedures, and directives proposed and/or implemented by the Department and CHS in
   the Fourteenth Reporting Period, and assessments and observations of the Mental Health
   and Use of Force Subject Matter Experts, and mental health clinicians and auditors
   retained by the Monitor. It takes into consideration the County’s Self-Assessment Status
   Report (“Fourteenth Self-Assessment”); Correctional Health Services and Custody
   Compliance and Sustainability Bureau (“CCSB”) Combined Semi-Annual Report on
   Quality Improvement and Suicide Prevention Efforts – Quarter 4 & Quarter 1 2021/2022;
   the County’s Augmented Self-Assessment Status Report (“Augmented Fourteenth Self-
   Assessment”); and results reported by the County through July 15, 2022.

          The Monitor conducted site visits within the jails with Mental Health Subject
   Matter Expert Dr. Nicole Johnson, and clinicians Drs. James Vess and Amy Eargle in
   March 2022. During both visits, the Monitoring Team spoke with inmates, custody staff
   and supervisors, and mental health staff and supervisors during these visits, and inspected
   mental health housing at all patient acuity levels.

           Over the past several months, the County has begun to more purposefully
   articulate a path towards Substantial Compliance with this Agreement. Following the
   Monitor’s Twelfth Report, which documented the County’s slowing pace of compliance
   with the Agreement in the years 2019 through 2021, the Court held a series of status
   conferences and issued an order establishing its expectations. Under the Court’s
   guidance, the Parties worked with the Monitor to develop a series of detailed
   implementation plans for 23 provisions. The County has now begun to execute those




   1
    The Rosas case involved allegations of excessive force in Men's Central Jail (MCJ), the Twin Towers
   Correctional Facility (TTCF), and the Inmate Reception Center (IRC) (collectively the “Downtown Jail
   Complex”). The DOJ Agreement extends provisions of the Implementation Plan to the Century Regional
   Detention Facility (CRDF), the North County Correctional Facility (NCCF), and the Pitchess Detention
   Center (PDC).


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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 4 of 131 Page ID
                                 #:5183



   plans within the jails. 2

           These efforts were an important step, but they have not yet materially improved
   the County’s results on the Agreement’s provisions. There are 69 provisions in the
   Agreement that are subject to monitoring by the Monitor and Subject Matter Experts. As
   of the date of this Report, the County and the Department are in Substantial Compliance
   with 40 provisions, in Partial Compliance with 17 provisions, and in Non-Compliance
   with seven provisions. This is similar to the County’s results for the previous 4
   Reporting Periods, and a decline from the Thirteenth Reporting Period.

                    Figure 1: The County’s Cumulative Substantial Compliance
                              with All Provisions by Reporting Period




          Achieving Substantial Compliance with the Agreement will require significant
   work by Custody and Mental Health personnel across all areas of the jails’ operations to
   address all of the provisions that are not in Substantial Compliance. While that work is
   ongoing, there are several specific areas of the Agreement that require the County’s
   immediate, focused attention. They are areas that have failed to materially improve in the

   2
     Given the dates on which these implementation plans were finalized, the County’s Fourteenth Self-
   Assessment and Augmented Self-Assessment included little detail about the execution of these
   implementation plans in the jails. However, in future Reporting Periods, the County should include in its
   Self-Assessments specific details of the steps taken to execute the plans, successes and obstacles related to
   their execution, relevant data reflecting their impacts, explanation of any deadlines met or missed, and any
   corrective actions initiated by the County related to compliance with the plans.


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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 5 of 131 Page ID
                                 #:5184



   years since the Agreement was executed, and/or that present significant, ongoing risks to
   safety in the jails or the community. The Monitor recommends that the County focus
   particular attention on correcting the following deficiencies in the next Reporting Period.

            First, the Court has repeatedly made clear that the Agreement must be
   implemented in a manner that protects public safety inside the jails, and also outside
   them, for residents of and visitors to Los Angeles County. Provision 34, which governs
   the County’s release planning program, should be a key cornerstone of that effort.
   Provision 34 helps to ensure that inmates with serious mental illness are released from the
   jails with appropriate reentry services. This includes but is not limited to connecting
   them with necessary psychiatric medications, mental health and substance abuse
   resources, and linkages with family, community, and social supports, all of which are
   protective against future offenses, including crimes of violence. While the County has
   made various improvements regarding its compliance with Provision 34, it is still in Non-
   Compliance nearly seven years after the Agreement was signed. The County has yet to
   create or fully staff a system to consistently provide inmates with comprehensive release
   and reentry planning services. In adherence to the Court’s guidance, it must redouble its
   efforts to do so now.

            Second, the County continues to struggle to appropriately intervene when inmates
   with mental illness engage in self-injurious behavior in jail. In this report, the reviews by
   the Monitor’s Mental Health Team for both Provision 36 (performing mental health
   assessments and/or creating individualized treatment plans after adverse triggering
   events, such as suicide attempts) and Provision 40 (providing clinically appropriate crisis
   intervention services) reflect that the County remains seriously—possibly dangerously—
   unable to provide appropriate, tailored interventions when inmates with mental illness
   decompensate and engage in acts of self-harm. This represents a significant risk to
   inmate safety and to the County of Los Angeles as a whole. The County must ensure that
   it is expeditiously corrected.

           Third, group therapy is a key component of effective mental health treatment in
   jail and has been validated by decades of research. Group treatment is also required by
   the Agreement under Provision 79 (requiring group treatment for inmates in mental
   health housing) and Provision 80 (requiring 10 hours per week of structured therapeutic
   programming for HOH inmates per week). The County remains unable to provide
   meaningful group programming to many inmates who require it, and is far from
   compliance with both provisions, largely because it has not hired (or contracted with)
   enough clinical staff to provide the required programming. It should correct these
   deficiencies now and build out the required staffing for the group therapy that it agreed
   was necessary in 2015.

          Fourth, the County has yet to articulate plausible or realistic plans for attaining
   Substantial Compliance with two of the Agreement’s key provisions. Provision 63
   requires the County to have sufficient housing for the jail population with mental illness.
   Provision 64 requires the County to have sufficient licensed inpatient mental health beds.
   Given the Department’s existing housing capacity and the population of inmates with



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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 6 of 131 Page ID
                                 #:5185



   mental illness—which continued to balloon during the Fourteenth Reporting Period—the
   County remains far from Substantial Compliance with both provisions. To address this
   gap, the County has created implementation plans that propose a “phased approach” to
   compliance. The plans set forth an “Initial Phase,” which involves expanding the
   County’s Medication-Assisted Treatment Program, opening a new Psychiatric Urgent
   Care Unit, and relocating MOH inmates from MCJ to PDC North. 3

           The County has recognized that the initiatives in this Initial Phase, while
   undoubtedly useful, “will not, by themselves, bring the County and the LASD into full
   compliance…in the near future.” The County is thus “currently exploring additional
   long-term steps it can take to achieve full compliance.” To that end, the County is
   evaluating

              expanding the capacity of the Office of Diversion and Re-entry (‘ODR’)
              to divert inmates with mental illness from the LACJ, including the
              placement of P2, P3, or P4 inmates with severe mental illnesses in ‘locked
              beds’ under ODR’s supervision where a need for public safety, and the
              safety of the inmate, require such placement, as well as in beds in
              unlocked facilities where such a placement is consistent with public
              safety.

           There is no proposed timetable for this exploration, nor an estimated percentage
   of the existing P3 or P4 populations that would be eligible for such diversion, or how
   quickly the County would be able to create or obtain the necessary ODR beds or
   otherwise scale such an initiative. Thus, this is a “phased approach” that, today, only
   includes a single well-defined phase. Any additional phases are speculative,
   unarticulated, and as yet undefined.

           At the risk of over-simplification, the County has a supply and demand problem.
   That is, the demand for mental health beds at the P3 and P4 levels has grown consistently
   since 2015 while the supply of such beds has remained static (for ease, I will call the gap
   between the growing demand for mental health beds and the static supply a
   “supply/demand imbalance”). This supply/demand imbalance has continued to grow for
   each of the last several years, and the bigger it gets, the greater are its detrimental impacts
   on inmate and staff safety and well-being inside the jails. Like any other supply/demand
   imbalance, the remedy is simple: demand must be reduced, supply increased, or some
   combination of the two. In this context, and for the avoidance of doubt, to comply with
   Provisions 63 and 64: Los Angeles County must either reduce demand by lowering the
   number of incarcerated patients who require beds at the P3 and P4 levels, expand supply
   by increasing the number of beds available to treat such patients, or some combination of
   the two.

           The County has not yet informed the Monitor or the Court whether it plans to
   focus on reducing demand, increasing supply, or both, nor has it committed to a schedule
   for providing that information. It is time for it do so.

   3
       See County’s Supplemental Implementation Plans for Provisions 63 and 64 dated July 22, 2022.


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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 7 of 131 Page ID
                                 #:5186



           We recognize that this is not a small task and will require aligning visions of a
   diverse body of stakeholders, including the County’s Board of Supervisors, Chief
   Executive Officer, and Sheriff. Notwithstanding the challenges, we urge the County to
   focus on determining the path it will take to resolve this supply/demand imbalance with
   all deliberate speed.

          A final note: during the Fourteenth Reporting Period, the County and the
   Department cooperated fully with the Monitoring Team. The Department, CHS, and
   County Counsel facilitated our work, and responded transparently to our requests for
   documents and information. The Monitor continues to appreciate their responsiveness,
   professionalism, and collegiality.

                                                        Nicholas E. Mitchell, Monitor
                                                        September 30, 2022




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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 8 of 131 Page ID
                                 #:5187



                                        EXECUTIVE SUMMARY

            There are 69 provisions in the Settlement Agreement that are subject to
   monitoring by the Monitor and Subject Matter Experts. As of the date of this Report, the
   County and the Department are in Substantial Compliance with 40 provisions, in Partial
   Compliance with 17 provisions, and in Non-Compliance with seven provisions. In
   addition, there are two provisions for which the Department is in Substantial Compliance
   at some facilities and in Partial Compliance at other facilities. There is one provision
   (Paragraph 39) for which the Department is in Substantial Compliance at certain
   facilities, Partial Compliance at other facilities, and Not Rated at other facilities. There is
   one provision (Paragraph 43) for which the Department is in Substantial Compliance at
   certain facilities and Non-Compliance at other facilities. There is one provision
   (Paragraph 57) for which the Department is in Substantial Compliance at certain
   facilities, Partial Compliance at other facilities, and Non-Compliance at other facilities.
   There are 45 provisions for which the County and the Department are in Substantial
   Compliance at some or all facilities. 4

           The Monitor’s determination of the County’s compliance is based upon the
   quantitative thresholds in the Compliance Measures (and any other applicable
   requirements in the Compliance Measures) for achieving Substantial Compliance, unless
   the quality of the County’s performance as determined by the qualitative assessment is
   plainly inadequate or the results reported by the Monitor’s mental health team vary
   significantly from the results reported by the Department. 5 As used herein, “Substantial
   Compliance” means that the County has “achieved compliance with the material
   components of the relevant provisions of this Agreement in accordance with the [agreed-
   upon Compliance Measures for assessing Substantial Compliance],” which it must
   maintain for twelve-consecutive months; “Partial Compliance” means that the County has
   achieved “compliance on some, but not all, of the material components of the relevant
   provision of this Agreement;” and “Non-Compliance” means that the County has not met
   “most or all of the material components of the relevant provisions of this Agreement.”

          Appendix A to this Fourteenth Report shows the status of each of the 69
   provisions of the Agreement that are subject to monitoring and the twelve-month

   4
     Under Paragraph 111 of the Agreement, the twelve-month period for which the County is required to
   maintain Substantial Compliance can be determined on a facility-by-facility basis.
   5
     As in prior reports, this Fourteenth Report also reflects the results of audits by the Monitor’s auditors to
   verify results reported by the County. The Monitor has deemed the County to be in Substantial
   Compliance “as of” the beginning of the quarter reported by the County if the auditors have verified that
   the County has met the thresholds in the Compliance Measures. If the auditors were not able to verify the
   results reported by the County, the twelve-month period for maintaining Substantial Compliance will
   commence in a future period when the County’s reported results are verified by the auditors. If the County
   maintains Substantial Compliance with a provision for twelve consecutive months, pursuant to Paragraph
   111 of the Agreement, the Monitor and Subject Matter Expert will “no longer. . .assess or report on that
   provision” in future reporting periods. Some of the Substantial Compliance results reported by the County
   in the Fourteenth Reporting Period have not been audited by the Monitor’s auditors and cannot be
   considered final until verified by the auditors. The County will not be deemed to be in Substantial
   Compliance as of the County’s reported date for purposes of determining the twelve-month compliance
   period if the results are not verified by the auditors.


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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 9 of 131 Page ID
                                 #:5188



   triggering dates where the County is deemed to be in Substantial Compliance. Appendix
   B shows the County’s progress from the Initial Reporting Period through the Fourteenth
   Reporting Period in achieving Substantial Compliance and in maintaining Substantial
   Compliance for twelve consecutive months on provisions that are no longer subject to
   monitoring.

            There are 38 provisions that are no longer subject to monitoring because the
   County and Department maintained Substantial Compliance for twelve consecutive
   months as required by Paragraph 111 of the Settlement Agreement and verified by the
   Monitor’s auditors as required. 6 There are another six provisions for which some
   facilities are no longer subject to monitoring because those facilities maintained
   Substantial Compliance for the required twelve consecutive months. 7

           As of the date of this Report, and subject to verification by the Monitor’s auditors
   and qualitative assessments in some cases, the County and the Department are in
   Substantial Compliance at some or all of the facilities with the following provisions of
   the Settlement Agreement:

           The County has achieved Substantial Compliance with Paragraph 18, which
   requires the (initial) training of Deputy Sheriffs and Custody Assistants on suicide
   prevention as follows: at Men’s Central Jail (“MCJ”) and Pitchess Detention Center
   (“PDC”) South as of October 1, 2017; at North County Correctional Facility (“NCCF”)
   as of September 1, 2017; at PDC East as of December 1, 2017; at Twin Towers
   Correctional Facility (“TTCF”), the Inmate Reception Center (“IRC”), and PDC North as
   of April 1, 2018; and at Century Regional Detention Facility (“CRDF”) as of August 1,
   2018. The County has maintained compliance with the refresher training requirements
   under Provision 81 Rosas 4.6(b) as of December 2021. The County was unable to
   maintain compliance under Provision 81 Rosas 4.7(b) as of December 2021.

           The County has achieved Substantial Compliance at NCCF, MCJ, and IRC as of
   April 1, 2018; at TTCF as of July 1, 2018; at CRDF, PDC East, and PDC North as of
   December 1, 2018; and at PDC South as of March 1, 2019, with Paragraph 19, which
   requires the (initial) training of Deputy Sheriffs on Crisis Intervention and Conflict
   Resolution and the training of Deputy Sheriffs and Custody Assistants in working with
   mentally ill prisoners. The Department has achieved Substantial Compliance at CRDF,
   IRC, NCCF, MCJ, PDC East, PDC North, PDC South, and TTCF as of December 2019
   with the refresher training requirements of Paragraph 19. The County has maintained
   compliance with the refresher training requirements under Provision 81 Rosas 4.6(b) as
   of December 2021. The County was unable to maintain compliance under Provision 81
   Rosas 4.7(b) as of December 2021.


   6
     This includes the initial training required by Paragraphs 18, 19, and 20, which have been completed and
   are no longer subject to monitoring. The refresher training requirements for each of these provisions are,
   however, still subject to monitoring under Provision 81 Rosas 4.6(b) and 4.7(b).
   7
     The provisions that are no longer subject to monitoring at some or all of the facilities are highlighted in
   bold in Appendix A.


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Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 10 of 131 Page ID
                                  #:5189



           The County has achieved Substantial Compliance at PDC East, PDC North,
    NCCF, and CRDF as of August 1, 2017 and at PDC South as of October 1, 2017, with
    Paragraph 20, which requires the (initial) training of additional Deputy Sheriffs on Crisis
    Intervention and Conflict Resolution and on working with mentally ill prisoners. The
    County has maintained compliance with the refresher training requirements under
    Provision 81 Rosas 4.6(b) as of December 2021. The County was unable to maintain
    compliance under Provision 81 Rosas 4.7(b) as of December 2021.

           The County has maintained Substantial Compliance for twelve consecutive
    months at PDC East, PDC South, PDC North, NCCF, IRC, TTCF, CRDF, and MCJ with
    Paragraph 21, which requires Custody personnel to maintain CPR certifications.

            The County has maintained Substantial Compliance for twelve consecutive
    months with Paragraph 22, which requires the County and the Sheriff to provide
    instructional material on the use of arresting and booking documents to ensure the
    sharing of known relevant and available information on prisoners’ mental health status
    and suicide risk.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of July 12, 2018, with Paragraph 23, which requires that the Department
    conduct a systematic review of prisoner housing to reduce the risk of self-harm and to
    identify and address suicide hazards, and to develop plans to reasonably mitigate suicide
    hazards identified in the review.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 24, which requires the Department to
    conduct annual reviews and inspections of prisoner housing to identify suicide hazards.

            The County has achieved Substantial Compliance as of July 1, 2021, through
    March 31, 2022, with Paragraph 26, which requires that inmates identified at intake as
    having emergent or urgent heath needs be evaluated by a QMHP within 4 hours from the
    time of identification.

            The County has maintained Substantial Compliance for twelve months as of
    March 31, 2021, with Paragraph 27, which requires that all prisoners are individually and
    privately screened within 12 hours of their arrival at the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months at IRC as of March 31, 2018, with Paragraph 28, which requires the Department
    to expedite inmates having urgent or emergent mental health needs through the booking
    process.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2018, with Paragraph 29, which requires mental health
    assessments of prisoners with non-emergent mental health needs within 24 hours of the
    intake nursing assessment.



                                                 8
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 11 of 131 Page ID
                                  #:5190




             The County has maintained Substantial Compliance as of January 1, 2019,
    through December 31, 2019, with Paragraph 30, which requires the County to provide an
    initial mental health assessment that includes a brief initial treatment plan that addresses
    “housing recommendations and preliminary discharge information.”

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 32, which requires that a serious
    suicide attempt be entered in the prisoner’s electronic medical record in a timely manner.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 33, which requires mental health supervisors
    to review electronic medical records on a quarterly basis to assess their accuracy.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2018, with Paragraph 35, which requires the Department to
    ensure that custody staff refer prisoners who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 38, which requires mental health staff
    or JMET teams to make weekly cell-by-cell rounds in restricted non-mental health
    housing modules to identify prisoners with mental illnesses and grant prisoner’s requests
    for out-of-cell interviews.

            The County has maintained Substantial Compliance at NCCF for twelve
    consecutive months as of June 30, 2018, with Paragraph 39, which requires the County to
    use a confidential self-referral system for prisoners to request mental health care. The
    County has provided documentation reflecting that it achieved Substantial Compliance as
    of January 1, 2022, through March 31, 2022, at PDC South. These results have been
    verified by the Monitor’s auditors.

           The County has maintained Substantial Compliance at NCCF and PDC North for
    twelve consecutive months, as of September 30, 2018, with Paragraph 43, which requires
    the Department to develop and implement policies for discipline of prisoners with serious
    mental illnesses.

             The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 44, which requires the Department to
    install protective barriers in High Observation Housing and other mental health housing.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 45, which requires Suicide Prevention
    Kits and first-aid kits in control booths in all facilities.

           The County has maintained Substantial Compliance for twelve consecutive



                                                 9
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 12 of 131 Page ID
                                  #:5191



    months as of June 30, 2021, with Paragraph 46, which requires the Department to
    interrupt, and if necessary, provide appropriate aid to any prisoner who threatens or
    exhibits self-injurious behavior.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 48, which requires the Department to
    have written housekeeping, sanitation, and inspection plans to ensure proper cleaning.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of February 28, 2017, with Paragraph 49, which requires the Department to
    have maintenance plans to respond to routine and emergency maintenance needs.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2017, with Paragraph 50, which requires pest control in the jails.

             The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 51, which requires the Department to ensure
    that all prisoners have access to basic hygiene supplies in accordance with state
    regulations.

           The County has maintained Substantial Compliance for twelve consecutive
    months at CRDF, PDC North, MCJ, and TTCF with Paragraph 55, which requires
    custody, medical and mental health staff to meet daily in High Observation Housing and
    weekly in Moderate Observation Housing.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2016, with Paragraph 56, which requires custody, medical,
    and mental health staff to communicate regarding any change in a housing assignment
    following a suicide attempt or serious change in mental health condition.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2018, at MCJ with Paragraph 57, which requires safety checks in
    mental health housing. The County has achieved Substantial Compliance as of July 1,
    2021, through September 30, 2021, at PDC North. The County has also provided
    documentation reflecting that it maintained Substantial Compliance as of September 30,
    2021, through March 31, 2022, at PDC North. These results have been verified by the
    Monitor’s auditors.

            The County has maintained Substantial Compliance for twelve consecutive
    months at PDC South, PDC North, and PDC East as of December 31, 2016, at CRDF as
    of June 30, 2018, and at IRC as of September 30, 2018, with Paragraph 58, which
    requires safety checks in non-mental health housing. The County has achieved
    Substantial Compliance at NCCF as of April 1, 2021, through September 30, 2021. The
    County has provided documentation reflecting that it has maintained Substantial
    Compliance as of October 1, 2021, through March 31, 2022, at NCCF. These results are
    subject to verification by the Monitor’s auditors.



                                                10
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 13 of 131 Page ID
                                  #:5192




           The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 59, which requires unannounced daily
    supervisory rounds to verify safety checks.

           The County has achieved Substantial Compliance with Paragraph 60, as of April
    1, 2019, through March 31, 2020, which requires the implementation of a quality
    improvement plan.

            The County has maintained Substantial Compliance for twelve consecutive
    months at MCJ, NCCF, PDC East, PDC North, PDC South, and TTCF with Paragraph
    68, which requires staggered contraband searches in housing units. The County has
    provided documentation reflecting that it has achieved Substantial Compliance at CRDF
    as of January 1, 2022, through March 31, 2022. These results are subject to verification
    by the Monitor’s auditors.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 69, which requires the County and the
    Sheriff to use clinical restraints only in the Correctional Treatment Center with the
    approval of a licensed psychiatrist who performed an individualized assessment.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2017, with Paragraph 71, which requires the County and the
    Sheriff to ensure that any prisoner subjected to clinical restraints in response to a mental
    health crisis receives therapeutic services to remediate any effects from the restraints.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 72, which requires the Department and
    the County to report on meetings to review suicides and incidents of serious self-injurious
    behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 73, which requires the Department to
    prepare detailed reports of prisoners who threaten or exhibit self-injurious behavior.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 74, which requires the Department to
    have an objective law enforcement investigation of every suicide that occurs in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of September 30, 2018, with Paragraph 75, which requires the Department and
    the County to review every serious suicide attempt that occurs in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 76, which requires the Department to
    follow certain procedures whenever there is an apparent or suspected suicide.



                                                 11
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 14 of 131 Page ID
                                  #:5193




          The County has maintained Substantial Compliance for twelve consecutive
    months as of May 18, 2017, with Paragraph 78, which requires the Suicide Prevention
    Advisory Committee to meet twice a year.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of December 31, 2017, with Paragraph 82, which requires the Department to
    co-locate personnel responsible for collecting prisoners’ grievances at CRDF.

            The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2019, with Paragraph 83, which requires it to install closed circuit
    security cameras throughout all of the common areas in the jails.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of June 30, 2018, with Paragraph 84, which requires investigations of force
    incidents and administrative actions to be completed timely.

           The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2022, with Paragraph 85, which requires Internal Affairs Bureau
    personnel to receive adequate specialized training in conducting investigations of
    misconduct.

          The County has maintained Substantial Compliance for twelve consecutive
    months as of March 31, 2019, with Paragraph 86, which requires inventory and control of
    weapons.




                                                12
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 15 of 131 Page ID
                                  #:5194



                                         FOURTEENTH REPORT

            18.     Within three months of the Effective Date, the County and the Sheriff will
    develop, and within six months of the Effective Date will commence providing: (1) a
    four-hour custody-specific, scenario-based, skill development training on suicide
    prevention, which can be part of the eight-hour training described in paragraph 4.8 of the
    Implementation Plan in Rosas to all new Deputies as part of the Jail Operations
    Continuum and to all new Custody Assistants at the Custody Assistants academy; and (2)
    a two-hour custody-specific, scenario-based, skill development training on suicide
    prevention to all existing Deputies and Custody Assistants at their respective facilities,
    which can be part of the eight-hour training described in paragraph 4.7 of the
    Implementation Plan in Rosas, through in-service Intensified Formatted Training, which
    training will be completed by December 31, 2016.

           These trainings will include the following topics:

           (a)     suicide prevention policies and procedures, including observation and
                   supervision of prisoners at risk for suicide or self-injurious behavior;

           (b)     discussion of facility environments and staff interactions and why they
                   may contribute to suicidal behavior;

           (c)     potential predisposing factors to suicide;

           (d)     high-risk suicide periods and settings;

           (e)     warning signs and symptoms of suicidal behavior;

           (f)     case studies of recent suicides and serious suicide attempts;

           (g)     emergency notification procedures;

           (h)     mock demonstrations regarding the proper response to a suicide attempt,
                   including a hands-on simulation experience that incorporates the
                   challenges that often accompany a jail suicide, such as cell doors being
                   blocked by a hanging body and delays in securing back-up assistance;

           (i)     differentiating between suicidal and self-injurious behavior; and

           (j)     the proper use of emergency equipment.




                                                13
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 16 of 131 Page ID
                                  #:5195



           STATUS (18):           SUBSTANTIAL COMPLIANCE (as of October 1, 2017
                                  (verified) at MCJ and PDC South)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  September 1, 2017 (verified) at NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of
                                  December 1, 2017 (verified) at PDC East)

                                  SUBSTANTIAL COMPLIANCE (as of April 1, 2018
                                  (verified) at TTCF, IRC, and PDC North)

                                  SUBSTANTIAL COMPLIANCE (as of August 1, 2018
                                  (verified) at CRDF)

            The Department was not subject to monitoring during the Fourteenth Reporting
    Period for the initial training of existing Deputy Sheriffs or Custody Assistants or of new
    Deputies in the Jail Operations Continuum and new Custody Assistants in the Custody
    Assistant Academy as required by Paragraph 18. Virtually all of the Deputy Sheriffs and
    Custody Assistants in the custody facilities received the initial training because they were
    assigned to the jails as of the Existing Date of the Settlement Agreement or they received
    the training as new Deputies or new Custody Assistants.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) as of December 2021. The County has posted results
    reflecting that it was unable to maintain compliance with the refresher training
    requirements under Provision 81 Rosas 4.7(b) as of December 2021.




                                                14
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 17 of 131 Page ID
                                  #:5196



         19.   Commencing July 1, 2015, the County and the Sheriff will provide:

         (a)   Custody-specific, scenario-based, skill development training to new
               Deputies during their Jail Operations training, and to existing Deputies
               assigned to Twin Towers Correctional Facility, Inmate Reception Center,
               Men’s Central Jail, the Mental Health Housing Units at Century Regional
               Detention Facility, and the Jail Mental Evaluation Teams (“JMET”) at
               North County Correctional Facility as follows:

               (i)    32 hours of Crisis Intervention and Conflict Resolution as
                      described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                      Rosas to be completed within the time frames established in that
                      case (currently December 31, 2016). Deputies at these facilities
                      will receive an eight-hour refresher course consistent with
                      paragraph 4.6 of the Implementation Plan in Rosas every other
                      year until termination of court jurisdiction in that case and then a
                      four-hour refresher course every other year thereafter.

               (ii)   Eight hours identifying and working with mentally ill prisoners as
                      described in paragraph 4.7 of the Implementation Plan in Rosas to
                      be completed by December 31, 2016. This training requirement
                      may be a part of the 32-hour training described in the previous
                      subsection. Deputies at these facilities will receive a four-hour
                      refresher course consistent with paragraph 4.7 of the
                      Implementation Plan in Rosas every other year thereafter.

         (b)   Commencing July 1, 2015, the County and the Sheriff will ensure that new
               Custody Assistants receive eight hours of training in the Custody Assistant
               academy, and that all existing Custody Assistants receive eight hours of
               training related to identifying and working with mentally ill prisoners as
               described in paragraph 4.7 of the Implementation Plan in Rosas. This
               training will be completed by December 31, 2016. Custody Assistants
               will receive a four-hour refresher course consistent with paragraph 4.7 of
               the Implementation Plan in Rosas every other year thereafter.




                                           15
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 18 of 131 Page ID
                                  #:5197



           STATUS (19):          SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                                 (verified) at NCCF, MCJ, and IRC)

                                 SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                                 (verified) at TTCF)

                                 SUBSTANTIAL COMPLIANCE (as of December 1,
                                 2018 (verified) at CRDF, PDC East, and PDC North)

                                 SUBSTANTIAL COMPLIANCE (as of March 1,
                                 2019 (verified) at PDC South)

           The Department was not subject to monitoring during the Fourteenth Reporting
    Period for the training of existing and new Deputy Sheriffs and Custody Assistants
    required by Paragraph 19.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has maintained compliance with the refresher training requirements
    under Provision 81 Rosas 4.6(b) as of December 2021. The County has posted results
    reflecting that it was unable to maintain compliance with the refresher training
    requirements under Provision 81 Rosas 4.7(b) as of December 2021.




                                               16
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 19 of 131 Page ID
                                  #:5198



         20.   Commencing no later than July 1, 2017, the County and the Sheriff will
               provide:

         (a)   Custody-specific, scenario-based, skill development training to existing
               Deputies assigned to North County Correctional Facility, Pitchess
               Detention Center, and the non-Mental Health Housing Units in Century
               Regional Detention Facility as follows:

               (i)    32 hours of Crisis Intervention and Conflict Resolution as
                      described in paragraphs 4.6 and 4.9 of the Implementation Plan in
                      Rosas to be completed by December 31, 2019. Deputies at these
                      facilities will receive an eight-hour refresher course consistent with
                      paragraph 4.6 of the Implementation Plan in Rosas every other
                      year until termination of court jurisdiction in that case and then a
                      four-hour refresher course every other year thereafter.

               (ii)   Eight hours identifying and working with mentally ill prisoners as
                      described in paragraph 4.7 of the Implementation Plan in Rosas to
                      be completed by December 31, 2019. This training requirement
                      may be a part of the 32-hour training described in the previous
                      subsection. Deputies at these facilities will receive a four-hour
                      refresher course consistent with paragraph 4.7 of the
                      Implementation Plan in Rosas every other year thereafter.




                                            17
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 20 of 131 Page ID
                                  #:5199



           STATUS (20):           SUBSTANTIAL COMPLIANCE (as of August 1,
                                  2017 (verified) at CRDF, PDC East, PDC North, and
                                  NCCF)

                                  SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017 (verified) at PDC South)

           The Department was not subject to monitoring for the initial training for existing
    Deputies as required by Paragraph 20 during the Fourteenth Reporting Period.

            The Department is still subject to monitoring in future periods for Substantial
    Compliance with the refresher course requirements under Provision 81 Rosas 4.6(b) and
    4.7(b). The County has posted results for maintained compliance with the refresher
    training requirements under Provision 81 Rosas 4.6(b) as of December 2021. The
    County has posted results reflecting that it was unable to maintain compliance with the
    refresher training requirements under Provision 81 Rosas 4.7(b) as of December 2021.




                                                18
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 21 of 131 Page ID
                                  #:5200



           21.      Consistent with existing Sheriff’s Department policies regarding training
    requirements for sworn personnel, the County and the Sheriff will ensure that existing
    custody staff that have contact with prisoners maintain active certification in
    cardiopulmonary resuscitation and first aid.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                          through September 30, 2016 (verified) at PDC East and South)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at NCCF, PDC North,
                          and IRC)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at TTCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                          June 30, 2019 (verified) at CRDF)

            The Compliance Measures provide that the Department will demonstrate
    Substantial Compliance when 95% of the designated custody staff have the required CPR
    and first aid certifications for twelve consecutive months.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 21 in the Fourteenth
    Reporting Period.




                                                19
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 22 of 131 Page ID
                                  #:5201



           22.     Within six months of the Effective Date and at least annually thereafter,
    the County and the Sheriff will provide instructional material to all Sheriff station
    personnel, Sheriff court personnel, custody booking personnel, and outside law
    enforcement agencies on the use of arresting and booking documents, including the
    Arrestee Medical Screening Form, to ensure the sharing of known relevant and available
    information on prisoners’ mental health status and suicide risk. Such instructional
    material will be in addition to the training provided to all custody booking personnel
    regarding intake.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017)

            The Justice Data Interface Controller (“JDIC”) message the Department has been
    using since June 29, 2016, is sufficient to establish Substantial Compliance with
    Paragraph 22, and the County maintained Substantial Compliance for twelve consecutive
    months through June 30, 2017. Pursuant to Paragraph 111 of the Settlement Agreement,
    the Department was not subject to monitoring for Substantial Compliance with Paragraph
    22 in the Fourteenth Reporting Period.




                                               20
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 23 of 131 Page ID
                                  #:5202



            23.     Within three months of the Effective Date, the County and the Sheriff will
    commence a systematic review of all prisoner housing, beginning with the Mental Health
    Unit of the Correctional Treatment Center, all High Observation Housing areas, all
    Moderate Observation Housing areas, single-person discipline, and areas in which safety
    precautions are implemented, to reduce the risk of self-harm and to identify and address
    suicide hazards. The County and the Sheriff will utilize a nationally-recognized audit
    tool for the review. From this tool, the County and the Sheriff will:

           (a)     develop short and long term plans to reasonably mitigate suicide hazards
                   identified by this review; and

           (b)     prioritize planning and mitigation in areas where suicide precautions are
                   implemented and seek reasonable mitigation efforts in those areas.

           STATUS:        SUBSTANTIAL COMPLIANCE

            The Monitor has verified, with the advice of the Subject Matter Expert, that the
    Department’s Suicide Hazard Inspection Check List tool is a nationally recognized audit
    tool for this review. The Department provided the Monitor with completed checklists
    documenting inspections of all housing units by January 14, 2016.

            The Department submitted updated Suicide Hazard Mitigation plans to the
    Monitor on January 18, 2018 and July 12, 2018. After consultations with the Mental
    Health Subject Matter Expert, the Monitor concluded that the plans satisfied the
    requirements of Paragraph 23 and that the Department had achieved and maintained
    Substantial Compliance with the provision. Accordingly, pursuant to Paragraph 111 of
    the Settlement Agreement, the Department was not subject to monitoring for Substantial
    Compliance with Paragraph 23 in the Fourteenth Reporting Period.




                                                21
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 24 of 131 Page ID
                                  #:5203



            24.    The County and the Sheriff will review and inspect housing areas on at
    least an annual basis to identify suicide hazards.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 24 in the Fourteenth
    Reporting Period. As the Monitor has noted, however, implementation and tracking of
    corrective actions must be addressed by the Custody Compliance and Sustainability
    Bureau (“CCSB”) under Paragraph 77(c), which requires CCSB to “ensur[e] that
    corrective actions are taken to mitigate suicide risk. . .obtaining where appropriate,
    technical assistance. . .when such assistance is needed to address suicide-risk issues.”




                                               22
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 25 of 131 Page ID
                                  #:5204



            25.    The County and the Sheriff will ensure that any prisoner in a Sheriff’s
    Department station jail who verbalizes or who exhibits a clear and obvious indication of
    current suicidal intent will be transported to IRC, CRDF, or a medical facility as soon as
    practicable. Pending transport, such prisoners will be under unobstructed visual
    observation, or in a suicide resistant location with safety checks every 15 minutes.

           STATUS:         PARTIAL COMPLIANCE (at Central, East, South, and North
                           Patrol Divisions)

            A provision of the Station Jail Manual adopted in March 2018 requires that any
    arrestee who “displays obvious suicidal ideation or exhibits unusual behavior that clearly
    manifest[s] self-injurious behavior or other clear indication of mental health crisis shall
    be transported to the Inmate Reception Center (IRC), Century Regional Detention
    Facility (CRDF), or a medical facility as soon as practicable. Pending transport, such
    inmates. . .shall be under unobstructed visual observation or in a suicidal restraint
    location with safety checks every 15 minutes.”

            Under the revised Compliance Measures, which were updated in 2021, the
    Department must randomly select and analyze Arrestee Medical Screening Forms from
    station jails identifying prisoners who verbalize or exhibit a clear and obvious indication
    of current suicidal intent to determine compliance with Paragraph 25. Substantial
    Compliance requires that 90% of the selected records from each Patrol Division meet the
    requirements of Paragraph 25. Each Patrol Division can achieve sustained compliance
    after twelve consecutive months of Substantial Compliance independent of the other
    divisions.

           In the Twelfth Report, the Monitor said

           The DOJ has noted that compliance with these requirements varies
           significantly between station jails, certain of which have repeatedly failed
           to demonstrate compliance with Paragraph 25. The Monitor agrees.
           Given the variation in results between station jails, the County should
           prioritize improving compliance in those station jails that have repeatedly
           struggled with this provision, including CRDF Booking, East Los
           Angeles, Lancaster, Malibu, and Lomita.

            The County’s Fourteenth Self-Assessment appeared to reflect promising results
    with respect to the County implementing this advice. For example, it reported strong
    overall performance by three of the four Patrol Divisions for the Fourth Quarter of 2021
    (80% for the East Patrol Division, 100% for the North Patrol Division, 100% for the
    Central Patrol Division, and 66% for the South Patrol Division). Its posted documents
    also indicated that the station jails specifically identified by the Monitor in the Twelfth
    Report (CRDF Booking, East Los Angeles, Lancaster, Malibu, and Lomita) had either
    demonstrated markedly improved results or had an insufficient number of relevant
    patients upon which to base an assessment.




                                                 23
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 26 of 131 Page ID
                                  #:5205



            Unfortunately, these results did not hold for the First Quarter of 2022. According
    to the County’s Augmented Fourteenth Self-Assessment, the overall compliance
    percentages fell for each of the four Patrol Divisions in the First Quarter of 2022—in
    some cases substantially (75% for the East Patrol Division, 30% for the North Patrol
    Division, 60% for the Central Patrol Division, and 37% for the South Patrol Division).
    Further, three of the station jails identified by the Monitor in the Twelfth Report all
    reported dramatic reductions in compliance for the First Quarter of 2022 (50% for CRDF
    Booking, 0% for East Los Angeles, 0% for Lancaster, 100% for Malibu, and no relevant
    records for Lomita).

           Regarding these results, the County reports that

           Over the last six months, the Department through CCSB has: (i) briefed all
           four Patrol Division Aides (Jan. 25, 2022), (ii) visited all station jails and
           personally briefed jail staff regarding their obligations, (iii) developed and
           posted a sign for jail staff to assist them with Keys to Compliance when
           they encounter relevant arrestees, [and] (iv) circulated email briefings to
           every Station Jail Operations unit regarding the self-assessments to be
           completed by station leadership. CCSB also met with all four Division
           Aides and designed a benchmark for compliance by July 2023. CCSB has
           also requested a corrective action plan for each station reporting partial
           compliance in First Quarter 2022.

            The Monitor believes that these are useful steps towards improved compliance
    with this Provision. If the County’s results do not markedly improve, certain Patrol
    Divisions may be found Non-Compliant with Provision 25 in the next Reporting Period.




                                                24
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 27 of 131 Page ID
                                  #:5206



             26.    Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will follow established screening procedures to identify prisoners with emergent
    or urgent mental health needs based upon information contained in the Arrestee Medical
    Screening Form (SH-R-422) or its equivalent and the Medical/Mental Health Screening
    Questionnaire and to expedite such prisoners for mental health evaluation upon arrival at
    the Jail Reception Centers and prior to routine screening. Prisoners who are identified as
    having emergent or urgent mental health needs, including the need for emergent
    psychotropic medication, will be evaluated by a QMHP as soon as possible but no later
    than four hours from the time of identification.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2021, through
                          March 31, 2022)

            The Compliance Measures require the Department to “review Arrestee Medical
    Screening Forms (SH-R-422) (or its equivalent) and the Medical/Mental Health
    Screening Questionnaires of 100 randomly selected prisoners during one randomly
    selected week per quarter at CRDF and at IRC.” Substantial Compliance requires that (1)
    95% of the forms “include the required mental health information” and (2) 90% of the
    prisoners having urgent or emergent needs were “seen by a QMHP within four hours.”

            The County’s Fourteenth Self-Assessment reports that for the one randomly
    selected week in the Fourth Quarter of 2021, 93% of the screening forms reviewed had
    the required mental health information, which is less than the threshold for Substantial
    Compliance. 95% of the prisoners with urgent or emergent mental health needs were
    seen by a QMHP within four hours, which exceeds the relevant threshold. The County’s
    Fourteenth Self-Assessment also reports that for the one randomly selected week in the
    First Quarter of 2022, 96% of the screening forms reviewed had the required mental
    health information, and 100% of the prisoners with urgent or emergent mental health
    needs were seen by a QMHP within four hours, which both exceeded the threshold for
    Substantial Compliance.

           In May 2022, Drs. Johnson, Vess, and Eargle conducted a qualitative review of
    the County’s compliance with Provision 26. They assessed the completeness of intake
    documentation and sought to “determine whether patients with emergent or urgent needs
    were missed at intake” by examining the intake records and other associated documents.
    They found that in 100% of cases, the intake documentation was complete and available.
    They also found that in 86% of the cases sampled it was “highly likely that the condition
    leading to subsequent HOH or FIP placement was present at the time of the intake
    screening.” This was a continued increase from recent prior results (67% in November
    2021, 65% in July 2021, and 14% in November 2020). In their view, this represented “a
    sustained increase in the percentage of inmates entering jail with existing mental health
    conditions.”

            In 18.5% of cases, “an urgent or emergent condition was likely present at the time
    of the intake screening that should have been detected during a standard intake process”
    but it was not detected. These results were generally consistent with prior qualitative



                                               25
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 28 of 131 Page ID
                                  #:5207



    findings. The Team noted that for a number of these cases, the “documentation of the
    initial mental health contact was relatively sparse, and improved documentation might
    have led to some of these cases being deemed compliant.”

            The County’s results for Compliance Measure 26-4(a) fell short of the relevant
    threshold by 2% for the Fourth Quarter of 2021. Given the County’s continued
    improvements with respect to Provision 26 and the Department’s generally strong results,
    the Monitor has exercised his discretion and finds that the County was Substantially
    Compliant for the Fourteenth Reporting Period. Of greater concern is the fact that the
    Monitoring Team has continued to find patients with urgent or emergent conditions that
    were likely present at the time of the intake screening that should have been detected
    during a standard intake process but were not detected. This reflects a potentially serious
    weakness in the County’s screening methodology that could impact patient safety. These
    results must improve in the next Reporting Period for the County to retain its rating of
    Substantial Compliance.

            In response to a draft of this Report, the DOJ noted that the implementation plan
    for Provision 26 requires that “going forward, intake nurses will be briefed on a quarterly
    basis as to cases involving emergent or urgent mental health needs that were missed by
    that nurse at intake, as a measure to help build their expertise and sensitivity to indicators
    of urgent and emergent mental health needs.” The Monitor agrees that this process, once
    implemented, could enhance the capacity of CHS staff to detect urgent and emergent
    mental health conditions and avoid errors in the screening process. The Monitor and
    Mental Health Subject Matter Expert will meet with CHS officials during the next
    Reporting Period to discuss the cases that were missed during the Fourteenth Reporting
    Period, and the County should include a discussion of its briefings with intake nurses in
    its next Self-Assessment.




                                                  26
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 29 of 131 Page ID
                                  #:5208



            27.     Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will ensure that all prisoners are individually and privately screened by Qualified
    Medical Staff or trained custody personnel as soon as possible upon arrival to the Jails,
    but no later than 12 hours, barring an extraordinary circumstance, to identify a prisoner’s
    need for mental health care and risk for suicide or self-injurious behavior. The County
    and the Sheriff will ensure that the Medical/Mental Health Screening Questionnaire, the
    Arrestee Medical Screening Form (SH-R-422), or its equivalent, and/or the Confidential
    Medical Mental Health Transfer Form are in the prisoner’s electronic medical record or
    otherwise available at the time the prisoner is initially assessed by a QMHP.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2019,
                          through March 31, 2020, and October 1, 2020, through March
                          31, 2021 (verified))

            The Compliance Measures require the Department to review the records of
    “randomly selected prisoners who were processed for intake during one randomly
    selected week at CRDF and at IRC” to determine compliance with this provision.
    Substantial Compliance requires that 90% of the records reviewed reflected that the
    prisoners were screened for mental health needs within 12 hours and that the required
    documentation was available to the QMHP for 90% of the mental health assessments
    conducted by the QMHP.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 27 in the Fourteenth
    Reporting Period.




                                                27
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 30 of 131 Page ID
                                  #:5209



            28.     The County and the Sheriff will ensure that any prisoner who has been
    identified during the intake process as having emergent or urgent mental health needs as
    described in Paragraph 26 of this Agreement will be expedited through the booking
    process. While the prisoner awaits evaluation, the County and the Sheriff will maintain
    unobstructed visual observation of the prisoner when necessary to protect his or her
    safety, and will conduct 15-minute safety checks if the prisoner is in a cell.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                          March 31, 2018 (verified) at IRC)

                          PARTIAL COMPLIANCE (at CRDF)

            The Compliance Measures require the Department to review the records of
    randomly selected prisoners at CRDF and IRC who have urgent or emergent mental
    health needs to determine whether they were expedited through the booking process and
    under visual observation or checked every 15 minutes.

            The County’s Fourteenth Self-Assessment reflects that in the Fourth Quarter of
    2021, 100% of the inmates with urgent or emergent mental health needs were expedited
    through the booking process at CRDF in the randomly selected week, as required by the
    applicable Compliance Measures, and 100% of the inmates were observed or checked as
    is required. The County’s Fourteenth Self-Assessment also reported that in the First
    Quarter of 2022, 90% of the inmates with urgent or emergent mental health needs were
    expedited through the booking process at CRDF in the randomly selected week, and
    100% of the inmates were observed or checked, as is required.

            Given these results, the County requests that it be found in Substantial
    Compliance and that “effective April 1, 2022, the County completed its obligations
    related to this provision and is no longer subject to monitoring.”

           However, the relevant Compliance Measures require the County to evaluate a
    population of 25 inmates to assess compliance in each quarter. For the Thirteenth
    Reporting Period, the County presented a sample of only 5 inmates in the Second and
    Third Quarters of 2021. In the Thirteenth Report, the Monitor noted

           There were only five relevant inmates in the random weeks selected in the
           Second and Third Quarters of 2021, which is smaller than the sample size
           contemplated by the relevant Compliance Measure (“for one randomly
           selected week each quarter, the Department will review the records of 25
           randomly selected prisoners at CRDF”). The Monitor finds that the
           County achieved Substantial Compliance for the Second and Third
           Quarters of 2021 on the basis of its reported results, which are subject to
           verification by the Monitor’s auditors. However, if the random weeks
           selected during the Fourteenth Monitoring Period do not contain 25
           relevant inmates, the County should add additional random weeks until
           a population of 25 inmates can be measured per quarter [emphasis



                                               28
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 31 of 131 Page ID
                                  #:5210



           added].

            In the County’s posted results, it identified populations of 7 inmates for the Fourth
    Quarter of 2021 and 10 inmates for the First Quarter of 2022. The County did not
    explain why it failed to add additional random weeks to this sample as the Monitor
    recommended. Upon request, the County posted amended results (using a larger sample
    size) for the Fourth Quarter of 2021 reflecting that 76%, less than the 85% required, of
    the inmates with urgent or emergent mental health needs were expedited through the
    booking process at CRDF in the randomly selected weeks, as required by the applicable
    Compliance Measures. The Monitor’s auditors have also requested amended results for
    the First Quarter of 2022.

            Given the County’s results and Monitor’s comments in the Thirteenth Report, the
    County is in Partial Compliance with Provision 28 for the Fourteenth Reporting Period.
    In the next Reporting Period, the County should expand the sample until a population of
    25 relevant inmates is identified in each quarter, if again necessary, or it risks being
    found in Non-Compliance.

           The County previously maintained Substantial Compliance with Paragraph 28 at
    IRC for twelve consecutive months, and IRC was not subject to monitoring for
    Substantial Compliance with Paragraph 28 in the Fourteenth Reporting Period.




                                                 29
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 32 of 131 Page ID
                                  #:5211



            29.    The County and the Sheriff will ensure that a QMHP conducts a mental
    health assessment of prisoners who have non-emergent mental health needs within 24
    hours (or within 72 hours on weekends and legal holidays) of a registered nurse
    conducting an intake nursing assessment at IRC or CRDF.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                         March 31, 2018 (verified))

           The Compliance Measures require the Department to review randomly selected
    records of the prisoners identified in the intake nursing assessment as having non-
    emergent mental health needs to determine if the Department completed mental health
    assessments for 85% of the prisoners within the required time periods.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 29 in the Fourteenth
    Reporting Period.




                                              30
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 33 of 131 Page ID
                                  #:5212



             30.     Consistent with existing DMH policies, the initial mental health
    assessment will include a brief initial treatment plan. The initial treatment plan will
    address housing recommendations and preliminary discharge information. During the
    initial assessment, a referral will be made for a more comprehensive mental health
    assessment if clinically indicated. The initial assessment will identify any immediate
    issues and determine whether a more comprehensive mental health evaluation is
    indicated. The Monitor and SMEs will monitor whether the housing recommendations in
    the initial treatment plan have been followed.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2019,
                          through December 31, 2019 (verified))

             The Compliance Measures require the Department to review randomly selected
    initial mental health assessments and report on (1) the percentage of assessments that
    have (i) included an initial treatment plan that addresses housing recommendations and
    preliminary discharge information and (ii) identified any immediate issues and whether a
    more comprehensive evaluation was indicated; and (2) whether the housing
    recommendations were followed.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 30 in the Fourteenth
    Reporting Period.




                                               31
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 34 of 131 Page ID
                                  #:5213



             31 (Revised). Consistent with existing Correctional Health Services and Sheriff’s
    Department policies, the County and the Sheriff will maintain electronic mental health
    alerts in prisoners’ electronic medical records that notify medical and mental health staff
    of a prisoner’s risk for suicide or self-injurious behavior. The alerts will be for the
    following risk factors:

            (a)      current suicide risk; and

            (b)      prior suicide attempts.

            STATUS:           PARTIAL COMPLIANCE (at CRDF & TTCF)


            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 31 (“Revised Paragraph 31”) as set
    forth above. They also agreed on Revised Compliance Measures. The Revised
    Compliance Measures require the Department to review randomly selected electronic
    medical records for prisoners in certain at-risk groups to determine if the required mental
    health alerts are in 85% of the records reviewed, which is the threshold for Substantial
    Compliance, for prisoners who report suicidal thoughts (at suicide risk) during the intake
    process; or were removed from risk precautions in the prior quarter.

            The County’s Fourteenth Self-Assessment reports that for the Fourth Quarter of
    2021, at CRDF, 96% of the records reviewed contained the mental health alerts required
    by 31-1(a). There were no patients removed from risk precautions during the relevant
    period, thus no records to review in connection with 31-1(b). At TTCF, 96% of the
    records reviewed contained the mental health alerts required by 31-1(a). There were no
    patients removed from risk precautions during the relevant period, thus no records to
    review in connection with 31-1(b).

            As the Monitor wrote in the Twelfth Report, the County “substantially revised its
    process for use of risk precautions in the years after the Agreement was executed.”
    Given those changes, there was a need for an “an alternative approach to sampling the
    patient population.” The County subsequently worked with the Monitor, Dr. Johnson,
    and the DOJ to develop that revised methodology, which was implemented in connection
    with the assessment of the First Quarter of 2022.

           The County’s Augmented Fourteenth Self-Assessment reports that under that
    revised methodology, for the First Quarter of 2022, at CRDF, 100% of the records
    reviewed contained the mental health alerts required by 31-1(a). 8 Regarding 31-1(b),
    87% of the relevant records contained the required alerts. At TTCF, 84% of the records
    reviewed contained the mental health alerts required by 31-1(a). Regarding 31-1(b), 16%

    8
     The DOJ has expressed concern regarding the large number of patients who were excluded from the
    County’s audits under Compliance Measure 31-1(a). In the Fifteenth Reporting Period, the County should
    explain the reasons for such exclusions, if any, in its posted results for all Compliance Measures under
    Provision 31.


                                                       32
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 35 of 131 Page ID
                                  #:5214



    of the relevant records contained the required alerts. However, the Monitor’s auditors
    note that the methodology utilized by the County in its posted results differs from what is
    required by Compliance Measure 31-1(b). The County is required to sample from a
    universe of inmates whose risk levels were lowered in the prior quarter. Yet, the County
    inadvertently sampled from a universe of inmates who were assigned a High or Imminent
    risk level during the prior quarter, which was then lowered in either the prior or current
    quarter.

           The Monitor therefore finds the County in Partial Compliance. In the next
    Reporting Period, the County’s assessment should be based on a universe of inmates
    whose risk levels were lowered during the prior quarter, regardless of when the High or
    Imminent risk levels were initially assigned.




                                                33
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 36 of 131 Page ID
                                  #:5215



           32.      Information regarding a serious suicide attempt will be entered in the
    prisoner’s electronic medical record in a timely manner.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require that 95% of the electronic medical records of
    prisoners who had a serious suicide attempt reflect information regarding the attempt, and
    85% of the records reflect that the information was entered into the record within one day
    of the attempt.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 32 in the Fourteenth
    Reporting Period.




                                                34
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 37 of 131 Page ID
                                  #:5216



            33.   The County will require mental health supervisors in the Jails to review
    electronic medical records on a quarterly basis to assess their accuracy as follows:

           (a)    Supervisors will randomly select two prisoners from each clinician’s
                  caseload in the prior quarter;

           (b)    Supervisors will compare records for those prisoners to corroborate
                  clinician attendance, units of service, and any unusual trends, including
                  appropriate time spent with prisoners, recording more units of service than
                  hours worked, and to determine whether contacts with those prisoners are
                  inconsistent with their clinical needs;

           (c)    Where supervisors identify discrepancies through these reviews, they will
                  conduct a more thorough review using a DMH-developed standardized
                  tool and will consider detailed information contained in the electronic
                  medical record and progress notes; and

           (d)    Serious concerns remaining after the secondary review will be elevated for
                  administrative action in consultation with DMH’s centralized Human
                  Resources.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                          June 30, 2017 (verified))

            The Compliance Measures require the County to provide the Monitor and the
    Subject Matter Experts with the DMH-developed standardized tool required by Paragraph
    33(c), and to report the results of its analysis of the electronic medical records of two
    randomly selected prisoners from each clinician’s caseload.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 33 in the Fourteenth
    Reporting Period.




                                               35
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 38 of 131 Page ID
                                  #:5217



            34 (Revised). Consistent with existing Correctional Health Services policy, the
    County and the Sheriff will conduct clinically appropriate release planning for all
    prisoners who are being released to the community and who have been identified by a
    QMHP as having a mental illness and needing mental health treatment, or as having a
    DSM-5 major neuro-cognitive disorder that caused them to be housed in the Correctional
    Treatment Center at any time during their current incarceration. For prisoners with
    mental illness and needing mental health treatment, the release planning services will be
    guided by the prisoner’s level of care. Specifically, prisoners who at any time during
    their incarceration meet mental health level of P3 or P4 will be presumptively referred for
    release planning services, and prisoners who meet mental health level of care P2 will
    receive release planning services upon referral by a clinician or upon their request.
    Prisoners who have a DSM-5 major neuro-cognitive disorder that caused them to be
    housed in the Correctional Treatment Center will also be referred for release planning
    services consistent with the Correctional Health Services policy applying to prisoners
    with mental illness.

           (a) Release planning will consider the need of the prisoner for housing;
           transportation to the prisoner’s community-based provider, residence, or shelter
           within the County; bridge psychotropic medications; medical/mental
           health/substance abuse services; income/benefits establishment; and
           family/community/social supports (“Release Planning Areas”).

           (b) Release planning will be based on an individualized assessment of the
           prisoner’s needs and, unless the prisoner is unable or unwilling to participate, will
           be undertaken in collaboration with the prisoner. For prisoners referred for
           release planning services, those services will include:

                   (i) An Initial Release Plan that will be created at intake or no later than ten
                   days after the referral for release planning, which referral shall normally
                   occur at the time of intake. The Initial Release Plan will include
                   preliminary identification of needs in each of the Release Planning Areas
                   and preliminary recommendations for services to address those needs, and
                   a referral for assistance in obtaining California identification when needed
                   and when the prisoner is eligible; and/or

                   (ii) A Comprehensive Release Plan that will be initiated no later than
                   thirty days after the referral for release planning. The Comprehensive
                   Release Plan will include (A) collecting information regarding the
                   prisoner’s needs; (B) coordinating with community-based providers to
                   identify available services that meet the prisoner’s needs; (C) facilitating
                   the transition of care to community-based providers, and (D) assisting in
                   obtaining identification and/or benefits when needed, when the prisoner is
                   eligible, and as offered by the Sheriff’s Community Transition Unit.

           (c) The County will maintain a re-entry resource center with staff supervised by a
           QMHP. The re-entry resource center will:



                                                 36
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 39 of 131 Page ID
                                  #:5218




                (i) Provide information appropriate to the released prisoner about available
                housing, transportation, medical/mental health/substance abuse services,
                income/benefits establishment, community/social supports, and other
                community resources; and

                (ii) Provide released prisoners with copies of their release plans, as
                available.

         (d) All prisoners who are receiving and continue to require psychotropic
         medications will be offered a clinically appropriate supply of those medications
         upon their release from incarceration. Unless contraindicated, this will be
         presumed to be a 14-day supply or a supply with a prescription sufficient so that
         the prisoner has the psychotropic medication available during the period of time
         reasonably necessary to permit the prisoner to consult with a doctor and obtain a
         new supply.

         (e) Nothing in Paragraph 34 will require prisoners to accept or participate in any
         of the services provided under this Paragraph.

         (f) Neither the County nor the Sheriff shall be in violation of this paragraph if
         after reasonable efforts as set forth in Correctional Health Services Policy
         M380.01, Release Planners are unable to identify available post-release services.




                                              37
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 40 of 131 Page ID
                                  #:5219



            STATUS (34):               NON-COMPLIANCE

           During the Seventh Reporting Period, the parties and the Intervenors reached an
    agreement on the provisions of revised Paragraph 34 (“Revised Paragraph 34”) set forth
    above. They also agreed on revised Compliance Measures and a revised policy to
    implement Revised Paragraph 34. On December 10, 2018, the Court issued an order
    pursuant to the parties’ joint stipulation revising Paragraph 34.

           The County’s Fourteenth Self-Assessment reports that, as required by Compliance
    Measure 34-10, the Department’s Compliance Team made six visits in the Fourth Quarter
    of 2021 and First Quarter of 2022 to CRRC to confirm the presence of staff representing
    the Health Agency, Probation, and Sheriff’s Departments. The County concluded that it
    achieved 100% compliance with all departments being present at each visit.

            Compliance Measures 34-1 and 2 require the County to review on a quarterly
    basis “randomly selected records of 85 prisoners released in a randomly selected week”
    who had been identified as having a need for mental health care to determine if the
    requirements of the County’s Release Planning Policy were satisfied and state for each
    prisoner who did not receive a Comprehensive Release Plan why a plan was not
    completed, whether repeated efforts were made to offer the prisoner comprehensive
    release planning, and whether an Initial Release Plan was completed. Compliance
    Measure 34-13(c) sets forth the relevant thresholds for Compliance Measure 34-1.

           The County’s Self-Assessment for the Fourth Quarter of 2021 reports that
    regarding Compliance Measure 13(c)(1), 94% of inmates received a referral for release
    planning, rather than the required 85%. The County’s posted results for the First Quarter
    of 2022 reflect that 92% of inmates received the required referral.

           For Compliance Measure 34-13(c)(4), which requires certain services and
    documentation relating to inmates requiring psychotropic medications, the County’s
    Fourteenth Self-Assessment reflects 92% compliance during the Fourth Quarter of 2021.
    The County’s posted results for the First Quarter of 2022 reflect 100% compliance.

            Compliance Measure 34-12 requires the County to “review randomly selected
    records of 50 prisoners released in a randomly selected week who had been identified by
    a QMHP as meeting a mental health level of care P2” and evaluate “whether the QMHP
    considered the factors in the Release Planning Policy when determining whether to refer
    the prisoner.” The County’s posted results reported that 98% of the mental health records
    included the required criteria during the relevant assessment weeks. 9

           The County has long-struggled with 34-13(c)(2), which concerns inmates who
    only had Initial Release Plans, and 34-13(c)(3), which requires certain services and

    9
     In response to a draft of this Report, the DOJ raised several methodological concerns about the County’s
    compliance audits under Provision 34. The Monitor has instructed his auditors to conduct a detailed
    evaluation of the County’s methods in the next Reporting Period, and the results will be shared with the
    Parties.


                                                       38
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 41 of 131 Page ID
                                  #:5220



    documentation relating to inmates who received a Comprehensive Release Plan—and the
    Fourteenth Reporting Period is no exception. The County’s Fourteenth Self-Assessment
    reports that regarding Compliance Measure 34-13(c)(2), “63% of inmates receiv[ed] the
    required services and documentation rather than the required 85%” in the Fourth Quarter
    of 2021. The County’s posted results for the First Quarter of 2022 reflect 70%
    compliance.

           Similarly, regarding Compliance Measure 34-13(c)(3), the County’s Fourteenth
    Self-Assessment reports that “33% of inmates receiv[ed] the required services and
    documentation, rather than the required 85%” during the Fourth Quarter of 2021. The
    County’s posted results for the First Quarter of 2022 reflect 45% compliance.

            In response to a draft of this Report, the County pointed out a series of steps it has
    undertaken to improve its compliance during the Fourteenth Reporting Period. This
    includes making offers to five psychiatric social workers and developing “an Excel case
    tracker tool,” which is now in use by “the entire County team.” Further, the County
    reports that “an administrative staff member was assigned to handle release planning for
    people facing serious charges or high bail amounts” and it has created a “customized case
    tracker" for such matters. The County also created a “custom case tracker” for
    Community Health Workers to track Initial Release Plan assignments. Supervisors also
    enhanced their supervision by “randomly auditing selected closed cases” of their
    supervisees and conducting “monthly reviews of each staff member’s caseload and a
    review of full documentation of five open cases.” The County suggests that these steps,
    and the others it is undertaking, will “bear concrete results in the next reporting period.”

          The Monitor hopes so, too. Given its current performance, the County is rated as
    Non-Compliant with Provision 34 for the Fourteenth Reporting Period.




                                                 39
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 42 of 131 Page ID
                                  #:5221



            35.    Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody staff, before the end of shift, refer
    prisoners in general or special populations who are demonstrating a potential need for
    routine mental health care to a QMHP or a Jail Mental Evaluation Team (“JMET”)
    member for evaluation, and document such referrals. Custody staff will utilize the
    Behavior Observation and Referral Form.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of November 1, 2017,
                           through December 31, 2018 (verified))

            The Compliance Measures require the Department to review, for a randomly
    selected month each quarter, the Behavior Observation and Mental Health Referral
    (“BOMHR”) records for prisoners referred by custody staff to a QMHP or JMET
    member for “routine” mental health care to determine the timeliness of the referrals, and
    that 85% of the referrals “occurred before the end of the shift in which the potential need
    for mental health care is identified.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 35 in the Fourteenth
    Reporting Period.




                                                40
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 43 of 131 Page ID
                                  #:5222



            36.     Consistent with existing DMH policies, the County and the Sheriff will
    ensure that a QMHP performs a mental health assessment after any adverse triggering
    event, such as a suicide attempt, suicide threat, self-injurious behavior, or any clear de-
    compensation of mental health status. For those prisoners who repeatedly engage in such
    self-injurious behavior, the County will perform such a mental health assessment only
    when clinically indicated, and will, when clinically indicated, develop an individualized
    treatment plan to reduce, and minimize reinforcement of, such behavior. The County and
    the Sheriff will maintain an on-call system to ensure that mental health assessments are
    conducted within four hours following the notification of the adverse triggering event or
    upon notification that the prisoner has returned from a medical assessment related to the
    adverse triggering event. The prisoner will remain under unobstructed visual observation
    by custody staff until a QMHP has completed his or her evaluation.

           STATUS:        NON-COMPLIANCE

            The Compliance Measures require the Department to develop a staffing schedule
    to provide on-call services, and the County’s Fourteenth Self-Assessment reported that it
    has complied with this requirement for the Fourth Quarter of 2021. The Compliance
    Measures also require the Department to review randomly selected records of prisoners
    newly admitted to mental health housing from a lower level of care due to an adverse
    triggering event during two randomly selected weeks per quarter. The County’s
    Fourteenth Self-Assessment reports that during the Fourth Quarter of 2021, (a) “71% --
    rather than the required 95% -- of inmates” identified in the two randomly selected weeks
    received an assessment by a QMHP within four hours, as required by Compliance
    Measure 36-4(a). The County further reports that (b) 100% of the selected prisoners at
    TTCF and 100% at CRDF were seen on videos “under unobstructed visual observation
    pending assessment,” as required by Compliance Measure 36-4(b).

           The County’s Augmented Fourteenth Self-Assessment reports that for the First
    Quarter of 2022, the Department complied with the staffing schedule requirement. The
    County further reports that during the First Quarter of 2022 “73% -- rather than the
    required 95% -- of inmates” identified in the two randomly selected weeks received an
    assessment by a QMHP within four hours, as required by Compliance Measure 36-4(a).
    The County further reports that 100% of the selected prisoners at TTCF and CRDF were
    “under unobstructed visual observation pending assessment,” as is required by
    Compliance Measure 36-4(b).

            The Monitoring Team also periodically conducts qualitative reviews of relevant
    patient files to help assess the County’s compliance with Provision 36. In the Thirteenth
    Reporting Period, the County was in Non-Compliance with Provision 36 based upon its
    poor results in the qualitative review. In May 2022, Drs. Johnson, Vess and Eargle,
    conducted a follow-up qualitative assessment of the County’s compliance with Paragraph
    36. In it, they sought to assess, among other things, “the County’s methodology,
    specifically whether it sufficiently detects adverse triggering events and acts of repeated
    self-harm” in order to assure prompt assessment by a QMHP and a clinically-adequate
    treatment plan. They also sought to determine whether any assessment conducted



                                                41
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 44 of 131 Page ID
                                  #:5223



    “sufficiently addressed the adverse triggering event(s), including discussing relevant risk
    factors, and whether there was a clinically-adequate crisis response or safety plan put in
    place.”

            They found that of 47 qualifying cases with a single adverse triggering event (13
    were indeterminate), 91% of the patients were seen within four hours by a QMHP. This
    represents a consistent improvement over several monitoring periods from previous
    results. The team noted, however, that a substantially larger number of cases were
    indeterminate during this review “due to lack of clear documentation of time stamps for
    various steps in the process. Better documentation of the timeline in clinical notes is
    needed.” 10

             In 65% of the cases with a single adverse triggering event, a QMHP adequately
    evaluated the apparent risk factors. This is an improvement from the 36% found during
    the prior reporting period. However, in only 34% of the cases was any safety plan or
    crisis response plan in place to address the identified risk factors. 11 This deficit
    represents a significant risk to inmate safety concerning Provision 36 and must receive
    prompt attention from the County. The first mental health contact with patients in these
    circumstances “should result in a simple and clear safety plan for the period prior to
    transfer to a higher level of care followed by more detailed treatment planning by an
    assigned clinician.” 12

            Regarding cases of repeated self-harm, the Team assessed 18 patients who were
    being followed by the Complex Case Committee. Of those cases, only one was found to
    have engaged in repeated instances of self-injurious behavior. Three other cases of
    repeated self-harm were identified among hospital returnees. Of these four patients who
    had engaged in repeated self-harm in this sample, there was a treatment plan to address
    the behavior in only 25% of cases. Of the remaining cases in the sample, “there was no
    indication that clinicians determined that a treatment plan was not clinically indicated or
    that a behavior management plan was put in place instead.” The lack of treatment
    planning for inmates who engage in repeated self-harming behavior is also a significant
    safety risk that must receive prompt attention by the County. The County is again Non-
    Compliant with Provision 36 for the Fourteenth Reporting Period.




    10
       The Monitoring Team has not historically graded indeterminate cases as non-compliant for the purposes
    of its qualitative review of Provision 36. However, if the number of indeterminate cases continues to grow,
    the Monitor will direct that they be graded as non-compliant in future Reporting Periods.
    11
       County personnel have noted that inmates are sometimes resistant, unwilling, or unable to participate in
    the safety planning process. In these circumstances, the efforts to engage in safety planning should be
    documented and the inmate’s responses noted in the safety plan and elsewhere in the patient chart, if
    necessary.
    12
       The Team noted that of the cases that included safety plans, some of them were “boilerplate bullet point
    lists” rather than individualized plans for each inmate. The County must ensure that its plans are
    individualized to the presentation and symptoms of each inmate.


                                                        42
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 45 of 131 Page ID
                                  #:5224



            37.     Sheriff’s Court Services Division staff will complete a Behavioral
    Observation and Mental Health Referral (“BOMHR”) Form and forward it to the Jail’s
    mental health and/or medical staff when the Court Services Division staff obtains
    information that indicates a prisoner has displayed obvious suicidal ideation or when the
    prisoner exhibits unusual behavior that clearly manifests self-injurious behavior, or other
    clear indication of mental health crisis. Pending transport, such prisoner will be under
    unobstructed visual observation or subject to 15-minute safety checks.

              STATUS:        NON-COMPLIANCE

            The Compliance Measures require the Department to randomly select six courts
    from among the three Court Divisions each quarter, review written communications and
    orders that refer to a suicide risk or serious mental health crisis for a prisoner and incident
    reports for self-injurious behavior by prisoners appearing in the selected courts, and
    determine if these incidents are reflected in BOMHR forms completed by the Court
    Services Division staff in the selected courts.

             For the prior Reporting Period, the County reported low compliance percentages
    with Provision 37 for the Second and Third Quarters of 2021 (50% and 37%,
    respectively). As such, in the Thirteenth Report, the Monitor instructed the County that
    its results “must improve or the County may be rated Non-Compliant with Provision 37
    in the next reporting period.”

            In the County’s Fourteenth Self-Assessment, it reported that the numbers did not
    improve. Instead, in the Fourth Quarter of 2021, the County reported that “37% − rather
    than the required 90% − of the incidents involving suicidal behavior, self-injurious
    behavior, or clear indications of mental health crises were identified in court
    communications or incident reports reflected on BOHMRs.” In the First Quarter of 2022,
    the County achieved only 20% compliance.

              Regarding these results, the County’s Augmented Fourteenth Self-Assessment
    reports

                       Over the last six months, the Department has engaged in several
              efforts to improve compliance for this Provision consistent with its
              implementation plans. The Department, with CCSB serving as a subject
              matter expert, briefed Court Services Division training on court services-
              specific issues affecting compliance. CCSB also created and provided a
              PowerPoint training on Provision 37 and common compliance issues as a
              training tool for use by Court Services Division Training. CCSB and
              Court Services Training hosted a train the trainer presentation on multiple
              days in January 2022. CCSB also specifically briefed the Court Services
              Division Commander and Captains regarding Provision 37, its obligations,
              and compliance issues. Further, CCSB issued Corrective Action Plan
              requests regarding non-compliant courts in Quarter 1 2022, specifically for
              Court Services East Division and West Division.


                                                  43
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 46 of 131 Page ID
                                  #:5225




            The Monitor looks forward to reviewing the results of these efforts in the future.
    The County is rated Non-Compliant with Provision 37 for the Fourteenth Reporting
    Period.




                                                44
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 47 of 131 Page ID
                                  #:5226



            38.      Consistent with existing DMH policies and National Commission on
    Correctional Health Care standards for jails, the County and the Sheriff will ensure that
    mental health staff or JMET teams make weekly cell-by-cell rounds in restricted non-
    mental health housing modules (e.g., administrative segregation, disciplinary segregation)
    at the Jails to identify prisoners with mental illness who may have been missed during
    screening or who have decompensated while in the Jails. In conducting the rounds, either
    the clinician, the JMET Deputy, or the prisoner may request an out-of-cell interview.
    This request will be granted unless there is a clear and documented security concern that
    would prohibit such an interview or the prisoner has a documented history of repeated,
    unjustified requests for such out-of-cell interviews.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified))

            The Compliance Measures require the Department to review the documentation of
    the weekly cell-by-cell rounds and the JMET Logs for a randomly selected week each
    quarter to confirm that the required cell-by-cell checks were conducted and out-of-cell
    interviews were handled in accordance with this provision.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 38 in the Fourteenth
    Reporting Period.




                                               45
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 48 of 131 Page ID
                                  #:5227



           39.     The County and the Sheriff will continue to use a confidential self-referral
    system by which all prisoners can request mental health care without revealing the
    substance of their requests to custody staff or other prisoners.

            STATUS            SUBSTANTIAL COMPLIANCE (as of July 1, 2017,
                              through June 30, 2018 (verified) at NCCF)

                              SUBSTANTIAL COMPLIANCE (as of January 1, 2022,
                              through March 31, 2022 (verified) at PDC South)

                              PARTIAL COMPLIANCE (at CRDF, MCJ, and PDC North)

                              NON-COMPLIANCE (at TTCF)

                              NOT RATED (at PDC East)

            Substantial Compliance requires the Department to (a) verify that housing areas
    have the required forms and (b) review randomly selected self-referrals for mental health
    care from prisoners to confirm that (i) the referrals “were forwarded to DMH” by the
    Department, and (ii) that “DMH documented the timeliness and nature of DMH’s
    response to the self-referrals[.]” The thresholds for Substantial Compliance are that 85%
    of the housing areas have the required forms and 90% of the self-referrals must be
    forwarded by the Department to the Department of Health Services – Custody Health
    Services (DHS-CHS) and 90% must contain the required documentation of DHS-CHS’s
    response.

           The County’s Fourteenth Self-Assessment reports that it achieved Substantial
    Compliance with Compliance Measure 39-4(a) in the Fourth Quarter of 2021 and First
    Quarter of 2022 “at all applicable” facilities.

            Regarding Compliance Measures 39-4(b) and 4(c), the County’s Fourteenth Self-
    Assessment reports that 100% of the self-referrals from PDC South, PDC North, TTCF,
    MCJ, and CRDF were forwarded by the Department to CHS in the Fourth Quarter of
    2021. It further reported that CHS documented the timeliness and nature of its response
    in 100% of the PDC South referrals, 75% of the PDC North referrals, 41% of the CRDF
    referrals, 40% of the TTCF referrals, and 41% of the MCJ referrals. 13 The reported
    results at PDC South for the Fourth Quarter of 2021 were unable to be verified by the
    Monitor’s auditors.

            The County’s Augmented Fourteenth Self-Assessment also reports that 100% of
    the self-referrals from PDC South, PDC North, CRDF, TTCF, and MCJ, were forwarded
    by the Department to CHS in the First Quarter of 2022. The County further reports that
    CHS documented the timeliness and nature of its response in 100% of the PDC South

    13
      According to the County’s Augmented Fourteenth Self-Assessment, “there were no relevant referrals
    from PDC East, the Department’s Fire Camp operation,” during the Fourth Quarter of 2021 or First Quarter
    of 2022.


                                                      46
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 49 of 131 Page ID
                                  #:5228



    referrals, 77% of the PDC North referrals, 58% of the CRDF referrals, 24% of the TTCF
    referrals, and 68% of the MCJ referrals. The results at PDC South for the First Quarter of
    2022 have been verified by the Monitor’s auditors. Given TTCF’s results on Compliance
    Measure 39-4(c), which fall well below the relevant threshold, TTCF is rated as Non-
    Compliant for the Fourteenth Reporting Period.

            The County previously reported Substantial Compliance at NCCF for twelve
    consecutive months from July 1, 2017, through June 30, 2018. These results have been
    verified by the Monitor’s auditors and NCCF is no longer subject to monitoring for
    compliance with Paragraph 39.




                                               47
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 50 of 131 Page ID
                                  #:5229



            40.    The County and the Sheriff will ensure a QMHP will be available on-site,
    by transportation of the prisoner, or through tele-psych 24 hours per day, seven days per
    week (24/7) to provide clinically appropriate mental health crisis intervention services.

           STATUS:        PARTIAL COMPLIANCE

             Substantial Compliance requires the County (1) to provide the Monitor with on-
    call schedules for two randomly selected weeks reflecting that a QMHP was assigned 24
    hours a day, seven days per week, and (2) to randomly select referrals for mental health
    crisis intervention received by a QMHP per quarter to verify (i) that a QMHP responded
    to all referrals, and (ii) responses to 90% of the referrals were within four hours.

           The County’s Fourteenth Self-Assessment reports that in the Fourth Quarter of
    2021, a QMHP responded to 98% of the referrals for mental health crisis intervention
    services, which is just below the 100% threshold for Substantial Compliance, and that
    91% of the responses were within four hours, which is above the 90% threshold for
    Substantial Compliance.

           The County’s Augmented Fourteenth Self-Assessment reports that in the First
    Quarter of 2022, a QMHP responded to 99% of the referrals for mental health crisis
    intervention services and that 95% of the responses were within four hours, which
    exceeds the 90% threshold.

            In May 2022, Drs. Johnson, Vess, and Eargle, performed a qualitative review of
    the County’s compliance with Paragraph 40. They reviewed 57 qualifying cases from
    IRC, TTCF, CRDF, NCCF, PDC North, and MCJ. A QMHP responded to the crisis in
    98% of cases and the response was within four hours in 93%. These responses were
    deemed to be clinically appropriate in 31% of cases, a decline from the prior Reporting
    Period. As with Provision 36, in many cases, the interventions “were rote and non-
    specific, and appeared to include boilerplate lists that did not obviously reflect
    consideration of the individualized presentation of each inmate. A concise summary of
    the specific interventions attempted, and the inmate’s response would be sufficient.” As
    with Provision 36, the quality and depth of the County’s responses to mental health crises
    must improve. If it does not, the County may be rated Non-Compliant with Provision 40
    in future Reporting Periods.




                                               48
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 51 of 131 Page ID
                                  #:5230



            41.    Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols that provide clinically appropriate transition when
    prisoners are discharged from FIP after being the subject of suicide watch. The protocols
    will provide:

           (a)    intermediate steps between highly restrictive suicide measures (e.g.,
                  clinical restraints and direct constant observation) and the discontinuation
                  of suicide watch;

           (b)    an evaluation by a QMHP before a prisoner is removed from suicide
                  watch;

           (c)    every prisoner discharged from FIP following a period of suicide watch
                  will be housed upon release in the least restrictive setting deemed
                  clinically appropriate unless exceptional circumstances affecting the
                  facility exist; and

           (d)    all FIP discharges following a period of suicide watch will be seen by a
                  QMHP within 72 hours of FIP release, or sooner if indicated, unless
                  exceptional circumstances affecting the facility exist.

           STATUS:        PARTIAL COMPLIANCE

             Substantial Compliance requires CHS to review the medical records of all
    prisoners on suicide watch in FIP for one randomly selected month each quarter, and
    submit a report regarding the implementation of the step-down protocols and the results
    of its review of the medical records. During the Fifth Reporting Period, the parties
    agreed to revise the Compliance Measures to increase the number of inmates subject to
    the step-down protocols of Paragraph 41 and ensure that the implementation of step-
    down protocols for FIP patients on suicide watch “ameliorate the impact of the
    restrictions” and have the necessary “level of precautions based upon individual
    assessment[s]” of the patients.

           The County’s Fourteenth Self-Assessment reports that the County met the
    requirements in Compliance Measure 41-4 for 94.4% of the prisoners discharged from
    FIP during the Fourth Quarter of 2021 after having been on suicide watch, which is just
    below the 95% threshold for Substantial Compliance. The County’s Fourteenth Self-
    Assessment also reports that the County met the requirements in Compliance Measure
    41-4 for 93% of the prisoners discharged from FIP during the First Quarter of 2022 after




                                               49
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 52 of 131 Page ID
                                  #:5231



    having been on suicide watch. This is also below the 95% threshold for compliance. 14




    14
       The County has requested a rating of Substantial Compliance given that its results for both quarters came
    close to meeting the applicable thresholds. The Monitor has, in limited circumstances, exercised his
    discretion to deem particular provisions Substantially Compliant when the County has a well-developed
    track record of successfully implementing the provision, and the results in a single quarter fell just short of
    meeting the relevant compliance threshold. However, in this case, the County’s results fell short in two
    consecutive quarters—and actually declined in the second quarter measured in this Reporting Period.
    Therefore, the Monitor does not find the County to be Substantially Compliant with Provision 41 for the
    Fourteenth Reporting Period.


                                                          50
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 53 of 131 Page ID
                                  #:5232



            42.     Consistent with existing DMH policies, the County and the Sheriff will
    implement step-down protocols to ensure that prisoners admitted to HOH and placed on
    risk precautions are assessed by a QMHP. As part of the assessment, the QMHP will
    determine on an individualized basis whether to implement “step-down” procedures for
    that prisoner as follows:

           (a)    the prisoner will be assessed by a QMHP within three Normal business
                  work days, but not to exceed four days, following discontinuance of risk
                  precautions;

           (b)    the prisoner is counseled to ameliorate the negative psychological impact
                  that any restrictions may have had and in ways of dealing with this impact;

           (c)    the prisoner will remain in HOH or be transferred to MOH, as determined
                  on a case-by-case basis, until such assessment and counseling is
                  completed, unless exceptional circumstances affecting the facility exist;
                  and

           (d)    the prisoner is subsequently placed in a level of care/housing as
                  determined by a QMHP.

           STATUS:        NON-COMPLIANCE

           The Monitor wrote in the Twelfth Report, “the Monitor understands that CHS
    substantially restricted its use of Risk Precautions in the years after the Agreement was
    executed.” Given those changes, “and the increasingly small number of eligible patients
    sampled for Provision 42 in each reporting period…the Monitor encourages the Parties to
    meet with Subject Matter Expert Dr. Johnson to determine whether changes need to be
    made to Provision 42 and its associated Compliance Measures.” The Parties did, in fact,
    have such meetings during the Thirteenth Reporting Period and agreed upon a revised
    sampling methodology for Provision 42.

            The County’s posted results note that “there may be many challenges which will
    need to be addressed throughout the process of implementing the revised approach to this
    provision. The County expects that the compliance levels will initially be well below the
    required thresholds for Substantial Compliance until the relevant processes (i.e., staff
    training, use of Daily Risk Reports, etc.) have been established in the clinical programs
    but is hopeful that these changes will result in a more meaningful approach to risk
    management and a more meaningful audit.”

            The County’s Fourteenth Self-Assessment assesses the County’s compliance
    using that revised methodology. It reflects that in the Fourth Quarter of 2021 at TTCF,
    “100% of inmates with High or Imminent Risk Level on their RAS [Risk Assessment for
    Suicide] were assessed by a QMHP pursuant to Measure 42-4(a).” “8% of relevant
    inmates received documentation reflecting that a QMHP determined on an individualized
    basis whether to implement step-down procedures.” Further, the single assessment that



                                               51
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 54 of 131 Page ID
                                  #:5233



    was deemed to require step-down procedures, “did in fact include the appropriate step-
    down procedures.” There were no responsive patient files at CRDF for the Fourth
    Quarter of 2021.

            In the First Quarter of 2022, at TTCF “100% of inmates with High or Imminent
    Risk Level on their RAS [Risk Assessment for Suicide] were assessed by a QMHP
    pursuant to Measure 42-4(a).” “4% of relevant inmates received documentation
    reflecting that a QMHP determined on an individualized basis whether to implement
    step-down procedures.” Further, the single assessment that was deemed to require step-
    down procedures, “did in fact include the appropriate step-down procedures.”

            At CRDF, there were only three responsive patient files in the First Quarter of
    2022. Of those files, “100% of inmates with High or Imminent Risk Level on their RAS
    [Risk Assessment for Suicide] were assessed by a QMHP pursuant to Measure 42-4(a).”
    “0% of relevant inmates received documentation reflecting that a QMHP determined on
    an individualized basis whether to implement step-down procedures.” “None of the
    relevant assessments indicated [that] step-down procedures were appropriate.”




                                               52
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 55 of 131 Page ID
                                  #:5234



           43.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement written policies for formal discipline of prisoners with serious
    mental illness incorporating the following:

           (a)     Prior to transfer, custody staff will consult with a QMHP to determine
                   whether assignment of a prisoner in mental health housing to disciplinary
                   housing is clinically contraindicated and whether placement in a higher
                   level of mental health housing is clinically indicated, and will thereafter
                   follow the QMHP’s recommendation;

           (b)     If a prisoner is receiving psychotropic medication and is placed in
                   disciplinary housing from an area other than mental health housing, a
                   QMHP will meet with that prisoner within 24 hours of such placement to
                   determine whether maintenance of the prisoner in such placement is
                   clinically contraindicated and whether transfer of the prisoner to mental
                   health housing is clinically appropriate, and custody staff will thereafter
                   follow the QMHP’s recommendation;

           (c)     A QMHP will participate in weekly walks, as specified in paragraph 38, in
                   disciplinary housing areas to observe prisoners in those areas and to
                   identify those prisoners with mental health needs; and

           (d)     Prior to a prisoner in mental health housing losing behavioral credits for
                   disciplinary reasons, the disciplinary decision-maker will receive and take
                   into consideration information from a QMHP regarding the prisoner’s
                   underlying mental illness, the potential effects of the discipline being
                   considered, and whether transfer of the prisoner to a higher level of mental
                   health housing is clinically indicated.




                                                53
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 56 of 131 Page ID
                                  #:5235



           STATUS (43):           SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017, through September 30, 2018 (verified) at NCCF
                                  and PDC North)

                                  NON-COMPLIANCE (at CRDF, MCJ, and
                                  TTCF)

            In response to comments by the Monitor and DOJ, the Department submitted
    proposed revisions to its discipline policies on May 30, 2017. After consulting with the
    Subject Matter Experts, the Monitor provided his written comments to the Department on
    June 29, 2017. DOJ provided its comments to the Department the same day. On April
    24, 2019, the Department submitted a proposed policy for discipline of mental health
    inmates, disabled inmates, and inmates with special needs. The Monitor and DOJ
    responded with written comments on May 30, 2019. On November 7, 2019, the
    Department submitted proposed policy revisions for inmate disciplinary procedures and
    disciplinary guidelines. The Monitor and DOJ responded on December 5 and 6, 2019,
    respectively. In the Twelfth Report, the County was rated as Non-Compliant with
    Provision 43 in the Twelfth Reporting Period at CRDF, MCJ, and TTCF as those policies
    “were never adopted by the Department in the subsequent two-and-a-half years.”

            Between August 17, 2021, and October 5, 2021, the County produced eight draft
    policies related to inmate discipline to the Monitor and DOJ. The DOJ provided
    comments on November 4, 2021, and the Monitor provided written feedback on
    November 7, 2021. In the Thirteenth Self-Assessment, the County reported that it was
    “working diligently to review any such comments for revision and hopefully adoption in
    Quarter 1, 2022.” Given this progress, and the Monitor’s overall assessments of the
    County’s compliance with this provision, the Monitor found that the Department was in
    Partial Compliance with Provision 43 for the Thirteenth Reporting Period. However, the
    Monitor instructed the County to “prioritize the finalization of these policies before the
    date of its next self-assessment.”

            Yet, during the Fourteenth Reporting Period, the County did not finalize these
    policies. Moreover, in its Fourteenth Self-Assessment, the County did not provide any
    explanation for its delay, instead simply repeating that the Department is still “working
    diligently” to finalize the policies.

            The Agreement explicitly requires the County to “develop and implement written
    policies for formal discipline of prisoners with serious mental illness,” “within six
    months of the [Agreement’s] Effective Date.” The polices are today, obviously, sorely
    overdue. The Monitor recognizes that Department personnel who are responsible for
    policy development are working extremely hard and have a difficult task of coordinating
    and incorporating feedback from various stakeholder entities, including the Monitor and
    DOJ. Indeed, the Monitor has often heard from personnel that they are understaffed and
    under-resourced for the volume of work that has been assigned to them. That does not
    excuse the lack of progress on finalizing the policies required by this provision. The
    County is again in Non-Compliance with Provision 43.



                                                54
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 57 of 131 Page ID
                                  #:5236




           The County previously achieved Substantial Compliance at NCCF and PDC
    North for twelve consecutive months and these facilities were not subject to monitoring
    for compliance with Paragraph 43 during the Fourteenth Reporting Period.




                                               55
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 58 of 131 Page ID
                                  #:5237



             44.    Within six months of the Effective Date, the County and the Sheriff will
    install protective barriers that do not prevent line-of-sight supervision on the second floor
    tier of all High Observation Housing areas to prevent prisoners from jumping off of the
    second floor tier. Within six months of the Effective Date, the County and the Sheriff
    will also develop a plan that identifies any other areas in mental health housing where
    such protective barriers should be installed.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016)

           The County has maintained Substantial Compliance with Paragraph 44 of the
    Agreement since January 1, 2016. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 44 in the Fourteenth Reporting Period.




                                                 56
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 59 of 131 Page ID
                                  #:5238



            45.      Consistent with existing Sheriff’s Department policies, the County and the
    Sheriff will provide both a Suicide Intervention Kit that contains an emergency cut-down
    tool and a first-aid kit in the control booth or officer’s station of each housing unit. All
    custody staff who have contact with prisoners will know the location of the Suicide
    Intervention Kit and first-aid kit and be trained to use their contents.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 (verified) at CRDF, NCCF, PDC
                           East, PDC South, and TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ and PDC North)

            The County maintained Substantial Compliance with Paragraph 45 for twelve
    consecutive months at all facilities as of December 31, 2016. Pursuant to Paragraph 111
    of the Settlement Agreement, the Department was not subject to monitoring for
    Substantial Compliance with Paragraph 45 in the Fourteenth Reporting Period.




                                                57
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 60 of 131 Page ID
                                  #:5239



           46.    The County and the Sheriff will immediately interrupt, and if necessary,
    provide appropriate aid to, any prisoner who threatens or exhibits self-injurious behavior.

            STATUS:          SUBSTANTIAL COMPLIANCE (as of July 1, 2020, through
                             June 30, 2021 (verified))

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to review the documentation from randomly
    selected incidents involving prisoners who threaten or exhibit self-injurious behavior, and
    include an assessment of the timeliness and appropriateness of the Department’s
    responses to these incidents in its semi-annual Self-Assessment.

            The County’s Thirteenth Self-Assessment reported that for the Second Quarter of
    2021, 95% of the records reviewed “reflected that appropriate aid and (when necessary)
    immediate interruption of self-injurious behavior was provided by the Department.” 15
    The County’s Augmented Thirteenth Self-Assessment reports that for the Third Quarter
    of 2021, 96% of the records reviewed “reflected that appropriate aid and (when
    necessary) immediate interruption of self-injurious behavior was provided by the
    Department.” These results have been verified by the Monitor’s auditors and the County
    is no longer subject to monitoring for Substantial Compliance with Paragraph 46.




    15
      The County notes that the Department expanded the number of cases beginning evaluated in this
    Provision in Third Quarter 2019 to include items from CIRCs, actual self-directed violence, and BOMHRs
    to address concerns raised by the Subject Matter Expert about the universe of cases being evaluated.


                                                      58
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 61 of 131 Page ID
                                  #:5240



             47.    The County and the Sheriff will ensure there are sufficient custodial,
    medical, and mental health staff at the Jails to fulfill the terms of this Agreement. Within
    six months of the Effective Date, and on a semi-annual basis thereafter, the County and
    the Sheriff will, in conjunction with the requirements of Paragraph 92 of this Agreement,
    provide to the Monitor and DOJ a report identifying the steps taken by the County and
    the Sheriff during the review period to implement the terms of this Agreement and any
    barriers to implementation, such as insufficient staffing levels at the Jails, if any. The
    County and the Sheriff will retain staffing records for two years to ensure that for any
    critical incident or non-compliance with this Agreement, the Monitor and DOJ can obtain
    those records to determine whether staffing levels were a factor in that critical incident
    and/or non-compliance.

            STATUS:           PARTIAL COMPLIANCE

             Under Provision 47 and its associated Compliance Measures, Substantial
    Compliance requires the County to: a) submit a self-assessment that: i) identifies the
    steps taken by the County and the Sheriff to implement the terms of the Agreement, and
    ii) assess whether staffing levels were a factor in any non-compliance with the
    Agreement, any Critical Incident, or the Department’s handling of the Critical Incident.
    Historically, the Monitor has assessed that the County has provided useful analysis of the
    role of staffing levels with respect to Critical Incidents (47-4(a)(ii)), but it has not
    adequately evaluated “whether staffing levels were a factor in any non-compliance with
    the Agreement” (47-4(a)(ii)).

            Regarding critical incidents, again, in the Fourteenth Reporting Period, the
    County’s posted results for Provision 47 reflect the County’s assessment of whether
    staffing levels were a factor in “any critical incident, or the Department’s handling of the
    incident,” as Compliance Measures 47-1 and 47-2 require. The County’s posted results
    report that 63 critical incidents 16 occurred during the Second Half of 2021, and the
    County’s conclusion that staffing was not a factor in any of those incidents.

            In the Eleventh Report, the Monitor emphasized the importance of Provision 47,
    specifically 47-4(a)(ii), to the County’s overall compliance efforts

            To help drive progress forward, the Monitor and SMEs must understand,
            and be able to describe for the Court, any barriers that have impeded
            compliance to date. Thankfully, the Agreement includes a specific
            provision that was designed to aid the Monitor in performing such an
            analysis. Paragraph 47 requires the County to ‘ensure there are sufficient
            custodial, medical, and mental health staff at the Jails to fulfill the terms of
            this Agreement.’ To help effectuate that promise, the County is required
            to ‘provide to the Monitor and DOJ a report identifying the steps taken by
            the County and the Sheriff during the review period to implement the


    16
      25 Inmate Deaths, 23 Serious Suicide Attempts, 11 Inmate Assaults on Staff, and 4 Category 3 Uses of
    Force.


                                                      59
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 62 of 131 Page ID
                                  #:5241



           terms of this Agreement and any barriers to implementation, such as
           insufficient staffing levels at the Jails, if any.’

           In a number of the Monitor’s meetings during the Eleventh Reporting
           Period, County and Department personnel have raised staffing deficits as a
           key obstacle to Substantial Compliance with various provisions in the
           Agreement. Yet in its Self-Assessments and associated documentation,
           the County has not provided the analysis of staffing deficits or other
           barriers to implementation that appears to be required by Paragraph 47.
           The Monitor views Paragraph 47 as essential to the County’s overall
           compliance effort. A detailed, data-driven assessment of ‘any barriers to
           implementation, such as insufficient staffing levels at the Jails, if any’
           would assist the Monitor and Subject Matter Experts in diagnosing any
           roadblocks to compliance, and allow the Parties to focus their collective
           efforts on addressing any identified gaps on a paragraph-by-paragraph
           basis. . . . The County and the Department should prioritize compliance
           with Paragraph 47 in the Twelfth Reporting Period.

            During the Fourteenth Reporting Period, the County provided staffing plans for
    both CHS and LASD, which describe each agency’s views of the staffing necessary to
    fully effectuate the Agreement. The CHS staffing analysis attempts to describe the
    “staffing needs for CHS to satisfy the provisions of the Settlement Agreement.” It
    identifies the number of positions for which CHS is budgeted and the number of positions
    filled within different job classifications. As of March 30, 2022, CHS was budgeted for
    292 positions with the most common being psychiatric social workers (117), clinical
    psychologists II (37), psychiatrists (37), medical case workers II (33), and MH clinical
    supervisors (30). Of that total number, only 173 positions were filled. Thus, according
    to CHS, “[w]ith the filled positions and the hires in progress CHS has 67.5% of their
    positions filled.”

            It also describes CHS’ expectations for the average number of clinical contacts
    each of its clinicians could be expected to complete per week. According to CHS, “[i]t is
    reasonable to assume that clinicians can be expected to complete 40 clinical encounters in
    a given 40-hour work week.” In arriving at this number, CHS indicated that it was
    “relying on its peers within the Mental Health Leadership of the NIC [National Institute
    of Corrections]. . . The ratios CHS developed were developed with the expectation that a
    clinician will have a mix of patients who are seen weekly and monthly, so that seeing 40
    patients per week would allow the County to comply with the frequency mandates, as
    well as the other requirements of the Settlement Agreement. . . . This 40 clinical
    encounters per week standard also takes into account the amount of time a clinician or
    psychiatrist spends directly addressing patient care, as opposed to time spent on other
    duties (i.e., documentation, training, travel between and within facilities).”

           Using the 40 clinical contacts per week standard, CHS then did simple arithmetic
    involving the number of male and female patients at each MHLOC (P1-P4) and the
    number of clinical contacts expected for patients at each MHLOC to determine the



                                               60
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 63 of 131 Page ID
                                  #:5242



    number of clinical positions required to meet that need. CHS determined that it “would
    require a minimum of 53 clinicians for the Men’s program [] and 11 clinicians for the
    Female program [] to meet the treatment requirements for individual clinical treatment.
    Current staffing allocations can address this need.”

            CHS does a similar analysis for psychiatric contacts and represents that
    psychiatrists, too, can complete “at least 40 clinical encounters per week.” Using similar
    math as for the clinicians, CHS determines that “[b]ased on the program needs, as well as
    additional psychiatry needs listed above, this requires a total of 39 psychiatry positions.
    Currently, there are 45 psychiatry positions (staff and supervisor) and one chief-
    physician-psychiatry position. There is a potential need for one additional position given
    the current population.”

           CHS performs a similar analysis for clinical staff within the IRC, CTC, JMET,
    Training & Policy staff, and Compliance personnel. In summary, CHS finds that

             there is a minimum need for 136 clinicians and 39 psychiatry providers.
             Current staffing allocations include 154 clinicians and 38 psychiatry
             providers. The challenge does not appear to be the staffing allocation as
             much as the ability of CHS to recruit and retain clinicians. Although we
             regularly hold and offer interviews, there has been a recent decrease in
             interested applicants for clinical positions. This is consistent with the fact
             that there is a national shortage of behavioral health care providers.

            This aggregate analysis is useful insofar as it goes. Yet there are several things it
    does not address. First, the relevant Compliance Measure requires the County to
    disaggregate its staffing data to analyze whether staffing levels were a factor in “any non-
    compliance with the Agreement.” That is, Provision 47 requires a more particularized
    evaluation of the role of any staffing deficits on the County’s compliance on a paragraph-
    by-paragraph basis. To achieve Substantial Compliance, the County will be required to
    specifically evaluate the role of any staffing deficits on any provisions that are not yet in
    Substantial Compliance. 17

            Second, the staffing ratios set forth in the CHS plan largely focus on the role of
    staffing deficits as an obstacle to having the number of mental health visits required
    under the quantitative thresholds in the Agreement. They do not sufficiently address the
    qualitative improvements to mental health care that are also required by the Agreement.
    There are several provisions discussed in this Report, for example, for which the County
    is meeting the quantitative thresholds in the Agreement, but failing to meet Dr. Johnson’s
    qualitative expectations. These barriers to compliance must also be explored through the
    County’s analyses under Provision 47.




    17
      While CHS included a short chart attempting to do this for certain provisions in its staffing plan, this
    analysis should address all provisions that are not yet in Substantial Compliance.


                                                          61
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 64 of 131 Page ID
                                  #:5243



            Third, the County has repeatedly noted that the population of inmates with mental
    illness has been steadily and consistently rising (“skyrocketing”) within the jails. 18 Based
    on data reviewed by the Monitor, 2022 has been no exception and the numbers have
    continued their steady rise, particularly in the P3 and P4 populations. CHS based its
    staffing analyses on population data as of October 2021; yet the numbers have already
    markedly increased since that time. Realistic evaluation of staffing deficits that are an
    obstacle to Substantial Compliance would rely upon projections of the rising population,
    and the staffing necessary to serve that expanding population, rather than static (and
    stale) population data.

             Fourth, Dr. Johnson is concerned about the formulas used by the County to
    determine that clinicians and psychiatrists can see 40 patients peer week given the unique
    circumstances in the jails. In any future staffing analyses provided under Provision 47,
    the County should more clearly set forth how these ratios account for travel between jail
    facilities, charting duties, training obligations, the varying amounts of time required for
    different kinds of clinical visits, any relief factor for sick and leave time, as well as any
    other variables that the County has considered.

             The LASD also provided a staffing analysis that indicates that the “Custody
    Division needs an additional 806 budgeted positions to support and achieve the
    requirements of the Agreement, as well as Custody Division’s other operations.”
    However, the methodology by which the Department arrived at this figure is not clear,
    nor is it apparent if the County endorses this projection. Pursuant to Compliance
    Measure 47-4(a)(ii), the County must include in its Self-Assessment its view of the role
    of staffing deficits in any non-compliance with the Agreement. It should do so regarding
    LASD staffing in the next Reporting Period.

             The Monitor commends the County for beginning to report information necessary
    for its compliance with Provision 47. The County should expand on this reporting and
    begin to incorporate it into its bi-annual Self-Assessments. These analyses should be
    dynamic and change as new staff are added. The County should also describe in each
    Self-Assessment the specific progress it has made at filling the many vacant positions
    that it has identified as essential to its compliance with the Agreement.




    18
      See, e.g., Joint Status Report on Unresolved Disagreements Regarding Implementation Plans, (ECF No.
    190) (“In the past 10 years, the number of inmates in the LACJ System who have been diagnosed with a
    mental illness has skyrocketed from 3,135 to 5,651 as of March 15, 2022, an increase of more than 80%.”)


                                                       62
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 65 of 131 Page ID
                                  #:5244



            48.     Within three months of the Effective Date, the County and the Sheriff will
    have written housekeeping, sanitation, and inspection plans to ensure the proper cleaning
    of, and trash collection and removal in, housing, shower, and medical areas, in
    accordance with California Code of Regulations (“CCR”) Title 15 § 1280: Facility
    Sanitation, Safety, and Maintenance.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016)

            The County maintained Substantial Compliance with Paragraph 48 of the
    Agreement at all facilities for twelve consecutive months as of December 31, 2016.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 48 in the Fourteenth Reporting
    Period.




                                                63
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 66 of 131 Page ID
                                  #:5245



            49.      Within three months of the Effective Date, the County and the Sheriff will
    have a maintenance plan to respond to routine and emergency maintenance needs,
    including ensuring that shower, toilet, sink, and lighting units, and heating, ventilation,
    and cooling system are adequately maintained and installed. The plan will also include
    steps to treat large mold infestations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of March 1, 2016,
                          through February 28, 2017)

            The County maintained Substantial Compliance with Paragraph 49 of the
    Agreement at all facilities for twelve consecutive months as of February 28, 2017.
    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 49 in the Fourteenth Reporting
    Period.




                                                64
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 67 of 131 Page ID
                                  #:5246



           50.     Consistent with existing Sheriff’s Department policies regarding control of
    vermin, the County and the Sheriff will provide pest control throughout the housing units,
    medical units, kitchen, and food storage areas.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) at all facilities other than
                          PDC South and PDC East)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                          March 31, 2017 (verified) at PDC South and PDC East)

            The County maintained Substantial Compliance with Paragraph 50 of the
    Agreement at all facilities for twelve consecutive months as of March 31, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 50 in the Fourteenth Reporting
    Period.




                                               65
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 68 of 131 Page ID
                                  #:5247



            51.    Consistent with existing Sheriff’s Department policies regarding personal
    care items and supplies for inmates, the County and the Sheriff will ensure that all
    prisoners have access to basic hygiene supplies, in accordance with CCR Title 15 § 1265:
    Issue of Personal Care Items.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                          through December 31, 2016 (verified) for all facilities other
                          than CRDF)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2016,
                          through June 30, 2017 (verified) at CRDF)

            The County maintained Substantial Compliance with Paragraph 51 of the
    Agreement at all facilities for twelve consecutive months as of June 30, 2017. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 51 in the Fourteenth Reporting
    Period.




                                               66
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 69 of 131 Page ID
                                  #:5248



             52.    The County and the Sheriff will implement policies governing property
    restrictions in High Observation Housing that provide:

            (a)      Except when transferred directly from FIP, upon initial placement in
                     HOH:

                     (i)      Suicide-resistant blankets, gowns, and mattresses will be provided
                              until the assessment set forth in section (a)(ii) below is conducted,
                              unless clinically contraindicated as determined and documented by
                              a QMHP.

                     (ii)     Within 24 hours, a QMHP will make recommendations regarding
                              allowable property based upon an individual clinical assessment.

            (b)      Property restrictions in HOH beyond 24 hours will be based on clinical
                     judgment and assessment by a QMHP as necessary to ensure the safety
                     and well-being of the prisoner and documented in the electronic medical
                     record.

            STATUS:           PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to (1) randomly inspect the cells
    of prisoners placed in HOH (except from FIP) within the previous 24 hours to confirm
    that they have been provided with suicide-resistant blankets, gowns and mattresses unless
    clinically contraindicated, and document the results of the inspection; (2) randomly
    inspect the cells of prisoners placed in HOH (except from FIP) for more than 24 hours to
    confirm that they have been provided with allowable property as recommended by a
    QMHP; and (3) review the electronic medical records of prisoners assigned to HOH on
    the days of those inspections to verify compliance with the provisions of Paragraph 52.
    All the Compliance Measures have a 95% threshold for Substantial Compliance.

             In its Fourteenth Self-Assessment, the County reports that in the Fourth Quarter
    of 2021, at CRDF “71%—rather than the required 95%—of the electronic medical
    records for inmates assigned to HOH reflected a recommendation by a QMHP regarding
    allowable property pursuant to Compliance Measure 52-5(c).” 19 Additionally, “50%—
    rather than the required 95%—of electronic medical records for inmates assigned to HOH
    reflect that property restrictions were based upon the clinical judgment of a QMHP
    pursuant to Compliance Measure 52-5(d).” The County also reported that “100%—more
    than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-5(e)
    had allowable property as recommended by a QMHP (unless refused by the inmate).”

    19
      The County indicated that with respect to 52-5(b), “all inmates temporarily placed in the HOH intake
    module (Module 1400) receive the same property until they are moved to permanent HOH housing where
    they receive the door signs and individually assessed property restrictions.” In the County’s Augmented
    Fourteenth Self-Assessment, it noted that in fact, “inmates receive uniform property upon being placed into
    HOH, rather than 1400 which is a temporary housing module.” The County did not report its compliance
    percentage for 52-5(b) at CRDF for the Fourth Quarter of 2021.


                                                        67
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 70 of 131 Page ID
                                  #:5249




             The County also reports that at TTCF in the Fourth Quarter of 2021, “91%—
    rather than the required 95%—of inmates analyzed pursuant to Compliance Measure 52-
    5(b) were provided suicide-resistant blankets, gowns and mattresses as required by this
    Provision.” “65%—rather than the required 95%—of the electronic medical records for
    inmates assigned to HOH reflected a recommendation by a QMHP regarding allowable
    property pursuant to Compliance Measure 52-5(c).” “81%—rather than the required
    95%—of electronic medical records for inmates assigned to HOH reflect that property
    restrictions were based upon the clinical judgment of a QMHP pursuant to Compliance
    Measure 52-5(d).” “94%—just short of the required 95%—of inmates analyzed pursuant
    to Compliance Measure 52-5(e) had allowable property as recommended by a QMHP
    (unless refused by the inmate).”

            The County’s Augmented Fourteenth Self-Assessment reports that at CRDF in the
    First Quarter of 2022, “100%—more than the required 95%—of inmates analyzed
    pursuant to Compliance Measure 52-5(b) were provided suicide-resistant blankets, gowns
    and mattresses as required by this Provision.” “73%—rather than the required 95%—of
    the electronic medical records for inmates assigned to HOH reflected a recommendation
    by a QMHP regarding allowable property pursuant to Compliance Measure 52-5(c).”
    “54%—rather than the required 95%—of electronic medical records for inmates assigned
    to HOH reflect that property restrictions were based upon the clinical judgment of a
    QMHP pursuant to Compliance Measure 52-5(d).” “95%—equal to the required 95%—
    of inmates analyzed pursuant to Compliance Measure 52-5(e) had allowable property as
    recommended by a QMHP (unless refused by the inmate).”

            The County reports that at TTCF in the First Quarter of 2022, “88%—rather than
    the required 95%—of inmates analyzed pursuant to Compliance Measure 52-5(b) were
    provided suicide-resistant blankets, gowns and mattresses as required by this Provision.”
    “64%—rather than the required 95%—of the electronic medical records for inmates
    assigned to HOH reflected a recommendation by a QMHP regarding allowable property
    pursuant to Compliance Measure 52-5(c).” “95%—equal to the required 95%—of
    electronic medical records for inmates assigned to HOH reflect that property restrictions
    were based upon the clinical judgment of a QMHP pursuant to Compliance Measure 52-
    5(d).” “96%—more than the required 95%—of inmates analyzed pursuant to
    Compliance Measure 52-5(e) had allowable property as recommended by a QMHP
    (unless refused by the inmate).”




                                               68
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 71 of 131 Page ID
                                  #:5250



            53.     If otherwise eligible for an education, work, or similar program, a
    prisoner’s mental health diagnosis or prescription for medication alone will not preclude
    that prisoner from participating in said programming.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the Department to audit the records of prisoners
    who were eligible, but rejected or disqualified, for education and work programs to
    confirm that they were not rejected or disqualified because of a mental health diagnosis
    or prescription for medication alone.

           The County’s Fourteenth Self-Assessment reports that 95% of the eligible
    mentally ill prisoners who were denied education or work in the Fourth Quarter of 2021
    and 72% in the First Quarter of 2022 “were not rejected or disqualified from education or
    work programs solely because of a mental health diagnosis or prescription for
    medication.”




                                                69
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 72 of 131 Page ID
                                  #:5251



            54.    Prisoners who are not in Mental Health Housing will not be denied
    privileges and programming based solely on their mental health status or prescription for
    psychotropic medication.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance under the revised Compliance Measures for Paragraph
    54, effective January 1, 2018, requires the Department to audit the records of a maximum
    of 100 randomly selected prisoners identified on the Wednesday Pharmacy List as having
    received psychotropic medication to confirm that no more than 10% were rejected or
    disqualified because of a mental health diagnosis or prescription for psychotropic
    medication alone. Because the Monitor’s auditors had verified that the County has
    maintained Substantial Compliance under the original Compliance Measures, the parties
    agreed that the County will only be required to maintain Substantial Compliance under
    the revised Compliance Measures for two additional quarters.

            The County’s Fourteenth Self-Assessment reports that in the Fourth Quarter of
    2021, 10% of inmates “were denied requests improperly for the purposes of this
    Provision.” It further reports that in the First Quarter of 2022, “50% of inmates were
    denied requests improperly for purposes of this Provision.” The County does not explain
    the substantial rise in the percentage of inmates improperly denied requests between the
    two quarters. The County should seek to determine the reason for this change so that it
    can be promptly corrected. If it persists, the County should explain the reasons why, and
    the steps it has taken to address it, in its next Self-Assessment.




                                               70
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 73 of 131 Page ID
                                  #:5252



            55.    Relevant custody, medical, and mental health staff in all High Observation
    Housing units will meet on normal business work days and such staff in all Moderate
    Observation Housing units will meet at least weekly to ensure coordination and
    communication regarding the needs of prisoners in mental health housing units as
    outlined in Custody Services Division Directive(s) regarding coordination of mental
    health treatment and housing. When a custody staff member is serving as a member of a
    treatment team, he or she is subject to the same confidentiality rules and regulations as
    any other member of the treatment team, and will be trained in those rules and
    regulations.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                          through September 30, 2017 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                          through March 31, 2018 (verified) at PDC North)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                          March 31, 2019 (verified) at MCJ)

                          SUBSTANTIAL COMPLIANCE (as of July 1, 2019, through
                          June 30, 2020 (verified) at TTCF)

            The Department maintained Substantial Compliance for twelve consecutive
    months at all facilities as of June 30, 2020. These results have now been verified by the
    Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the
    Department was not subject to monitoring for Substantial Compliance with Paragraph 55
    in the Fourteenth Reporting Period.




                                               71
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 74 of 131 Page ID
                                  #:5253



            56.     Consistent with existing DMH and Sheriff’s Department policies, the
    County and the Sheriff will ensure that custody, medical, and mental health staff
    communicate regarding any change in a prisoner’s housing assignment following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified))

            Substantial Compliance requires the Department to review in randomly selected
    periods the electronic medical records of (1) prisoners admitted to HOH following a
    suicide threat, gesture, or attempt, or other indication of an obvious and serious change in
    mental health condition to determine if the medical and/or mental health staff approved
    the placement of the prisoner in HOH; and (2) prisoners who were the subject of a suicide
    attempt notification to determine if the prisoners were clinically assessed and that clinical
    staff approved the post-incident housing.

            The County’s Substantial Compliance results for the twelve months from January
    1, 2016, through December 31, 2016, were verified by the Monitor’s auditors. Pursuant
    to Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring for Substantial Compliance with Paragraph 56 in the Fourteenth Reporting
    Period.




                                                 72
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 75 of 131 Page ID
                                  #:5254



            57 (Revised). Within three months of the Effective Date, the County and the
    Sheriff will revise and implement their policies on safety checks to ensure a range of
    supervision for prisoners housed in Mental Health Housing. The County and the Sheriff
    will ensure that safety checks in Mental Health Housing are completed and documented
    in accordance with policy and regulatory requirements as set forth below:

           (a)    Custody staff will conduct safety checks in a manner that allows staff to
                  view the prisoner to assure his or her well-being and security. Safety
                  checks involve visual observation and, if necessary to determine the
                  prisoner’s well-being, verbal interaction with the prisoner;

           (b)    Custody staff will document their checks in a format that does not have
                  pre-printed times;

           (c)    Custody staff will stagger checks to minimize prisoners’ ability to plan
                  around anticipated checks;

           (d)    Video surveillance may not be used to replace rounds and supervision by
                  custodial staff unless new construction is built specifically with constant
                  video surveillance enhancements and could only be used to replace the
                  required safety checks in non-FIP housing, subject to approval by the
                  Monitor;

           (e)    A QMHP, in coordination with custody (and medical staff if necessary),
                  will determine mental health housing assignments; and

           (f)    Supervision of prisoners in mental health housing will be conducted at the
                  following intervals:

                  (i)     FIP: Custody staff will perform safety checks every 15 minutes.
                          DMH staff will perform direct constant observation or one-to-one
                          observation when determined to be clinically appropriate;

                  (ii)    High Observation Housing: Every 15 minutes;

                  (iii)   Moderate Observation Housing: Every 30 minutes.




                                               73
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 76 of 131 Page ID
                                  #:5255



           STATUS (57):          SUBSTANTIAL COMPLIANCE (as of April 1, 2017,
                                 through March 31, 2018 (verified) at MCJ)

                                 SUBSTANTIAL COMPLIANCE (as of July 1, 2021,
                                 through March 31, 2022 (verified) at PDC North)

                                 PARTIAL COMPLIANCE (at CRDF)

                                 NON-COMPLIANCE (at TTCF)

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 57 (“Revised Paragraph 57”) as set
    forth above. The Parties also agreed on Revised Compliance Measures. Substantial
    Compliance requires the Department to audit the Title 15 Dashboard records (or e-UDAL
    records if the Title 15 scanner was not working) for all shifts for each module in each
    mental health housing unit in two randomly selected weeks to determine if the safety
    checks were staggered and conducted as required by Paragraph 57 of the Agreement, and
    to audit the housing records for each mental health housing unit for a randomly selected
    week to determine if QMHPs approved the new mental health housing assignments as
    required by Paragraph 57(e).

             The County’s Sixth Self-Assessment reported that it maintained Substantial
    Compliance with Compliance Measure 57-5(b) in the Fourth Quarter of 2017 and the
    First Quarter of 2018 in the MOH unit at MCJ (the “Hope Dorm”). It also reported that
    all of the inmates at MCJ “analyzed pursuant to Compliance Measure 57-5(c) had
    received QMHP approval for their housing assignments” in both quarters. The results
    were verified by the Monitor’s auditors and MCJ was not subject to monitoring for
    compliance with Paragraph 57 in the Fourteenth Reporting Period.

           The County’s Fourteenth Self-Assessment reports that 63% of the safety checks
    were in compliance with Compliance Measure 57-5(b) (safety checks in FIP) in the
    Fourth Quarter of 2021 at TTCF. It also reports that 49% of the safety checks were in
    compliance with Compliance Measure 57-5(c) (safety checks in HOH) at TTCF. The
    County also reports that 24% of the safety checks complied with Compliance Measure
    57-5(d) (safety checks in MOH) at TTCF. Further, 100% of the new mental health
    housing assignments at TTCF were approved by a QMHP in the Fourth Quarter of 2021.

           The County’s Fourteenth Self-Assessment also reports that 67% of the safety
    checks were in compliance with Compliance Measure 57-5(c) (safety checks in HOH) in
    the Fourth Quarter 2021 at CRDF. The County also reports that 55% of the safety checks
    complied with Compliance Measure 57-5(d) (safety checks in MOH) at CRDF. Further,
    100% and of the new mental health housing assignments at CRDF, were approved by a
    QMHP in the Fourth Quarter of 2021.

            The County’s Augmented Fourteenth Self-Assessment also reports that 56% of
    the safety checks were in compliance with Compliance Measure 57-5(c) (safety checks in



                                              74
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 77 of 131 Page ID
                                  #:5256



    HOH) in the First Quarter 2022 at CRDF. The County also reports that 60% of the safety
    checks complied with Compliance Measure 57-5(d) (safety checks in MOH) at CRDF.
    Further, 100% and of the new mental health housing assignments at CRDF were
    approved by a QMHP in the First Quarter of 2022.

            The County’s Augmented Fourteenth Self-Assessment also reports that 62% of
    the safety checks were in compliance with Compliance Measure 57-5(b) (safety checks in
    FIP) in the First Quarter of 2022 at TTCF. It also reports that 31% of the safety checks
    were in compliance with Compliance Measure 57-5(c) (safety checks in HOH) at TTCF.
    The County also reports that 16% of the safety checks complied with Compliance
    Measure 57-5(d) (safety checks in MOH) at TTCF. 98% and of the new mental health
    housing assignments at TTCF were approved by a QMHP in the Fourth Quarter of 2021.

            Regarding TTCF’s disappointing results, the County reports

            CCSB is actively working with TTCF on corrective actions to improve
            compliance in this regarding [sic]. To date, these measures include (i)
            WiFi box retrofitting, with approximately 90% of the boxes completed,
            (ii) CCSB briefings of TTCF Operations regarding the compliance
            shortcomings in this quarter. While the CAP is not completed yet,
            preliminary plans include potentially assigning a supervisor to track
            operational and non-operational equipment. CCSB will also be working
            with LASD CITU to generate a step by step cheater for Custody staff on
            how to fix non-operational scanners.

            These efforts may be promising, and the Monitor hopes that they result in
    improved performance by TTCF under this provision. Safety checks, however, are
    foundational to a jail’s safe operation and it is concerning that TTCF’s results are so low,
    particularly this far into the County’s compliance with the Agreement. TTCF is Non-
    Compliant for the Fourteenth Reporting Period.

            The County’s Augmented Fourteenth Self-Assessment also reports that 96% of
    the safety checks at PDC North were in compliance with Compliance Measure 57-5(d) in
    the Fourth Quarter of 2021 and First Quarter of 2022. 20 These results have been verified
    by the Monitor’s auditors.




    20
      The County has indicated that patients assigned to mental health housing at PDC North first have their
    housing assignments approved by a QMHP at either TTCF or MCJ, which is why results are not separately
    reported for PDC North for Compliance Measure 57-5(e). PDC North also does not have HOH housing
    (57-5(c)) or a FIP (57-5(b)) hence the lack of results for those compliance measures.


                                                      75
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 78 of 131 Page ID
                                  #:5257



            58.     Within three months of the Effective Date, the County and the Sheriff will
    revise and implement their policies on safety checks. The County and the Sheriff will
    ensure that safety checks in non-mental health housing units are completed and
    documented in accordance with policy and regulatory requirements as set forth below:

           (a)     At least every 30 minutes in housing areas with cells;

           (b)     At least every 30 minutes in dormitory-style housing units where the unit
                   does not provide for unobstructed direct supervision of prisoners from a
                   security control room;

           (c)     Where a dormitory-style housing unit does provide for unobstructed direct
                   supervision of prisoners, safety checks must be completed inside the unit
                   at least every 60 minutes;

           (d)     At least every 60 minutes in designated minimum security dormitory
                   housing at PDC South, or other similar campus-style unlocked dormitory
                   housing;

           (e)     Custody staff will conduct safety checks in a manner that allows staff to
                   view the prisoner to assure his or her well-being and security. Safety
                   checks involve visual observation and, if necessary to determine the
                   prisoner’s well-being, verbal interaction with the prisoner;

           (f)     Custody staff will document their checks in a format that does not have
                   pre-printed times;

           (g)     Custody staff will stagger checks to minimize prisoners’ ability to plan
                   around anticipated checks; and

           (h)     Video surveillance may not be used to replace rounds and supervision by
                   custodial staff.




                                                76
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 79 of 131 Page ID
                                  #:5258



           STATUS (58):          SUBSTANTIAL COMPLIANCE (as of January 1,
                                 2016, through December 31, 2016 (verified) at PDC
                                 South, PDC North, and PDC East)

                                 SUBSTANTIAL COMPLIANCE ( as of July 1, 2017,
                                 through June 30, 2018 (verified) at CRDF)

                                 SUBSTANTIAL COMPLIANCE (as of October 1,
                                 2017, through September 30, 2018 (verified) at IRC)

                                 SUBSTANTIAL COMPLIANCE (as of April 1, 2021,
                                 through September 30, 2021 (verified), and through
                                 March 31, 2022 (unverified) at NCCF)

                                 PARTIAL COMPLIANCE (at TTCF and MCJ)

           Substantial Compliance requires the Department to audit the Title 15 Dashboard
    records (or e-UDAL records) for all shifts for each module in each housing unit to
    determine if the safety checks were staggered and conducted as required by Paragraph 58.
    The threshold for achieving Substantial Compliance with each of the Compliance
    Measures is 90%.

           The County maintained Substantial Compliance with Paragraph 58 for twelve
    consecutive months at PDC South, PDC North, and PDC East as of December 31, 2016,
    at CRDF as of June 30, 2018, and at IRC as of September 30, 2018. These results have
    been verified by the Monitor’s auditors. Pursuant to Paragraph 111 of the Settlement
    Agreement, the County was not subject to monitoring at those facilities for Substantial
    Compliance with Paragraph 58 in the Fourteenth Reporting Period.

           The County’s Augmented Fourteenth Self-Assessment reports that for the Fourth
    Quarter of 2021 and the First Quarter of 2022 the following percentages of safety checks
    were in compliance with Paragraph 58 at TTCF: 73% and 66%, at MCJ: 70% and 46%,
    and at NCCF: 92% and 90%. These results are subject to verification by the Monitor’s
    auditors.




                                               77
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 80 of 131 Page ID
                                  #:5259



            59.     Consistent with existing Sheriff’s Department policies regarding uniform
    daily activity logs, the County and the Sheriff will ensure that a custodial supervisor
    conducts unannounced daily rounds on each shift in the prisoner housing units to ensure
    custodial staff conduct necessary safety checks and document their rounds.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                          through December 31, 2017 (verified) at PDC East and MCJ)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                          March 31, 2018 (verified) at NCCF)

                          SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                          through September 30, 2018 (verified) at CRDF)

                          SUBSTANTIAL COMPLIANCE (as of January 1, 2018,
                          through December 31, 2018 (verified) at PDC North and PDC
                          South)

                          SUBSTANTIAL COMPLIANCE (as of April 1, 2018,
                          through March 31, 2019 (verified) at TTCF)

            Substantial Compliance requires the Department to audit e-UDAL records for
    housing units in each facility to determine if supervisors are conducting unannounced
    daily rounds in accordance with Paragraph 59. In response to the Monitor’s comments,
    the Department’s e-UDAL forms were modified to include a specific notation that the
    Supervisor verified that the safety checks were conducted. The threshold for achieving
    and maintaining Substantial Compliance is that 90% of the supervisor daily rounds were
    in compliance with the requirements of Paragraph 59.

           The County’s Substantial Compliance results were verified by the Monitor’s
    auditors. Pursuant to Paragraph 111 of the Settlement Agreement, the Department was
    not subject to monitoring for Substantial Compliance with Paragraph 59 in the Fourteenth
    Reporting Period.




                                               78
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 81 of 131 Page ID
                                  #:5260



            60.      Within six months of the Effective Date, the Department of Mental
    Health, in cooperation with the Sheriff’s Unit described in Paragraph 77 of this
    Agreement, will implement a quality improvement program to identify and address
    clinical issues that place prisoners at significant risk of suicide or self-injurious behavior.

            STATUS:          SUBSTANTIAL COMPLIANCE (as of April 1, 2019
                             through March 31, 2020)

            Paragraph 60 requires the County to “implement a quality improvement program
    to identify and address clinical issues that place prisoners at significant risk of suicide or
    self-injurious behavior.” The Compliance Measures for Paragraph 60 require the County
    to “identify and address. . .clinical issues” in the areas identified in Paragraph 61 of the
    Agreement” and corrective actions are taken to address “such issues.” See Compliance
    Measures 60.1, 60.2(a), and 60.3(b).

           The Monitor and the Mental Health Subject Matter previously agreed that the
    Department had demonstrated “a sound quality improvement process and the ability to
    demonstrate that process through specific quality improvement projects directed by
    management,” and the Monitor finds that the County had demonstrated that it maintained
    Substantial Compliance with Paragraph 60. Pursuant to Paragraph 111 of the Settlement
    Agreement, the Department was not subject to monitoring for Substantial Compliance
    with Paragraph 60 in the Fourteenth Reporting Period. 21




     The County has acknowledged that its ongoing Quality Improvement efforts will remain subject to
    21

    monitoring under other provisions of the Settlement Agreement.


                                                     79
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 82 of 131 Page ID
                                  #:5261




            61.    The quality improvement program will review, collect, and aggregate data
    in the following areas and recommend corrective actions and systemic improvements:

           (a)    Suicides and serious suicide attempts:

                  (i)     Prior suicide attempts or other serious self-injurious behavior
                  (ii)    Locations
                  (iii)   Method
                  (iv)    Lethality
                  (v)     Demographic information
                  (vi)    Proximity to court date;

           (b)    Use of clinical restraints;

           (c)    Psychotropic medications;

           (d)    Access to care, timeliness of service, and utilization of the Forensic In-
                  patient Unit; and

           (e)    Elements of documentation and use of medical records.

           STATUS:        PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual reports to (a) review,
    collect, and aggregate data in the areas set forth in Paragraph 61; (b) recommend
    corrective actions and systemic improvements in those areas; and (c) assess the
    effectiveness of actions and improvements in prior reporting periods.

            On July 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 4 2021 & Quarter 1 2022
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, and 77.
    The Combined Suicide Prevention Report sets forth aggregate data for the 30 suicides
    that occurred between 2015 and the end of the First Quarter of 2022, and 154 critical
    incidents that occurred between 2016 and the end of the First Quarter of 2022, broken
    down by the subparts of Paragraph 61(a). The report also includes case-specific
    discussions of the two suicides that occurred during the Fourth Quarter of 2021 and First
    Quarter of 2022 at county jail facilities.

           The Monitor analyzed the County’s Combined Suicide Prevention Report in
    consultation with Drs. Johnson, Vess, and Eargle. Our view is that the Department has
    continued to make progress in its Quality Improvement efforts. The Combined Suicide
    Prevention Report collects much of the data required by this provision and includes some
    analysis and interpretation of that data.




                                                80
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 83 of 131 Page ID
                                  #:5262



            The Combined Suicide Prevention Report includes various descriptive statistics
    about suicides in the Department, including aggregate data on methods, inmate
    demographics, and incident-specific characteristics, such as proximity to court dates,
    inmate charges, security and mental health levels, and use of psychotropic medications.
    The report also discuses corrective actions taken as a result of specific suicides, including
    strategies to reduce inmate overdose.

            The report also includes a rich and useful discussion of recent suicides by
    hanging. The Department has correctly observed that hanging continues to be the most
    frequent, and most lethal, method of completing suicide in the County jails. In reliance
    on that data, the Department endeavored to identify the most frequently used ligature
    points, and then to mitigate them Department-wide. This has included modifying sinks,
    telephones, and light fixtures, removing bolts inside cells, changing the allowable
    property provided to inmates in certain mental health housing, and modifying the shirts
    provided to inmates and the bunks they sleep on to render them less useful for suicide.

            This is precisely the kind of project contemplated by Compliance Measure 61-
    3(b), which requires the Department to “recommend corrective actions and systemic
    improvements” based upon its analysis of aggregated data about inmate suicide. The
    Monitor recommends that the County build upon these projects by diving deeper into its
    data to answer other questions about inmate self-directed violence and suicide. For
    example, the data reflect that Hispanic males engage in a disproportionate number of acts
    of self-directed violence. Does the Department have theories about why or what
    interventions could help to mitigate these risks? Similarly, the increase in the number of
    SDV events at IRC in 2021 and 2022 is alarming. Between 2016 and 2020, there were an
    average of 16 SDV incidents in IRC each year. In 2021, there were 77 such incidents, a
    381% increase. Has the Department sought to understand why and how this number can
    be reduced?

            This is not an exhaustive list of questions. These are examples of the kinds of
    inquiries the Department should be engaging in with its data in order to Substantially
    Comply with this provision. The County reports that it continues to be unable to hire the
    data analyst required to complete this work. The Monitor continues to believe that filling
    this position is essential to the County’s efforts to comply with this provision.

           The DOJ also points to the need for the County to provide baseline data in
    connection with its analyses under Provisions 61, 62, and 77

           For example, the County presents a chart showing the number of suicides
           that occurred between 2015 and 2022 in different types of housing,
           including medical housing, general population, administrative segregation,
           MOH, and HOH. However, the chart does not control for the proportion
           of individuals who live or have lived in each of these types of housing. If
           the County included such data, it would be able to determine if certain
           housing types were actually associated with higher suicide risk.




                                                 81
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 84 of 131 Page ID
                                  #:5263



           The Monitor agrees. To enhance the utility of the aggregate data
    presented in the report, the County should include baseline population data, where
    possible.




                                               82
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 85 of 131 Page ID
                                  #:5264



          62.    The County and the Sheriff’s Unit described in Paragraph 77 of this
    Agreement will develop, implement, and track corrective action plans addressing
    recommendations of the quality improvement program.

           STATUS:         PARTIAL COMPLIANCE

            Substantial Compliance requires the County’s semi-annual Self-Assessments to
    set forth (a) the “development of corrective action plans to address the most recent
    recommendations of the quality improvement program;” and (b) the “implementation and
    tracking of corrective action plans to address recommendations of the program in prior
    quarters.”

            On July 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 4 2021 & Quarter 1 2022
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, and 77.
    The Combined Suicide Prevention Report sets forth aggregate data for the 30 suicides
    that occurred between 2015 and the end of the First Quarter of 2022, and 154 critical
    incidents that occurred between 2016 and the end of the First Quarter of 2022. The
    report also includes case-specific discussions of the two suicides that occurred during the
    Fourth Quarter of 2021 and First Quarter of 2022 at county jail facilities.

            The County has made significant progress in its development, implementation
    and, to some extent, tracking of corrective action plans (“CAPS”). As set forth above,
    the Combined Suicide Prevention Report lays out a series of corrective actions flowing
    from the County’s quality improvement program to mitigate the risks of self-harm in the
    jails.

            Quality improvement programs are dynamic and continuous in nature, and the
    data generated from the implementation of corrective actions should be fed back into the
    quality improvement system to be used to shift strategy or try new interventions, as
    needed, with the goal of continual progress toward program goals. The tracking of
    corrective action plans, including their impacts, is a key QI element, and allows programs
    to meaningfully assess the impacts of corrective actions and determine whether or not
    additional interventions are necessary. Provision 62 requires the County to “develop,
    implement, and track” its corrective action plans in order to facilitate continual
    improvement.

            While the Combined Suicide Prevention Report lays out various corrective
    actions taken by the County, it does not yet sufficiently articulate the actual impacts of
    these CAPS in the jails, what gaps are determined to still exist, nor identify a systematic
    approach to tracking the CAPS generated during prior years. The County has made
    significant progress on Provision 62 and with additional attention, should be able to
    expeditiously achieve Substantial Compliance.




                                                 83
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 86 of 131 Page ID
                                  #:5265



            63.      The County and the Sheriff will maintain adequate High Observation
    Housing and Moderate Observation Housing sufficient to meet the needs of the jail
    population with mental illness, as assessed by the County and the Sheriff on an ongoing
    basis. The County will continue its practice of placing prisoners with mental illness in
    the least restrictive setting consistent with their clinical needs.

           STATUS:        PARTIAL COMPLIANCE (at TTCF & CRDF)

           The Parties agreed on Revised Compliance Measures in 2021. The Revised
    Compliance Measures require that 90% of inmates waited for permanent HOH and MOH
    housing for no more than 7 days, and that 100% of inmates waited for permanent HOH
    and MOH housing for no more than 30 days.

            The County’s Fourteenth Self-Assessment includes results for the Fourth Quarter
    of 2021 under the Revised Compliance Measures. It reports that in the relevant weeks,
    “53% of inmates at TTCF waited fewer than 7 days for permanent mental health
    housing.” The County further reported that 97% of inmates received permanent mental
    health housing within 30 days. At CRDF, “47% of inmates at CRDF waited fewer than 7
    days for permanent mental health housing.” Further 100% of inmates received
    permanent mental health housing within 30 days.

            The County’s Fourteenth Self-Assessment reports that in the First Quarter of
    2022, “42% of inmates at TTCF waited fewer than 7 days for permanent mental health
    housing.” The County further reported that 94% of inmates received permanent mental
    health housing within 30 days. At CRDF, “51% of inmates at CRDF waited fewer than 7
    days for permanent mental health housing.” The County further reported that 100% of
    inmates received permanent mental health housing within 30 days.

            Given the percentages reported by the County and the thresholds in the Revised
    Compliance Measures, the Monitor finds the County to be in Partial Compliance with
    Provision 63 for the Fourteenth Reporting Period. However, the number of inmates with
    prolonged waits for mental health housing is still unacceptably high—and it has
    substantial human costs. The County must improve these numbers in the next Reporting
    Period.




                                               84
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 87 of 131 Page ID
                                  #:5266



            64.     Within six months of the Effective Date, the County and the Sheriff will
    develop a short-term plan addressing the following 12-month period, and within 12
    months of the Effective Date, the County and the Sheriff will develop a long-term plan
    addressing the following five-year period, to reasonably ensure the availability of
    licensed inpatient mental health care for prisoners in the Jails. The County and the
    Sheriff will begin implementation of each plan within 90 days of plan completion. These
    plans will describe the projected capacity required, strategies that will be used to obtain
    additional capacity if it is needed, and identify the resources necessary for
    implementation. Thereafter, the County and the Sheriff will review, and if necessary
    revise, these plans every 12 months.

           STATUS:         NON-COMPLIANCE

            The parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to develop a long-term plan that will address the
    availability of licensed inpatient mental health care for prisoners in the following five-
    year period; and provide an annual report describing the long-term plan and the steps
    taken to implement it, which must be deemed reasonable by the Monitor.

            The County’s Augmented Fourteenth Self-Assessment does not describe with
    specificity efforts by the County to “reasonably ensure the availability of licensed
    inpatient mental health care for prisoners in the Jails.” The County is therefore again
    Non-Compliant with Provision 64 for the Fourteenth Reporting Period.




                                                 85
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 88 of 131 Page ID
                                  #:5267



           65 (Revised). Consistent with existing Sheriff’s Department policies, the County
    and the Sheriff will ensure that psychotropic medications are administered in a clinically
    appropriate manner to prevent misuse, hoarding, and overdose. The County will
    maintain electronic mental health alerts in prisoners’ electronic medical records that
    notify medical and mental health staff of a prisoner’s risk for hoarding medications.

           STATUS:        PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 65 (“Revised Paragraph 65”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, (1) the County’s Self-Assessments must set forth the (a) results of
    weekly medication audits documenting the visual observation of the administration of
    medication during the quarter; (b) unauthorized medications found as a result of cell
    searches during the reporting period; and (c) incidents involving confirmed prescription
    drug overdoses. Further, “the Monitor must conclude, after consulting with the Subject
    Matter Expert, that “psychotropic medications have been administered in a clinically
    appropriate manner 85% of the time.” Finally, “85% of the electronic medical records
    [must] contain the required alerts.”

             The County’s posted documents for the Fourth Quarter of 2021 again indicate that
    it has “temporarily paused reporting for 65-1(a) in order to establish a more consistent
    and clinically appropriate process.” These audits have now been paused for multiple
    reporting periods. The County also posted records indicating positive results from a
    “mini self-assessment of the weekly results of medication administration audits from
    TTCF for the month of March.” The County should build upon these positive results and
    begin again reporting on medication administration audits at each of the facilities in the
    next Reporting Period.

           The County’s posted results reflect that the following unannounced searches were
    conducted in the Fourth Quarter of 2021: CRDF (86), TTCF (47), MCJ (110), NCCF
    (1,135), PDC North (90), and PDC South (170). During these searches, the following
    medications and needles/syringes were found “that did not appear to be appropriately
    possessed by inmates”: CRDF (40 medications), TTCF (46 medications), MCJ (6
    medications), NCCF (20 medications and 4 inhalers), PDC North (50 medications), and
    PDC South (no medications). The County also reported 5 confirmed overdoses and 2
    unconfirmed in the Fourth Quarter of 2021.

            The County’s posted results reflect that the following unannounced searches were
    conducted in the First Quarter of 2022: CRDF (147), TTCF (82), MCJ (157), NCCF
    (997), PDC North (98), and PDC South (211). During these searches, the following
    medications and needles/syringes were found “that did not appear to be appropriately
    possessed by inmates”: CRDF (62 medications), TTCF (96 medications), MCJ (116
    medications), NCCF (7 medications), PDC North (9 medications), and PDC South (0
    medications). The County also reported 2 confirmed overdoses and 5 unconfirmed in the
    First Quarter of 2022.



                                                86
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 89 of 131 Page ID
                                  #:5268



             There are many reasons for conducting unannounced jail searches including but
    not limited to finding and removing contraband items, deterring future attempts to
    improperly introduce or possess contraband, seizing potential weapons, reducing drug-
    seeking behavior, and minimizing underground jail economies that often run on
    contraband exchange. Thus, the rate at which unauthorized medication is recovered is an
    imperfect measure of whether unannounced searches have achieved their goals. With
    that said, the Monitor notes the significant disparity in unauthorized medication recovery
    rates for various jails that are subject to this Agreement. For example, at TTCF, the
    facility that houses male inmates with the most serious mental illness, only 47
    unannounced searches were conducted in the Fourth Quarter of 2021. Notwithstanding
    this low number of searches, 46 medications were recovered at TTCF for a recovery rate
    of nearly 100%. Similarly, in the First Quarter of 2022, there were 82 unannounced
    searched within TTCF, which resulted in the recovery of 96 medications, a recovery rate
    of 117%.

            In contrast, at NCCF, there were 1,135 unannounced searches conducted in the
    Fourth Quarter of 2021, which resulted in the seizure of 20 medications and 4 inhalers,
    for a recovery rate of 2%. Similarly, in the First Quarter of 2022, at NCCF, there were
    997 unannounced searches conducted that resulted in the seizure of 7 medications, a
    recovery rate of 1%. The medication recovery rates for the Fourteenth Reporting Period
    are represented below:

         Figure 2: Percentage of Unannounced Searches that Resulted in the Seizure of
                            Unauthorized Medications, by Facility




                                                87
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 90 of 131 Page ID
                                  #:5269




            Given the focus of this provision—preventing the hoarding and misuse of
    medications—the Monitor recommends that the County evaluate whether it is
    conducting a sufficient number of unannounced searches at each facility,
    particularly those facilities, like TTCF, CRDF, MCJ, and PDC North, at which
    searches usually result in the seizure of unauthorized medications.

           Regarding hoarding alerts in electronic medical records, the County’s
    posted documents indicate 76% compliance in the Fourth Quarter of 2021 and
    66% in the First Quarter of 2022. 22




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      During the Fourteenth Reporting Period, the County worked to revise its policies on hoarding alerts with
    feedback from the DOJ and the Monitor. These policies should be finalized by the County in the next
    Reporting Period in order to bring the County closer to Substantial Compliance with Provision 65.


                                                        88
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 91 of 131 Page ID
                                  #:5270



            66 (Revised). Consistent with existing Correctional Health Services policies,
    prisoners with a serious mental illness who reside outside of mental health housing, will
    remain on an active mental health caseload regardless of whether they refuse
    medications. The County and the Sheriff will provide prisoners with a serious mental
    illness who reside outside of mental health housing with therapeutically appropriate
    individual monthly visits with a QMHP whether or not the prisoners are receiving or
    refusing psychotropic medications. The County and the Sheriff will provide medication
    support services to prisoners who (i) have a mental illness, (ii) reside outside of mental
    health housing and (iii) are prescribed psychotropic medications.

           STATUS:          PARTIAL COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 66 (“Revised Paragraph 66”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires that a) 85% of prisoners with a
    serious mental illness who resided outside of mental health housing were on an active
    mental health caseload; b) 85% of prisoners with a serious mental illness who resided
    outside of mental health housing are offered therapeutically appropriate structured mental
    health treatment and are seen by a QMHP at least once a month; and c) 85% of prisoners
    who resided outside of mental health housing and were prescribed psychotropic
    medications were offered medication support services.

            The County’s posted results for Compliance Measures 66-5(a) and 66-5(b)
    indicate that the County only evaluated two patients for the Fourth Quarter of 2021 and
    three patients for the First Quarter of 2022. The Monitor reiterates that the County
    should clarify the methodology it is using to identify this universe of patients in its next
    Self-Assessment.

             The County’s Fourteenth Self-Assessment indicates that for Compliance Measure
    66-5(a), for the Fourth Quarter of 2021, 100% of patients “with serious mental illness
    residing outside of mental health housing were on an active mental health caseload,”
    which exceeds the 85% threshold. For Compliance Measure 66-5(b), 100% of patients
    “with a serious mental illness who reside outside of mental health housing were offered
    therapeutically appropriate structured mental health treatment and were seen by a QMHP
    at least once a month,” which also exceeds the 85% threshold. Regarding Compliance
    Measure 66-5(c), 38% of patients “residing outside of mental health housing who were
    prescribed psychotropic medications during the randomly selected week were offered
    medication support services.” This is lower than the 85% threshold.

            The County’s Fourteenth Self-Assessment reports that for Compliance Measure
    66-5(a), for the First Quarter of 2022, 66% of patients “with serious mental illness
    residing outside of mental health housing were on an active mental health caseload.” For
    Compliance Measure 66-5(b), 66% of patients “with a serious mental illness who reside
    outside of mental health housing were offered therapeutically appropriate structured
    mental health treatment and were seen by a QMHP at least once a month.” Regarding



                                                 89
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 92 of 131 Page ID
                                  #:5271



    Compliance Measure 66-5(c), 26% of patients “residing outside of mental health housing
    who were prescribed psychotropic medications during the randomly selected week were
    offered medication support services.”

            The Monitor’s mental health team reviewed the files for a universe of nine
    patients identified by the County as having serious mental illness but residing outside of
    mental health housing that were evaluated by the County in connection with Compliance
    Measures 66-5(a) and 66-5(b) for the Fourth Quarter of 2021 and First Quarter of 2022.
    The Team noted that “none of the patients had a specific, individualized treatment plan
    and none were provided treatment that would qualify as structured and ‘therapeutically
    appropriate.”

            The County continues to report “significant staffing challenges in the area of
    psychiatry which have required the County to focus on higher acuity patients in mental
    health housing. The County is actively exploring solutions to these staffing needs.”
    While the Monitor finds that the County has Partially Complied with Provision 66 for the
    Fourteenth Reporting Period, its results must improve, or it risks being found Non-
    Compliant in future Reporting Periods.




                                                90
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 93 of 131 Page ID
                                  #:5272



          67.     Within three months of the Effective Date, the County and the Sheriff will
    implement policies for prisoners housed in High Observation Housing and Moderate
    Observation Housing that require:

             (a)      documentation of a prisoner’s refusal of psychotropic medication in the
                      prisoner’s electronic medical record;

             (b)      discussion of a prisoner’s refusal in treatment team meetings;

             (c)      the use of clinically appropriate interventions with such prisoners to
                      encourage medication compliance;

             (d)      consideration of the need to transfer non-compliant prisoners to higher
                      levels of mental health housing; and

             (e)      individualized consideration of the appropriateness of seeking court orders
                      for involuntary medication pursuant to the provisions of California
                      Welfare and Institutions Code sections 5332-5336 and/or California Penal
                      Code section 2603(a).

             STATUS:           PARTIAL COMPLIANCE

            Substantial Compliance requires the County to “review the electronic medical
    records of 25% of the prisoners in HOH and MOH who refused psychotropic medication
    during the quarter to verify that the records [of 85% of the prisoners] reflect the
    documentation and consideration of the matters required by the terms of Paragraph 67.”

           The County’s posted results reflect that in the Fourth Quarter of 2021, 80% of the
    records of prisoners who refused psychotropic medication “reflected the documentation
    and consideration of the matters required by Paragraph 67.” For the First Quarter of
    2022, the County’s posted results reflected 69% compliance. 23




    23
       In response to a draft of this Report, the DOJ raised several methodological concerns about the County’s
    approach to auditing its records under Provision 67. The Monitor believes that some of these concerns are
    valid. In certain cases, the County has marked as compliant records that are indeterminate on their face
    about whether or not the clinician considered the matters required by 67(a)-(e). In other cases, the records
    appear to reflect no documented consideration by the clinician, but they were marked as compliant anyway.
    If the County believes that the matters set forth in Provision 67(a)-(e) need not apply to every patient,
    depending on their level of care, it should seek to meet with the Monitor and DOJ, rather than adjusting its
    auditing methodology in a manner that is not consistent with the Provision’s plain language.


                                                        91
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 94 of 131 Page ID
                                  #:5273



            68.      Within six months of the Effective Date, the County and the Sheriff will
    develop and implement a procedure for contraband searches on a regular, but staggered
    basis in all housing units. High Observation Housing cells will be visually inspected
    prior to initial housing of inmates with mental health issues.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of January 1, 2016,
                           through December 31, 2016 (verified) at MCJ, NCCF,
                           PDC East, PDC South, and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2017,
                           through December 31, 2017 (verified) at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of January 1, 2022,
                           through March 31, 2022 (unverified) at CRDF)

           Substantial Compliance requires that “85% of the housing units are searched for
    contraband at least once in the previous quarter; and 95% of the HOH units visually
    inspected prior to housing prisoners in these units.” Self-Assessments are to include a
    summary of searches conducted and a review of 25 randomly selected Checklist forms
    for HOH units to confirm that the units were visually inspected prior to initial housing of
    prisoners in these units.

           The County previously maintained Substantial Compliance for twelve consecutive
    months at TTCF, MCJ, NCCF, PDC East, PDC South, and PDC North. Pursuant to
    Paragraph 111 of the Settlement Agreement, the Department was not subject to
    monitoring at those facilities for Substantial Compliance with Paragraph 68 in the
    Fourteenth Reporting Period.

            The County had previously reported that the Department had ceased certain
    module searches during the COVID-19 pandemic. In its posted results for the Fourth
    Quarter of 2021, the County reports that module searches resumed at CRDF on October
    14, 2021. The County’s posted results reflect that in the Fourth Quarter of 2021, 76% of
    the housing units at CRDF were searched at least once in the quarter, and 96% of the
    randomly selected HOH cells at CRDF were visually inspected before housing prisoners
    in these units. During the First Quarter of 2022, 96% of the housing units at CRDF were
    searched at least once in the quarter, and 96% of the randomly selected HOH cells at
    CRDF were visually inspected before housing prisoners in these units. These results are
    subject to verification by the Monitor’s auditors.




                                                92
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 95 of 131 Page ID
                                  #:5274



            69.     Consistent with existing DMH policies regarding use of clinical restraints,
    the County and the Sheriff will use clinical restraints only in the Correctional Treatment
    Center and only with the approval of a licensed psychiatrist who has performed an
    individualized assessment and an appropriate Forensic Inpatient order. Use of clinical
    restraints in CTC will be documented in the prisoner’s electronic medical record. The
    documentation will include the basis for and duration of the use of clinical restraints and
    the performance and results of the medical welfare checks on restrained prisoners. When
    applying clinical restraints, custody staff will ensure a QMHP is present to document and
    monitor the condition of the prisoner being placed in clinical restraints.

            STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2018,
                            through June 30, 2019 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the restraints were used,
    approved, and documented, and that the results of medical welfare checks on restrained
    prisoners were also documented.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring at those facilities for Substantial Compliance with Paragraph 69 in
    the Fourteenth Reporting Period.




                                                  93
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 96 of 131 Page ID
                                  #:5275



           70.     Within three months of the Effective Date, the County and the Sheriff will
    have policies and procedures regarding the use of Security Restraints in HOH and MOH.
    Such policies will provide that:

             (a)      Security Restraints in these areas will not be used as an alternative to
                      mental health treatment and will be used only when necessary to insure
                      safety;

             (b)      Security Restraints will not be used to punish prisoners, but will be used
                      only when there is a threat or potential threat of physical harm, destruction
                      of property, or escape;

             (c)      Custody staff in HOH and MOH will consider a range of security restraint
                      devices and utilize the least restrictive option, for the least amount of time,
                      necessary to provide safety in these areas; and

             (d)      Whenever a prisoner is recalcitrant, as defined by Sheriff’s Department
                      policy, and appears to be in a mental health crisis, Custody staff will
                      request a sergeant and immediately refer the prisoner to a QMHP.

             STATUS:           PARTIAL COMPLIANCE

            The Monitor’s Eighth Report noted that “[t]he Mental Health Subject Matter
    Expert and DOJ have expressed concern about the Department’s Substantial Compliance
    with paragraph 70(c) if all inmates in HOH are routinely handcuffed when they are out of
    their cells ‘in a housing pod at the same time.’” 24

             As stated in the Monitor’s prior reports, to achieve Substantial Compliance with
    Paragraph 70, the County must demonstrate that “it is continuing to conduct individual
    assessments in weekly and daily meetings, expanding the use of Living Modules and FIP
    step-down pods (or other less restrictive housing arrangements), and articulating policies
    for these programs.” 25 Also, as previously expressed by DOJ, “the County must show
    that clinicians routinely make individualized assessments for all HOH inmates about
    whether [the special housing units] would be appropriate, and that inmates are not being
    denied access to those housing units due to space or capacity constraints.” 26

             The County’s Thirteenth Self-Assessment reported that

              Significantly, beginning in March 2019, the Department began a pilot
              program aimed to provide P3/HOH inmates with significant unrestrained
              out of cell time. The pilot alternates out of cell time between inmates who
              are in suicide gowns and those who are allowed clothes so that inmates
              do not have access to property which may allow them to self-harm. Prior

    24
       See Monitor's Eighth Report, p. 90.
    25
       See Monitor’s Eighth Report, p. 91; Ninth Report, p. 96.
    26
       See Monitor's Ninth Report, p. 96.


                                                        94
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 97 of 131 Page ID
                                  #:5276



            to COVID-19, this pilot program was available to inmates in five HOH
            pods at TTCF, and three HOH pods at CRDF. This program was
            temporarily suspended at TTCF during COVID-19 due to social
            distancing requirements, changes to housing modules due to quarantines
            and isolation, and staffing changes. CRDF was able to keep its
            unrestrained out of cell time pilot operating during COVID-19. TTCF
            plans to resume these activities as soon as it is able to safely do so.

            As noted in the Monitor’s Ninth Report, the Monitor believes, “with additional
    CHS staffing, the County could expand the Living and LIFE Modules and the Step-down
    units to provide enhanced mental health care treatment to additional HOH inmates who
    currently satisfy the criteria for housing in those specialized units.”

           The County Fourteenth Self-Assessment did not provide any new updates about
    the County’s efforts to comply with this provision. Its next Self-Assessment should do
    so.




                                               95
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 98 of 131 Page ID
                                  #:5277



            71.      The County and the Sheriff will ensure that any prisoner subjected to
    clinical restraints in response to a mental health crisis receives therapeutic services to
    remediate any effects from the episode(s) of restraint.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2016, through
                           June 30, 2017 (verified))

           Substantial Compliance requires the Department to review the electronic medical
    records of all prisoners placed in clinical restraints to verify that the prisoners received
    therapeutic services as required by Paragraph 71.

    Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not subject
    to monitoring for Substantial Compliance with Paragraph 71 in the Fourteenth Reporting
    Period.




                                                  96
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 99 of 131 Page ID
                                  #:5278



            72.      The County and the Sheriff will develop and implement policies and
    procedures that ensure that incidents involving suicide and serious self-injurious behavior
    are reported and reviewed to determine: (a) whether staff engaged in any violations of
    policies, rules, or laws; and (b) whether any improvements to policy, training, operations,
    treatment programs, or facilities are warranted. These policies and procedures will define
    terms clearly and consistently to ensure that incidents are reported and tracked accurately
    by DMH and the Sheriff’s Department.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of January 1,
                          2017, through December 31, 2017)

           Substantial Compliance requires the Self-Assessments to report on (a) suicide
    review meetings and (b) CIRC meetings that review incidents of serious self-injurious
    behavior in the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 72 in the Fourteenth
    Reporting Period.




                                                97
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 100 of 131 Page ID
                                  #:5279



            73.     Depending on the level of severity of an incident involving a prisoner who
    threatens or exhibits self-injurious behavior, a custody staff member will prepare a
    detailed report (Behavioral Observation and Mental Health Referral Form, Inmate Injury
    Report, and/or Incident Report) that includes information from individuals who were
    involved in or witnessed the incident as soon as practicable, but no later than the end of
    shift. The report will include a description of the events surrounding the incident and the
    steps taken in response to the incident. The report will also include the date and time that
    the report was completed and the names of any witnesses. The Sheriff’s Department will
    immediately notify the County Office of Inspector General of all apparent or suspected
    suicides occurring at the Jails.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of October 1, 2017,
                           through September 30, 2018 (verified))

            Substantial Compliance requires the Department to review quarterly a random
    sample of reports of any threats or exhibitions of self-injurious behavior to verify that the
    reports have the information required by Paragraph 73; and to provide the Monitor with
    the notifications to the Inspector General of all incidents involving an apparent or
    suspected suicide during the reporting period.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 73 in the Fourteenth
    Reporting Period.




                                                 98
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 101 of 131 Page ID
                                  #:5280



            74.     The Sheriff’s Department will ensure that there is a timely, thorough, and
    objective law enforcement investigation of any suicide that occurs in the Jails.
    Investigations shall include recorded interviews of persons involved in, or who
    witnessed, the incident, including other prisoners. Sheriff’s Department personnel who
    are investigating a prisoner suicide or suspected suicide at the Jails will ensure the
    preservation of all evidence, including physical evidence, relevant witness statements,
    reports, videos, and photographs.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of September 1, 2016,
                          through December 31, 2017)

            Substantial Compliance requires the Department to provide the Monitor with an
    Executive Suicide Death Review reflecting the results of the Department’s investigation
    of any suicide in the Jails within six months of the suicide. The review must reflect steps
    taken to preserve all of the evidence; and list the interviews of persons involved in, or
    who witnessed, the incident, and whether the interviews were recorded.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 74 in the Fourteenth
    Reporting Period.




                                                99
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 102 of 131 Page ID
                                  #:5281



           75.    Within three months of the Effective Date, the County and the Sheriff will
    review every suicide attempt that occurs in the Jails as follows:

           (a)    Within two working days, DMH staff will review the incident, the
                  prisoner’s mental health status known at the time of the incident, the need
                  for immediate corrective action if any, and determine the level of suicide
                  attempt pursuant to the Centers for Disease Control and Prevention’s Risk
                  Rating Scale;

           (b)    Within 30 working days, and only for those incidents determined to be a
                  serious suicide attempt by DMH staff after the review described in
                  subsection (a) above, management and command-level personnel from
                  DMH and the Sheriff’s Department (including Custody Division and
                  Medical Services Bureau) will meet to review relevant information known
                  at that time, including the events preceding and following the incident, the
                  prisoner’s incarceration, mental health, and health history, the status of
                  any corrective actions taken, and the need for additional corrective action
                  if necessary;

           (c)    The County and the Sheriff will document the findings that result from the
                  review of serious suicide attempts described in subsection (b) above; and

           (d)    The County and the Sheriff will ensure that information for all suicide
                  attempts is input into a database for tracking and statistical analysis.




                                              100
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 103 of 131 Page ID
                                  #:5282



           STATUS (75):           SUBSTANTIAL COMPLIANCE (as of October 1,
                                  2017, through September 30, 2018 (verified))

            Substantial Compliance requires (a) DMH to review documentation of randomly
    selected suicide attempts during the previous quarter to verify that the prisoner’s mental
    health status and need for immediate corrective action were considered timely by the
    DMH staff and that the staff determined whether the suicide attempt was serious; (b) that
    the Department and DMH reviewed the relevant information known at that time and the
    status of any corrective actions taken, and they considered the need for additional
    corrective action if necessary; and (c) that the information is reflected in the
    Department’s database for tracking and statistical analysis.

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 75 in the Fourteenth
    Reporting Period.




                                               101
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 104 of 131 Page ID
                                  #:5283



            76.     The County and the Sheriff will review every apparent or suspected
    suicide that occurs in the Jails as follows:

           (a)    Within no more than two working days, management and command-level
                  personnel from DMH and the Sheriff’s Department (including Custody
                  Division and Medical Services Bureau) will meet to review and discuss
                  the suicide, the prisoner’s mental health status known at the time of the
                  suicide, and the need for immediate corrective or preventive action if any;

           (b)    Within seven working days, and again within 30 working days,
                  management and command-level personnel from DMH and the Sheriff’s
                  Department (including Custody Division and Medical Services Bureau)
                  will meet to review relevant information known at that time, including the
                  events preceding and following the suicide, the prisoner’s incarceration,
                  mental health, and health history, the status of any corrective or preventive
                  actions taken, and the need for additional corrective or preventive action if
                  necessary; and

           (c)    Within six months of the suicide, the County and the Sheriff will prepare a
                  final written report regarding the suicide. The report will include:

                  (i)    time and dated incident reports and any supplemental reports with
                         the same Uniform Reference Number (URN) from custody staff
                         who were directly involved in and/or witnessed the incident;
                  (ii)   a timeline regarding the discovery of the prisoner and any
                         responsive actions or medical interventions;
                  (iii) copies of a representative sample of material video recordings or
                         photographs, to the extent that inclusion of such items does not
                         interfere with any criminal investigation;
                  (iv)   a reference to, or reports if available, from the Sheriff’s
                         Department Homicide Bureau;
                  (v)    reference to the Internal Affairs Bureau or other personnel
                         investigations, if any, and findings, if any;
                  (vi)   a Coroner’s report, if it is available at the time of the final report,
                         and if it is not available, a summary of efforts made to obtain the
                         report;
                  (vii) a summary of relevant information discussed at the prior review
                         meetings, or otherwise known at the time of the final report,
                         including analysis of housing or classification issues if relevant;
                  (viii) a clinical mortality review;
                  (ix)   a Psychological Autopsy utilizing the National Commission on
                         Correctional Health Care’s standards; and
                  (x)    a summary of corrective actions taken and recommendations
                         regarding additional corrective actions if any are needed.




                                               102
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 105 of 131 Page ID
                                  #:5284



           STATUS (76):          SUBSTANTIAL COMPLIANCE (as of
                                 September 1, 2016, through December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 76 in the Fourteenth
    Reporting Period. Nonetheless, the County continued to conduct the reviews required by
    Paragraph 76 for the suicides that occurred during this period and invited the Monitor to
    attend these meetings.




                                               103
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 106 of 131 Page ID
                                  #:5285



           77.     The County and the Sheriff will create a specialized unit to oversee,
    monitor, and audit the County’s jail suicide prevention program in coordination with the
    Department of Mental Health. The Unit will be headed by a Captain, or another Sheriff’s
    Department official of appropriate rank, who reports to the Assistant Sheriff for Custody
    Operations through the chain of command. The Unit will be responsible for:

           (a)    Ensuring the timely and thorough administrative review of suicides and
                  serious suicide attempts in the Jails as described in this Agreement;

           (b)    Identifying patterns and trends of suicides and serious suicide attempts in
                  the Jails, keeping centralized records and inputting data into a unit
                  database for statistical analysis, trends, and corrective action, if necessary;

           (c)    Ensuring that corrective actions are taken to mitigate suicide risks at both
                  the location of occurrence and throughout the concerned system by
                  providing, or obtaining where appropriate, technical assistance to other
                  administrative units within the Custody Division when such assistance is
                  needed to address suicide-risk issues;

           (d)    Analyzing staffing, personnel/disciplinary, prisoner classification, and
                  mental health service delivery issues as they relate to suicides and serious
                  suicide attempts to identify the need for corrective action where
                  appropriate; and recommend remedial measures, including policy
                  revisions, re-training, or staff discipline, to address the deficiencies and
                  ensure implementation; and

           (e)    Participating in meetings with DMH to develop, implement, and track
                  corrective action plans addressing recommendations of the quality
                  improvement program.




                                               104
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 107 of 131 Page ID
                                  #:5286




           STATUS (77):           PARTIAL COMPLIANCE

            On July 13, 2022, the County posted the Correctional Health Services and
    Custody Compliance & Sustainability Bureau Combined Semi-Annual Report on Quality
    Improvement and Suicide Prevention Efforts – Quarter 4 2021 & Quarter 1 2022
    (“Combined Suicide Prevention Report”), which relates to Paragraphs 60, 61, 62, and 77.
    The Combined Suicide Prevention Report sets forth aggregate data for the 30 suicides
    that occurred between 2015 and the end of the First Quarter of 2022, and 154 critical
    incidents that occurred between 2016 and the end of the First Quarter of 2022. The
    report also includes case-specific discussions of the two suicides that occurred during the
    Fourth Quarter of 2021 and First Quarter of 2022 at county jail facilities.

             The Monitor analyzed the County’s Combined Suicide Prevention Report in
    consultation with Drs. Johnson, Vess, and Eargle. Our view is that the Department has
    continued to make progress in its Quality Improvement efforts. In terms of specific
    results, the Combined Suicide Prevention Report reflects that the Department is now
    complying with several subparts of Provision 77, including ensuring the timely and
    thorough administrative review of suicides and serious suicide attempts in the Jails
    (77(a)); analyzing staffing, personnel/disciplinary, prisoner classification, and mental
    health service delivery issues as they relate to suicides and serious suicide attempts to
    identify the need for corrective action where appropriate (77(d)); and participating in
    meetings with DMH to develop, implement, and track corrective action plans addressing
    recommendations of the quality improvement program (77(e)).

            As set forth above regarding Provision 61, the Monitor believes that the
    Department must deepen its evaluation of data to spot trends and patterns in suicides and
    serious suicide attempts, as required by Provision 77(b). The Department must then use
    those analyses to take corrective actions “to mitigate suicide risks at both the location of
    occurrence and throughout the concerned system by providing, or obtaining where
    appropriate, technical assistance to other administrative units within the Custody
    Division.” As set forth above regarding Provision 61, the Department still has work to do
    to Substantially Comply with this provision.




                                                105
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 108 of 131 Page ID
                                  #:5287



           78.     The County and the Sheriff will maintain a county-level Suicide
    Prevention Advisory Committee that will be open to representatives from the Sheriff’s
    Department Custody Division, Court Services, Custody Support Services, and Medical
    Services Bureau; the Department of Mental Health; the Public Defender’s Office; County
    Counsel’s Office; the Office of the Inspector General; and the Department of Mental
    Health Patients’ Rights Office. The Suicide Prevention Advisory Committee will meet
    twice per year and will serve as an advisory body to address system issues and
    recommend coordinated approaches to suicide prevention in the Jails.

           STATUS:       SUBSTANTIAL COMPLIANCE (as of May 11, 2016, through
                         May 18, 2017)

          Substantial Compliance requires (1) the Committee to meet twice per year and (2)
    “recommend coordinated approaches to suicide prevention in the Jails.”

            Pursuant to Paragraph 111 of the Settlement Agreement, the Department was not
    subject to monitoring for Substantial Compliance with Paragraph 78 in the Fourteenth
    Reporting Period. Nevertheless, the County has continued to hold Bi-Annual Suicide
    Prevention meetings through the last reporting period, which the Monitor endeavors to
    attend.




                                             106
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 109 of 131 Page ID
                                  #:5288



           79 (Revised). (a)     Unless clinically contraindicated, the County and the
                                 Sheriff will offer prisoners in mental health housing:

                                 (i)     therapeutically appropriate individual visits with a
                                         QMHP;

                                 (ii)    therapeutically appropriate group programming
                                         conducted by a QMHP or other appropriate
                                         provider that does not exceed 90 minutes per
                                         session;

                          (b)    The date, location, topic, attendees, and provider of
                                 programming or therapy sessions will be documented. A
                                 clinical supervisor will review documentation of group
                                 sessions on a monthly basis.

           STATUS:        NON-COMPLIANCE

            On June 25, 2021, the parties filed a Joint Stipulation to Modify Settlement
    Agreement that amended the language of Provision 79 (“Revised Paragraph 79”) as set
    forth above. They also agreed on Revised Compliance Measures. Under the Revised
    Compliance Measures, Substantial Compliance requires the Department to maintain
    records of therapeutically appropriate individual visits and group programming, and the
    names of the clinical supervisors who reviewed such records and the conclusions of their
    reviews. It also requires that 95% of the prisoners in HOH are offered therapeutically
    appropriate structured mental health treatment, including at least a weekly QMHP visit
    and group programming, and that 90% of prisoners in MOH are provided visits by a
    QMHP at least once a month as well as therapeutically appropriate structured mental
    health treatment.

           The County’s Fourteenth Self-Assessment reports that in the Fourth Quarter of
    2021, the names and conclusions of all supervisors who reviewed documentation of
    group sessions were recorded. The County also reports that “for Measure 79-4(b), which
    requires that 95% of HOH patients be offered an individual visit by a QMHP and weekly
    group programming, the County achieved 7% compliance.” “For Measure 79-4(c),
    which requires that 90% of patients in MOH be offered individual monthly visits by a
    QMHP and therapeutically appropriate structured treatment, the County achieved 43%
    compliance.”

            The County’s Fourteenth Self-Assessment reports that “CHS believes its numbers
    underreport the number of patients that were offered, as opposed to participate in, the
    relevant group programming.” In addition, according to the County’s posted documents,
    “for the randomized week in October, groups were halted for safety precautions due to a
    new surge of Covid-19.” Further, “[i]t should be noted that the pandemic has had a
    substantial negative effect in achieving compliance for Provision 79, as the programs
    have not been able to provide consistent group programming due to safety concerns.”



                                              107
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 110 of 131 Page ID
                                  #:5289




           The County’s Augmented Fourteenth Self-Assessment reports that in the First
    Quarter of 2022, the names and conclusions of all supervisors who reviewed
    documentation of group sessions were recorded. The County also reports that “for
    Measure 79-4(b), which requires that 95% of HOH patients be offered an individual visit
    by a QMHP and weekly group programming, the County achieved 33% compliance.”
    “For Measure 79-4(c), which requires that 90% of patients in MOH be offered individual
    monthly visits by a QMHP and therapeutically appropriate structured treatment, the
    County achieved 43% compliance.”




                                              108
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 111 of 131 Page ID
                                  #:5290



           80.     (a)    The County and the Sheriff will continue to make best efforts to
    provide appropriate out-of-cell time to all prisoners with serious mental illness, absent
    exceptional circumstances, and unless individually clinically contraindicated and
    documented in the prisoner’s electronic medical record. To implement this requirement,
    the County and the Sheriff will follow the schedule below:

                   (i)     By no later than six months after the Effective Date, will offer
                           25% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week;

                   (ii)    By no later than 12 months after the Effective Date, will offer
                           50% of the prisoners in HOH ten hours of unstructured out-of-cell
                           recreational time and ten hours of structured therapeutic or
                           programmatic time per week; and

                   (iii)   By no later than 18 months after the Effective Date, will offer
                           100% of the prisoners in HOH ten hours of unstructured out-of-
                           cell recreational time and ten hours of structured therapeutic or
                           programmatic time per week.

            (b)     No later than six months after the Effective Date, the County and the
    Sheriff will record at the end of each day which prisoners in HOH, if any, refused to
    leave their cells that day. That data will be presented and discussed with DMH staff at
    the daily meeting on the following Normal business workday. The data will also be
    provided to the specialized unit described in Paragraph 77 and to DMH’s quality
    improvement program to analyze the data for any trends and to implement any corrective
    action(s) deemed necessary to maximize out-of-cell time opportunities and avoid
    unnecessary isolation.




                                               109
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 112 of 131 Page ID
                                  #:5291



            STATUS (80):               NON-COMPLIANCE

            Paragraph 80 requires that, “no later than 18 months after the Effective Date [July
    1, 2015],” 100% of the prisoners in HOH receive “ten hours of unstructured out-of-cell
    recreational time and ten hours of structured therapeutic or programmatic time per
    week.” The parties have agreed that up to five hours of the structured time can consist of
    education or work programs, but at least five hours of the time must be therapeutic.

           The County’s Fourteenth Self-Assessment reports that in the Fourth Quarter of
    2021, 96% of the HOH prisoners at CRDF and 93% of the HOH prisoners at TTCF were
    offered “unstructured out-of-cell time by Custody staff.” The County’s Fourteenth Self-
    Assessment also reports that in the First Quarter of 2022, 97% and 93% of HOH
    prisoners were offered unstructured out-of-cell time at CRDF and TTCF, respectively. 27

            The County also reports data for structured therapeutic or programmatic time for
    the First Quarter of 2022. According to the County’s Fourteenth Self-Assessment, “14%
    and 0% for CRDF and TTCF, respectively – rather than the required 100% – of prisoners
    residing in HOH were offered the required structured out-of-cell time” during the First
    Quarter of 2022.

            The County’s posted documents note that during the First Quarter of 2022, TTCF
    onboarded “(3) new group providers, going from a total of 15 to 18, and the addition of
    (1) more group on the group schedule, going from a total of three groups a day to four.”
    At CRDF, the County reported “improved collaboration between custody and mental
    health [personnel] as well as an increase in group attendance. With declining COVID
    rates in the jail the current group size is 12 participants per scheduled group, up from 4-8
    participants in prior years. . . . CHS recognizes the long road ahead but with the
    continued efforts from all relevant stakeholders, it expects to make significant
    improvements in the number of groups it is able to offer.”




    27
       The Mental Health Subject Matter Expert and the clinicians previously assessed the accuracy of the
    County’s reporting of the out-of-cell time offered to inmates by comparing out-of-cell time records to
    videos of the HOH units over the same time periods, and they found the County’s data to be “highly
    unreliable.” The Monitor and the Mental Health Subject Matter viewed this as a “very serious problem, . . .
    both in terms of the accuracy of the Department’s records and the conditions in HOH units.”


                                                       110
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 113 of 131 Page ID
                                  #:5292



            81.     Except as specifically set forth in Paragraphs 18-20 of this Agreement, and
    except as specifically identified below, the County and the Sheriff will implement the
    following paragraphs of the Implementation Plan in Rosas at all Jails facilities, including
    the Pitchess Detention Center and the Century Regional Detention Facility, by no later
    than the dates set forth in the Implementation Plan or as revised by the Rosas Monitoring
    Panel: Paragraphs 2.2-2.13 (use of force policies and practices); 3.1-3.6 (training and
    professional development); 4.1-4.10 (use of force on mentally ill prisoners); 5.1-5.3 (data
    tracking and reporting of force); 6.1-6.20 (prisoner grievances and complaints); 7.1-7.3
    (prisoner supervision); 8.1-8.3 (anti-retaliation provisions); 9.1-9.3 (security practices);
    10.1-10.2 (management presence in housing units); 11.1 (management review of force);
    12.1-12.5 (force investigations, with the training requirement of paragraph 12.1 to be
    completed by December 31, 2016); 13.1-13.2 (use of force reviews and staff discipline);
    14.1-14.2 (criminal referrals and external review); 15.1-15.7 (documentation and
    recording of force); 16.1-16.3 (health care assessments); 17.1-17.10 (use of restraints);
    18.1-18.2 (adequate staffing); 19.1-19.3 (early warning system); 20.1-20.3 (planned uses
    of force); and 21.1 (organizational culture).

           STATUS:         PARTIAL COMPLIANCE

            Because Paragraph 81 of the Settlement Agreement incorporates 100 provisions
    in the Implementation Plan adopted in the Rosas case, the parties agreed in the
    Compliance Measures adopted in this case that “Substantial Compliance with respect to
    the substance of the policies required by the Rosas Implementation Plan would be
    determined by the Rosas Monitors.” With the exception of the Early Warning System
    required by Section 19 of the plan, all of the required policies were approved by the
    Rosas Monitors by the Second Reporting Period in this case, and the Early Warning
    System was approved in the Seventh Reporting Period.

            The Compliance Measures in this case then provide that “[o]nce the policies have
    been approved by the Rosas Monitors, the Monitor and Subject Matter Expert will
    confirm and assess the implementation of these policies in the [DOJ facilities].” In
    assessing the Department’s compliance with Paragraph 81, the Monitor has grouped the
    100 provisions into seven categories and, with input from the Subject Matter Experts, has
    assessed Department’s compliance on a category-by-category basis. With the exception
    of the Training category, which is assessed when certain percentages are reached, the
    Department will no longer be subject to monitoring for the provisions in a particular
    category once the Monitor has determined that it has achieved and maintained for twelve
    consecutive months Substantial Compliance with the intent and purpose of the overall
    category. The Department will no longer be subject to monitoring for compliance with
    Paragraph 81 once it has achieved and maintained for twelve consecutive months
    Substantial Compliance with each of the categories.

           Training (Partial Compliance)

            Paragraphs 3.1-3.6, 4.6-4.9, and 12.1 of the Rosas Implementation Plan reflect
    training requirements on use of force, ethics, dealing with mentally ill inmates, and



                                                111
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 114 of 131 Page ID
                                  #:5293



    investigations of force incidents. The curriculum and lesson plans to implement these
    training requirements have been approved by the Rosas Monitors.

            The County’s Augmented Fourteenth Self-Assessment reports that the
    Department met the Substantial Compliance thresholds for the following Training
    provisions at the DOJ facilities during the Fourth Quarter of 2021: 3.2 (a) and (b), 3.3,
    3.5, 4.6, 4.8, 4.9, and 12.1. 28 The reported results for 3.2, 3.3, 4.6, 4.8, 4.9, and 12.1 have
    been verified by the Monitor’s auditors. The County also reported that the Department
    did not achieve Substantial Compliance with: 3.1(a) and (b) (achieving 88% not 90%);
    3.6 (timely 6 month probationary reviews); 4.7(a) and (b) (DeVRT initial training and
    refreshers) (achieving 88% not 90%). 29

           The County’s Augmented Fourteenth Self-Assessment reports that the
    Department met the Substantial Compliance thresholds for the following Training
    provisions at the DOJ facilities during the First Quarter of 2022: 3.3, 3.5, 4.8, 4.9, and
    12.1-2. The reported results for 3.3, 4.8, 4.9, and 12.1-2 have been verified by the
    Monitor’s auditors.

            Use of Force (Partial Compliance)

            According to data provided by the Department, uses of force decreased at NCCF,
    PDC North, and PDC South in the first half of 2022, while increasing slightly at CRDF.
    The greatest increase at CRDF was in NCI incidents, or relatively minor uses of force
    that involve “no injury or complaint of pain as a result of: Resisted hobble application;
    Resisted searching or handcuffing techniques; Resisted firm grip, control holds, come-
    along, or control techniques.”

              The Monitor and Use of Force Expert Susan McCampbell reviewed 25
    completed force packages for the DOJ facilities during this Reporting Period. 30 As a
    result of objections by the plaintiffs in the Rosas case, the Rosas Monitors revised their
    approach to assessing the Department’s compliance with the use, reporting and
    investigation of force provisions of the Implementation Plan. Under the revised
    approach, the Rosas Monitors do not determine the percentage of cases in which the
    Department’s use of force was reasonable overall, but instead assess the Department’s
    compliance with the specific provision on the use, reporting, and investigation of force
    provisions of the Implementation Plan. To maintain consistency across all of the jail
    facilities, the Monitor has adopted the same approach in the DOJ case.



    28
       Because Paragraph 81 incorporates all 104 provisions of the Rosas Implementation Plan in a single
    provision, the Monitor agreed to the use of random samples in some cases instead of requiring assessments
    of all personnel or incidents, which the Monitor believes would be unduly burdensome for the Department.
    29
       The County’s Augmented Fourteenth Self-Assessment appears to mistakenly report 4.6 (DeVRT initial
    training and refreshers) as not achieving Substantial Compliance as of December 2021. However, the
    posted materials reflect Substantial Compliance (98%).
    30
       The Monitor will meet with Department executives to discuss his findings on these force packages during
    his upcoming site visits in November 2022.


                                                      112
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 115 of 131 Page ID
                                  #:5294




            In the uses of force reviewed during the Fourteenth Monitoring Period, the
    Monitor determined that the Department was not in compliance with Paragraph 2.2.
    Regarding Paragraph 2.2(a) (force must be used as a last resort), Department members
    too readily engaged in uses of force before meaningful attempts were made to de-escalate
    using time, distance, the presence of a supervisor or mental health professional, and
    verbal attempts at persuasion.

            For example, in one incident, a Deputy was transferring an inmate from pre-
    discipline housing and therefore instructed him to disrobe in order to allow a visual
    contraband search to be conducted. According to the Deputy, the inmate cursed, turned
    around, and then advanced on the Deputy "with both of his fists clenched,” in a “common
    fighting stance.” The Deputy punched the inmate in the face and, with assistance, took
    him to the ground. Review of the video revealed that the Deputy failed to take
    reasonable steps to de-escalate the situation, such as summoning assistance, or using time
    and distance to attempt to resolve the incident without force. 31

             Reporting and Investigation of Force (Partial Compliance)

            During the Fourteenth Reporting Period, the Monitor identified several key issues
    related to the Department’s reporting and investigation of force. First, as in the past, the
    depth and quality of the command reviews of force incidents varied significantly.
    Sometimes Commanders made note of discrepancies among Deputy use of force reports
    or between reports and available video, or flagged other issues that may have given rise
    to the need to use force. Yet, important, sometimes self-evident, issues were not always
    identified. Often, the de-escalation attempts made by deputies were not specifically
    described in the relevant reports. Command reviewers should note those issues and
    require deputies to describe with particularity the attempts they made to de-escalate
    incidents without force, when applicable.

           Similarly, the quality of interviewing varied widely. Some interviewers appeared
    confused about their role, and unsure what questions to ask or how to elicit relevant
    information from the inmates who were involved in or witnessed a use of force. The
    Department should ensure that all supervisors who conduct use of force interviews are
    properly trained and briefed on how to successfully conduct use of force interviews.

            The Department was not in compliance with the requirement that any
    discrepancies among witnesses and/or evidence should be referred for additional
    investigation as required by Paragraph 5.3. The Department was also not in compliance
    with the requirement that force reports be completed by the end of shift as required by
    Paragraphs 15.1 and 15.2.

    31
      Moreover, while the command review, which ultimately found the force to be within policy, noted some
    of the similarities between Deputy reports, including several Deputies using strikingly similar language to
    describe the inmate’s behavior, the Deputies were merely counseled regarding the need to only provide
    their own independent accounts rather than disciplined for failing to follow Department policy on force
    reporting.


                                                       113
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 116 of 131 Page ID
                                  #:5295




            Regarding the Department’s quantitative results on the specific provisions, for the
    Fourth Quarter of 2021, the County reported Substantial Compliance with the following
    provisions: 5.1 (timely database entry of force incidents); 8.3 (timely review of retaliation
    grievances); 11.1 (timely review of force packages by CFRT for potential employee
    discipline); 13.1 (zero tolerance and related investigations); 13.2 (notifications to OIG
    required by findings in 13.1); 14.1 (timely unit commander review re: prosecution for
    inmate assaults on staff); and 14.2 (timely referral of criminal inmate conduct to DA's
    Office).

            For the First Quarter of 2022, the County’s Augmented Fourteenth Self-
    Assessment reports Substantial Compliance with the following provisions: 5.1 (timely
    database entry of force incidents); 8.3 (timely review of retaliation grievances); 11.1
    (timely review of force packages by CFRT for potential employee discipline); 13.1 (zero
    tolerance and related investigations); 13.2 (notifications to OIG required by findings in
    13.1); 14.1 (timely unit commander review re: prosecution for inmate assaults on staff);
    and 14.2 (timely referral of criminal inmate conduct to DA's Office).

           Grievances (Partial Compliance)

             The County’s Augmented Fourteenth Self-Assessment reports that in the Fourth
    Quarter of 2021, the Department achieved Substantial Compliance with the following
    grievance provisions at the DOJ facilities: 6.5 (proper handling of harassment and
    retaliation grievances); 6.7 (appropriate handling of grievances marked “emergency”);
    6.8 (inmate notification of downgraded grievances); 6.9 (proper handling of emergency
    grievances); 6.10 (timely collection of inmate grievances); 6.11 (review of complaints re:
    inmate grievance process); 6.12 (proper database entry of inmate grievances); 6.13
    (proper tracking of handling of inmate grievances); 6.14 (monthly reports of grievance
    tracking); 6.15 (evaluation of trends in inmate grievance handling); 6.17 (time limit for
    filing force-related grievances); 6.18 (proper handling of PREA grievances); 6.19 (timely
    responses to inmate grievances); 6.20 (proper handling of inmate appeals); 7.1 (conflict
    resolution for inmate grievances); 7.3 (town hall meetings); and 8.1 (reporting of
    retaliation grievances). The County reported that the Department did not achieve
    compliance with 6.4 (proper handling of force-related grievances); 7.2 (timely
    notification of grievance investigation results).

            The County’s Augmented Fourteenth Self-Assessment reports that in the First
    Quarter of 2022, the Department achieved Substantial Compliance with the following
    grievance provisions at the DOJ facilities: 6.4 (proper handling of force-related
    grievances); 6.5 (proper handling of harassment and retaliation grievances); 6.7
    (appropriate handling of grievances marked “emergency”); 6.8 (inmate notification of
    downgraded grievances); 6.9 (proper handling of emergency grievances); 6.10 (timely
    collection of inmate grievances); 6.11 (review of complaints re: inmate grievance
    process); 6.12 (proper database entry of inmate grievances); 6.13 (proper tracking of
    handling of inmate grievances); 6.14 (monthly reports of grievance tracking); 6.15
    (evaluation of trends in inmate grievance handling); 6.17 (time limit for filing force-



                                                114
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 117 of 131 Page ID
                                  #:5296



    related grievances); 6.18 (proper handling of PREA grievances); 6.19 (timely responses
    to inmate grievances); 6.20 (proper handling of inmate appeals); 7.1 (conflict resolution
    for inmate grievances); 7.3 (town hall meetings); and 8.1 (reporting of retaliation
    grievances). The Department was not in Substantial Compliance with 7.2 (timely
    notification of grievance investigation results).

           Management and Administration (Substantial Compliance as of October 1,
                                          2020 through September 30, 2021)

           The Department achieved Substantial Compliance with the Management and
    Administration Provisions at the DOJ facilities as of September 30, 2021, and these
    provisions were not subject to Monitoring during the Fourteenth Reporting Period.

           Security Restraints (Partial Compliance)

             Security Restraints are subject to the provisions in Section 17 of the Rosas Plan.
    It is the Monitor’s understanding that the County and the Department do not use “multi-
    point restraints,” which are subject to Paragraphs 17.6 through 17.9 of the plan, at any of
    the County’s jail facilities. The Monitor reviewed the Safety Chair Logs and Fixed
    Restraint Logs for both quarters, which reflect that the facilities that produced such logs
    are complying with the requirements of Paragraphs 17.3 and 17.4 of the Rosas Plan.

           The Department posted logs of all of the involuntary medications administered in
    the Fourth Quarter of 2021 and First Quarter of 2022. The records reflect that all of the
    medications were administered per court orders to restore the competency of those
    deemed incompetent to stand trial and none were solely for security purposes in
    compliance with Paragraph 17.10 of the Rosas Plan.

            The Monitor and Subject Matter Expert reviewed 25 completed force packages
    for the DOJ facilities during this Reporting Period. Several incidents involved the use of
    the WRAP restraint. In the majority of these incidents, no specific justification was
    provided in use of force documentation regarding the reason for the application of the
    WRAP. When a justification was provided, it was often extremely general. To help
    avoid risks of overuse, supervisors should be trained to describe with particularity what
    specific threat required the use of the WRAP.

           Early Warning System           (Substantial Compliance as of September 30,
                                          2019 through September 30, 2020)

           The Department implemented an Employee Review System that was approved by
    the Rosas Monitors as a pilot program at the Downtown Jail Facilities on July 27, 2018,
    and expanded it to the DOJ facilities on October 25, 2018. The Department achieved
    Substantial Compliance with the Early Warning Provisions at the DOJ facilities as of
    September 30, 2020, and these provisions were not subject to Monitoring during the
    Fourteenth Reporting Period.




                                                115
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 118 of 131 Page ID
                                  #:5297



            82.     With respect to paragraph 6.16 of the Rosas Implementation Plan, the
    County and the Sheriff will ensure that Sheriff’s Department personnel responsible for
    collecting prisoners’ grievances as set forth in that paragraph are also co-located in the
    Century Regional Detention Facility.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 15, 2016, through
                           December 31, 2017)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 82 in the Fourteenth
    Reporting Period.




                                                116
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 119 of 131 Page ID
                                  #:5298



             83.    The County and the Sheriff will install closed circuit security cameras
    throughout all Jails facilities’ common areas where prisoners engage in programming,
    treatment, recreation, visitation, and intra-facility movement (“Common Areas”),
    including in the Common Areas at the Pitchess Detention Center and the Century
    Regional Detention Facility. The County and the Sheriff will install a sufficient number
    of cameras in Jails facilities that do not currently have cameras to ensure that all
    Common Areas of these facilities have security-camera coverage. The installation of
    these cameras will be completed no later than June 30, 2018, with TTCF, MCJ, and IRC
    completed by the Effective Date; CRDF completed by March 1, 2016; and the remaining
    facilities completed by June 30, 2018. The County and the Sheriff will also ensure that
    all video recordings of force incidents are adequately stored and retained for a period of
    at least one year after the force incident occurs or until all investigations and proceedings
    related to the use of force are concluded.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of July 1, 2015, through
                           June 30, 2016 at MCJ and IRC)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2015,
                           through September 30, 2016 at TTCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at CRDF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2018, through
                           March 31, 2019 at NCCF and PDC North)

                           SUBSTANTIAL COMPLIANCE (as of July 1, 2018, through
                           June 30, 2019 at PDC South)

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 83 in the Fourteenth
    Reporting Period.




                                                 117
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 120 of 131 Page ID
                                  #:5299



            84.     The Sheriff will continue to maintain and implement policies for the
    timely and thorough investigation of alleged staff misconduct related to use of force and
    for timely disciplinary action arising from such investigations. Specifically:

           (a)     Sworn custody staff subject to the provisions of California Government
                   Code section 3304 will be notified of the completion of the investigation
                   and the proposed discipline arising from force incidents in accordance
                   with the requirements of that Code section; and

           (b)     All non-sworn Sheriff’s Department staff will be notified of the proposed
                   discipline arising from force incidents in time to allow for the imposition
                   of that discipline.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of July 1, 2017, through
                          June 30, 2018 (verified))

            Substantial Compliance under the Compliance Measures requires the Department
    to demonstrate that 95% of the investigations of force incidents in which sworn custody
    staff and non-sworn custody staff were found to have violated Department policy or
    engaged in misconduct were completed and administrative action, which could include
    discipline, was taken within the time frames provided for in Government Code Section
    3304 and relevant Department policies.

            Pursuant to Paragraph 111 of the Settlement Agreement, the County was not
    subject to monitoring for Substantial Compliance with Paragraph 84 in the Fourteenth
    Reporting Period.




                                               118
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 121 of 131 Page ID
                                  #:5300



           85.     The County and the Sheriff will ensure that Internal Affairs Bureau
    management and staff receive adequate specialized training in conducting investigations
    of misconduct.

           STATUS:        SUBSTANTIAL COMPLIANCE (as of April 1, 2021, through
                          March 31, 2022 (verified))

             The Parties agreed on Revised Compliance Measures in 2021. Substantial
    Compliance requires the Department to provide the Monitor with (1) the
    curriculum/syllabus for the two specialized courses, Internal Affair Investigations and
    Interview and Interrogation, given to IAB management, and (2) a list of the sworn
    personnel assigned to IAB and proof that such personnel successfully completed the
    training. Substantial Compliance requires the Department to demonstrate that 90% of the
    personnel assigned to IAB have successfully completed one course of the required
    training within 3 months of their start date, and the second course within 6 months of
    their start date.

            The County’s Fourteenth Self-Assessment reports that 100% of the IAB
    investigators completed both of the required courses as of the end of the Fourth Quarter
    of 2021 and the First Quarter of 2022. These results have been verified by the Monitor’s
    auditors and the County has completed its obligations with respect to Provision 85 and no
    longer be subject to monitoring for this provision.




                                              119
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 122 of 131 Page ID
                                  #:5301



           86.     Within three months of the Effective Date, the County and the Sheriff will
    develop and implement policies and procedures for the effective and accurate
    maintenance, inventory, and assignment of chemical agents and other security equipment.
    The County and the Sheriff will develop and maintain an adequate inventory control
    system for all weapons, including OC spray.

           STATUS:         SUBSTANTIAL COMPLIANCE (as of April 1, 2016, through
                           March 31, 2017 at MCJ and CRDF)

                           SUBSTANTIAL COMPLIANCE (as of October 1, 2016,
                           through December 31, 2017 at PDC North)

                           SUBSTANTIAL COMPLIANCE (as of February 1, 2017,
                           through March 31, 2018 at PDC South and PDC East)

                           SUBSTANTIAL COMPLIANCE (as of March 1, 2017,
                           through March 31, 2018 at NCCF)

                           SUBSTANTIAL COMPLIANCE (as of April 1, 2017, through
                           March 31, 2018 at IRC)

                           SUBSTANTIAL COMPLIANCE (as of April 1,
                           2018, through March 31, 2019 at TTCF)

            CDM 7-08/080 ACCOUNTABILITY OF SPECIAL WEAPONS, effective
    October 14, 2016, requires each facility to have unit orders that “establish procedures for
    the storage, issuance, reissuance, accountability, maintenance, and periodic inventory of
    all weapons. . . stored at, or issued from, the facility,” which includes detailed
    requirements for the “Inventory, Control, and Accountability of Aerosol Chemical
    Agents.”

             In addition to providing written policies and procedures, Substantial Compliance
    requires the Department to provide up-to-date Unit Orders for each jail requiring the
    inventory and inspection of special weapons, and armory audit logs documenting the
    inventory and control of armory-level weapons. The Department previously maintained
    Substantial Compliance with Paragraph 86 for twelve consecutive months at all of the
    facilities, and it was not subject to monitoring with this provision in the Fourteenth
    Reporting Period.




                                                120
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 123 of 131 Page ID
                                  #:5302
                                APPENDIX A


   NO.       PROVISION                      STATUS                            SUBSTANTIAL
                                                                              COMPLIANCE
                                                                              DATES

  18         Suicide Prevention Training    Substantial Compliance            (10/1/17 at MCJ &
                                                                              PDC South) 1
                                                                              (9/1/17 at NCCF)
                                                                              (12/1/17 at PDC
                                                                              East)
                                                                              (4/1/18 at TTCF,
                                                                              IRC, & PDC North)
                                                                              (8/1/18 at CRDF)

  19         Crisis Intervention &          Substantial Compliance            (4/1/18 at MCJ,
             Conflict Resolution Training                                     NCCF, & IRC)
                                                                              (7/1/18 at TTCF)
                                                                              (12/1/18 at CRDF,
                                                                              PDC East, & PDC
                                                                              North)
                                                                              (3/1/19 at PDC
                                                                              South)

  20         Training at NCCF, PDC and      Substantial Compliance            (8/1/17 at PDC East,
             CRDF                                                             PDC North, NCCF,
                                                                              & CRDF)
                                                                              (10/1/17 at PDC
                                                                              South)

  21         CPR Certification              Substantial Compliance            (10/1/15 – 9/30/16 at
                                                                              PDC East & PDC
                                                                              South)
                                                                              (1/1/16 – 12/31/16 at
                                                                              NCCF, PDC North,
                                                                              & IRC)
                                                                              (4/1/16 – 3/31/17 at
                                                                              TTCF)
                                                                              (10/1/17 – 9/30/18 at
                                                                              MCJ)
                                                                              (7/1/18 – 6/30/19 at
                                                                              CRDF)

         1
         Substantial Compliance Dates in bold reflect that the Department has achieved
 Substantial Compliance with the training requirements or maintained Substantial Compliance for
 twelve consecutive months with the other requirements; the results were verified by the
 Monitor's auditors when required; and the County or designated facilities are no longer subject to
 monitoring of this provision pursuant to Paragraph 111 of the Settlement Agreement.
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 124 of 131 Page ID
                                  #:5303
                                APPENDIX A


  22    Use of Arresting and            Substantial Compliance         (7/1/16 – 6/30/17)
        Booking Documents

  23    Suicide Hazard Mitigation       Substantial Compliance         (7/12/18)
        Plans

  24    Suicide Hazard Inspection       Substantial Compliance         (10/1/17 – 9/30/18)

  25    Transportation of Suicidal      Partial Compliance
        Inmates (station jails)

  26    Identification and Evaluation   Substantial Compliance         (7/1/21 – 3/31/22)
        of Suicidal Inmates

  27    Screening for Mental Health     Substantial Compliance         (10/1/19 – 3/31/20,
        Care and Suicide Risk                                          10/1/20 – 3/31/21)

  28    Expedited Booking of            Substantial Compliance (IRC)   (4/1/17 – 3/31/18 at
        Suicidal Inmates                Partial Compliance (CRDF)      IRC)

  29    Mental Health Assessments       Substantial Compliance         (4/1/17 – 3/31/18)
        (of non-emergent mental
        health needs)

  30    Initial Mental Health           Substantial Compliance         (1/1/19 – 12/31/19)
        Assessments & Treatment
        Plans

  31    Electronic Medical Records      Partial Compliance (CRDF &
        Alerts                          TTCF)

  32    Electronic Medical Records      Substantial Compliance         (1/1/16 – 12/31/16)
        – Suicide Attempts

  33    Supervisor Reviews of           Substantial Compliance         (7/1/16 – 6/30/17)
        Electronic Medical Records

  34    Discharge Planning              Non-Compliance

  35    Referral for Mental Health      Substantial Compliance         (11/1/17 – 12/31/18)
        Care

  36    Assessments After               Non-Compliance
        Triggering Events
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 125 of 131 Page ID
                                  #:5304
                                APPENDIX A


  37    Court Services Division          Non-Compliance
        Referrals

  38    Weekly Rounds in Restricted      Substantial Compliance           (1/1/16 – 12/31/16)
        Housing Modules

  39    Confidential Self-Referral       Substantial Compliance (NCCF     (7/1/17 – 6/30/18 at
                                         & PDC South)                     NCCF)
                                         Partial Compliance (PDC North,   (1/1/22 – 3/31/22 at
                                         MCJ, & CRDF)                     PDC South)
                                         Non-Compliance (TTCF)
                                         Not Rated (PDC East)

  40    Availability of QMHPs            Partial Compliance

  41    FIP Step-Down Protocols          Partial Compliance

  42    HOH Step-Down Protocols          Non-Compliance

  43    Disciplinary Policies            Substantial Compliance (NCCF     (10/1/17 – 9/30/18 at
                                         & PDC North)                     NCCF & PDC
                                         Non-Compliance (CRDF, MCJ,       North)
                                         & TTCF)

  44    Protective Barriers              Substantial Compliance           (1/1/16 – 12/31/16)

  45    Suicide Intervention and         Substantial Compliance           (10/1/15 – 9/30/16 at
        First Aid Kits                                                    CRDF, NCCF,
                                                                          TTCF, PDC East, &
                                                                          PDC South)
                                                                          (1/1/16 – 12/31/16 at
                                                                          MCJ & PDC North)

  46    Interruption of Self-Injurious   Substantial Compliance           (7/1/20 – 6/30/21)
        Behavior

  47    Staffing Requirements            Partial Compliance

  48    Housekeeping and Sanitation      Substantial Compliance           (1/1/16 – 12/31/16)

  49    Maintenance Plans                Substantial Compliance           (3/1/16 – 2/28/17)
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 126 of 131 Page ID
                                  #:5305
                                APPENDIX A



  50        Pest Control                 Substantial Compliance             (1/1/16 – 12/31/16 at
                                                                            MCJ, NCCF, PDC
                                                                            North, TTCF, &
                                                                            CRDF)
                                                                            (4/1/16 – 3/31/17 at
                                                                            PDC South & PDC
                                                                            East)

  51        Personal Care & Supplies     Substantial Compliance             (1/1/16 – 12/31/16
                                                                            at MCJ, NCCF,
                                                                            PDC East, PDC
                                                                            North, PDC South,
                                                                            & TTCF)
                                                                            (7/1/16 – 6/30/17 at
                                                                            CRDF)

  52        HOH Property Restrictions    Partial Compliance

  53        Eligibility for Education,   Partial Compliance
            Work and Programs

  54        Privileges and Programs 2    Partial Compliance

  55        Staff Meetings               Substantial Compliance             (10/1/16 – 9/30/17 at
                                                                            CRDF)
                                                                            (4/1/17 – 3/31/18 at
                                                                            PDC North)
                                                                            (4/1/18 – 3/31/19 at
                                                                            MCJ)
                                                                            (7/1/19 – 6/30/20 at
                                                                            TTCF)

  56        Changes in Housing           Substantial Compliance             (1/1/16 – 12/31/16)
            Assignments

  57        Inmate Safety Checks in      Substantial Compliance (MCJ &      (4/1/17 – 3/31/18 at
            Mental Housing               PDC North)                         MCJ)
                                         Partial Compliance (CRDF)          (7/1/21 – 3/31/22 at
                                         Non-Compliance (TTCF)              PDC North)




        2
          Per agreement of the parties, the County must maintain Substantial Compliance for two
 additional quarters under the revised Compliance Measures.
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 127 of 131 Page ID
                                  #:5306
                                APPENDIX A



  58    Inmate Safety Checks in     Substantial Compliance (PDC   (1/1/16 – 12/31/16 at
        Non-Mental Housing          South, PDC North, PDC East,   PDC South, PDC
                                    CRDF, IRC, & NCCF)            North, & PDC East)
                                    Partial Compliance (TTCF &    (7/1/17 – 6/30/18 at
                                    MCJ)                          CRDF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  IRC)
                                                                  (4/1/21 – 3/31/22 at
                                                                  NCCF)

  59    Supervisor Rounds           Substantial Compliance        (1/1/17 – 12/31/17 at
                                                                  PDC East & MCJ)
                                                                  (4/1/17 – 3/31/18 at
                                                                  NCCF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  CRDF)
                                                                  (1/1/18 – 12/31/18 at
                                                                  PDC North & PDC
                                                                  South)
                                                                  (4/1/18 – 3/31/19 at
                                                                  TTCF)

  60    Implementation of Quality   Substantial Compliance        (4/1/19 – 3/31/20)
        Improvement Program

  61    Requirements of Quality     Partial Compliance
        Improvement Program

  62    Tracking of Corrective      Partial Compliance
        Action Plans

  63    Sufficient HOH and MOH      Patrial Compliance (CRDF &
        Housing                     TTCF)

  64    Plans for Availability of   Non-Compliance
        Inpatient Health Care

  65    Administration of           Partial Compliance
        Psychotropic Medication

  66    Active Mental Health        Partial Compliance
        Caseloads

  67    Prisoner Refusals of        Partial Compliance
        Medication
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 128 of 131 Page ID
                                  #:5307
                                APPENDIX A



  68    Contraband Searches           Substantial Compliance (MCJ,   (1/1/16 – 12/31/16 at
                                      NCCF, PDC East, PDC South      MCJ, NCCF, PDC
                                      PDC North, TTCF, & CRDF)       East, PDC South, &
                                                                     PDC North)
                                                                     (1/1/17 – 12/31/17 at
                                                                     TTCF)
                                                                     (1/1/22 – 3/31/22 at
                                                                     CRDF)

  69    Clinical Restraints in CTC    Substantial Compliance         (7/1/18 – 6/30/19)

  70    Security Restraints in HOH    Partial Compliance
        and MOH

  71    Therapeutic Services for       Substantial Compliance        (7/1/16 – 6/30/17)
        Inmates in Clinical Restraints

  72    Administrative Reviews        Substantial Compliance         (1/1/17 – 12/31/17)

  73    Reporting of Self-Injurious   Substantial Compliance         (10/1/17 – 9/30/18)
        Behavior and Threats

  74    Law Enforcement               Substantial Compliance         (9/1/16 – 12/31/17)
        Investigations of Suicides

  75    Management Reviews of         Substantial Compliance         (10/1/17 – 9/30/18)
        Suicide Attempts

  76    Management Reviews of         Substantial Compliance         (9/1/16 – 12/31/17)
        Suicides

  77    Custody Compliance and        Partial Compliance
        Sustainability Bureau

  78    Suicide Prevention Advisory   Substantial Compliance         (5/11/16 – 5/18/17)
        Committee

  79    Therapeutic Services in       Non-Compliance
        Mental Health Housing

  80    Out-of-Cell Time in HOH       Non-Compliance
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 129 of 131 Page ID
                                  #:5308
                                APPENDIX A



  81    Implementation of Rosas      Partial Compliance
        Recommendations

               Training              Partial Compliance

               Use of Force          Partial Compliance

               Reporting and          Partial Compliance
               Investigation of Force

               Grievances            Partial Compliance

               Management and        Substantial Compliance   (10/1/20 – 9/30/21)
               Administration

               Security Restraints   Partial Compliance

               Early Warning         Substantial Compliance   (9/30/19 – 9/30/20)
               System

  82    Grievances at CRDF           Substantial Compliance   (7/15/16 – 12/31/17)

  83    Closed Circuit Cameras       Substantial Compliance   (7/1/15 – 6/30/16 at
                                                              MCJ & IRC)
                                                              (10/1/15 – 9/30/16 at
                                                              TTCF)
                                                              (4/1/16 – 3/31/17 at
                                                              CRDF)
                                                              (4/1/18 – 3/31/19 at
                                                              NCCF & PDC
                                                              North)
                                                              (7/1/18 –6/30/19 at
                                                              PDC South)

  84    Investigation of Staff       Substantial Compliance   (7/1/17 – 6/30/18)
        Misconduct

  85    Internal Affairs Bureau      Substantial Compliance   (4/1/21 – 3/31/22)
        Training
Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 130 of 131 Page ID
                                  #:5309
                                APPENDIX A



  86    Maintenance and Inventory   Substantial Compliance   (4/1/16 – 3/31/17 at
        of Security Equipment                                MCJ & CRDF)
                                                             (10/1/16 – 12/31/17 at
                                                             PDC North)
                                                             (2/1/17 – 3/31/18 at
                                                             PDC South & PDC
                                                             East)
                                                             (3/1/17 – 3/31/18 at
                                                             NCCF)
                                                             (4/1/17 – 3/31/18 at
                                                             IRC)
                                                             (4/1/18 – 3/31/19 at
                                                             TTCF)
  Case 2:15-cv-05903-DDP-JEM Document 221 Filed 09/30/22 Page 131 of 131 Page ID
                                    #:5310
                                  APPENDIX B


                 Substantial    Partial        Non-         Suspended    Substantial       No Longer
                 Compliance     Compliance 1   Compliance   (Some Or All Compliance        Subject To
                 (Provisions)                               Facilities)  (Facilities) 2    Monitoring 3

First 4          5              16                                         10

Second           14             30             13                          24

Third            22             27(1)          10                          29              4(2)

Fourth           24             26(1)          10                          29              10(2)

Fifth            23             24(2)          7                           34              15(5)

Sixth            32             22             7                           38              18(9)

Seventh          30             23             7                           39              21(10)

Eighth           35             20             6                           42              27(9)

Ninth            36             22             4                           43              31(8)

Tenth            39             21             3                           45              32(8)

Eleventh         38             18             5            2              44              34(7)

Twelfth          38             18             6            1              44              36(6)

Thirteenth       42             14(1)          6            1              47              36(6)

Fourteenth 40                   17             7            0              45              38(6)




             1
              The figure in parenthesis under Partial Compliance is the number of additional
     provisions where some facilities were in Partial Compliance and other facilities were in Non-
     Compliance.
            2
              This represents the number of provisions where the Department is in Substantial
     Compliance at all or some of the facilities.
            3
              The figure in parenthesis under No Longer Subject to Monitoring is the number of
     additional provisions where some facilities are no longer subject to monitoring.
            4
              During the First Reporting Period, 43 provisions were not subject to monitoring.
